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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


DAVID WOOD                                  Case No. _________
     Petitioner,

v.

ERIC GUERRERO, Director,
Texas Department of Criminal Justice,
Correctional Institutions Division.
        Respondent.



        SECOND OR SUCCESSIVE PETITION FOR WRIT OF HABEAS CORPUS
                      PURSUANT TO 28 U.S.C. § 2254


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 SECOND OR SUCCESSIVE PETITION FOR WRIT OF HABEAS CORPUS
                PURSUANT TO 28 U.S.C. § 2254

      Petitioner David Wood, through counsel, pursuant to all rights available under

the Constitution, laws, or treaties of the United States, respectfully petitions this

Court for a writ of habeas corpus declaring unconstitutional and invalid his conviction

for capital murder as well as the resulting death sentence.




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                                     INTRODUCTION

       Petitioner David Wood seeks relief from his unconstitutional conviction and

sentence of death for capital murder because newly discovered evidence shows that

he is actually innocent. In addition, he raises claims involving the presentation of

false evidence, suppression of exculpatory evidence, and ineffective assistance of

counsel. Each of these constitutional violations independently amounts to a grave

miscarriage of justice. Taken together, they render David Wood’s conviction uncon-

scionable.

       In one of the most sensational murder cases in Texas, David Wood, the “Desert

Serial Killer,” seeks to overturn his conviction and sentence of death because he is

actually innocent. At first glance, the endeavor seems quixotic. But David Wood’s case

illustrates the danger created by the combustible mix of a high-profile crime and in-

tense public pressure to solve it. These factors led to a rush to judgment that prema-

turely shifted an evidence-based investigation into a suspect-based investigation.

Tunnel vision and confirmation bias compounded the error. 1 Prosecutorial deception,

false testimony, suppressed evidence, ineffective representation, and jailhouse snitch

testimonythe canary in the coal mine of wrongful convictionsthwarted justice in

his case.

       Twenty years after David Wood’s trial, forensic testing definitively excluded

him as the contributor of male DNA in a bloodstain on the clothing of a female victim.




1 See D. Kim Rossmo & Joycelyn M. Pollock, Confirmation Bias and Other Systemic Causes of Wrongful

Convictions: A Sentinel Events Perspective, 11 Northeastern U. L. Rev. 790 (2019).



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Since that exculpatory test in 2011, the Attorney General of the State of Texasact-

ing as the district attorney pro temhas steadfastly and inexplicably refused to agree

to additional DNA testing, including testing the biological samples that the police

collected from an alternative suspect. David Wood has endured a nearly forty-year

odyssey through the criminal legal system. He is innocent.

      David Wood’s actual innocence claim is founded on newly discovered evidence,

including that:

      x    DNA testing has conclusively excluded David Wood as the contribu-
           tor of male DNA found on a bloodstain on the yellow sunsuit of the
           victim Dawn Smith.

      x    Police detectives handed their investigative files to the jailhouse
           snitches, Randy Wells and James Carl Sweeney, to help them fabri-
           cate their testimony that David Wood confessed to being the Desert
           Killer. George M. Hall, whom the State hoped to use as a third jail-
           house snitch, witnessed the State coach Wells and Sweeney’s false
           testimony.

      x    Wells literally “got away with murder” when a capital murder charge
           against him was dismissed in exchange for his testimony against
           David Wood. Wells was later indicted for aggravated perjury for tes-
           tifying falsely against his co-defendants in their murder trials.

      x    Sweeney received $13,000 for his testimony against David Wood.

      x    David Wood was under police surveillance on the days that two of
           the victims disappeared. The police did not see him with either of the
           victims.

      x    The pickup truck that the jailhouse informants testified David Wood
           always used in carrying out the murders was seriously damaged in a
           traffic accident in late July 1987. It was taken to an auto salvage
           yard where it remained for the entire month of August, when three
           of the victims went missing.

      x    The police pressured Judith Brown Kelling, a heroin addict and pros-
           titute, to falsely accuse David Wood of sexual assault so they could


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            take him “off the streets” while they continued to build their case
            against him as the Desert Killer. Kelling admitted that a different
            man assaulted her. But Kelling was allowed to testify at the capital
            murder trial about this extraneous offense so that the State would
            be able to prove David Wood’s identity as the Desert Killer and his
            modus operandi.

       x    The State’s scientific expert gave misleading testimony that fibers
            found in a vacuum cleaner bag associated with David Wood
            “matched” fibers collected from one of the crime scenes.

       x    Three witnesses saw the victim Ivy Williams after the date the State
            alleged she was last seen, leaving a bar with David Wood.

       x    An alternative suspect gave five conflicting statements to the police
            and failed a polygraph examination. The police collected biological
            samples from him, but those samples have never been tested to de-
            termine if he contributed the male DNA found on Dawn Smith’s yel-
            low sunsuit.

       The El Paso Police Department’s premature and myopic focus on David Wood

set in motion an investigation plagued by tunnel vision, where the police continually

assumed the worst about David Wood without adequately exploring—or even consid-

ering—alternatives. Instead, the police dismissed or explained away or suppressed

evidence that undermined their presumption. Without DNA evidence or eyewitness

testimony or a confession, the State admitted that it had “purely a circumstantial-

evidence case.” 2

       Over one hundred years ago, Judge Learned Hand observed that “[o]ur proce-

dure has been always haunted by the ghost of the innocent man convicted,” but he

concluded that “[i]t is an unreal dream.” 3 With the advent of DNA technology that



2 57.RR.5467.

3 United States v. Garrison, 291 F. 646, 649 (S.D.N.Y. 1923).




                                                  3
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has increased exponentially the reliability of forensic identification over earlier tech-

niques and resulted in the exoneration of hundreds of innocent persons, Judge Hand’s

optimism has given way to the stark reality of wrongful convictions—“a reality which

challenges us to reaffirm our commitment to the principle that the innocent should

be freed.” 4

       Justice must never be forfeited to finality.




4 McKithen v. Brown, 481 F.3d 89, 91–92 (2d Cir. 2007).




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                                      PARTIES

      Petitioner David Wood is a death-sentenced prisoner in the Texas Department

of Criminal Justice (TDCJ). David Wood’ TDCJ number is 999051 and he is incarcer-

ated at the Polunsky Unit, Livingston, Texas.

      Respondent Eric Guerrero is the Director of TDCJ’s Correctional Institutions

Division and an agent of the State that has custody of David Wood. He has custody

pursuant to the judgment and sentence of death entered against David Wood on No-

vember 30, 1992, in the Criminal District Court # 5 of Dallas County, Texas.

                          JURISDICTION AND VENUE

      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 2241(a), and

2254(a). Venue is proper in the United States District Court for the Northern District

of Texas under 28 U.S.C. § 2241(d) because it is the court for the district within which

David Wood was convicted and sentenced.




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                                CLAIMS FOR RELIEF

              CLAIM 1: DAVID WOOD IS ACTUALLY INNOCENT

              “I did not do this case. I did not do it. I am innocent of this
              case. I’ll fight it.”

                             David Wood (75.RR.7874)

              “Facts are stubborn things; and whatever may be our
              wishes, our inclinations, or the dictates of our passion, they
              cannot alter the state of facts and evidence.”

                             John Adams

      It takes a lot longer to correct an injustice than to create one. David Wood’s

case is one of unrequited innocence. Nearly forty years ago, he found himself trapped

in a web of fabricated evidence, false testimony, prosecutorial misconduct, vindictive

police officers convinced of his guilt, and abysmal lawyering. Despite these obstacles,

David Wood has steadfastly proclaimed his innocence. This Application is his final

chance.

      Facts, indeed, are stubborn things. They are intractable. The newly discovered

and never-presented facts set out in this Application make a powerful case of David

Wood’s actual innocence.

      This lengthy claim of actual innocence requires a roadmap for the reader. Part

I provides a factual background of the disappearance of the victims, the discovery of

their bodies, and the police investigation that quickly focused on David Wood. Part II

sets out the evidence the State presented against him at trial. Part III describes the

newly discovered evidence that supports David Wood’s innocence. Part IV analyzes




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his claim of actual innocence by examining the collapse of the State’s case after com-

paring the new evidence of innocence with the evidence the State presented at trial.

  I.   The Victims’ Disappearances, Discovery of the Bodies, and Police In-
       vestigation

       During the summer of 1987, six teenage girls and young women disappeared

in El Paso. Between September 4, 1987, and March 14, 1988, their bodies were dis-

covered buried in shallow graves in the desert area northeast of the city.5 Five of the

bodies were located in an area of the desert approximately 1.1 miles long by a half-

mile wide. 6 The sixth body was found three-quarters of a mile away.7




5 57.RR.552122.

6 57.RR.551922. Citations to the reporter’s record of the 1992 capital murder trial are noted as “[vol-

ume number].RR.[page number].” Citations to the clerk’s record are noted as “CR.[page number].”
7 57.RR.5522. In opening statements, the State referred to the area where the victims were found as

David Wood’s “private graveyard,” and an element of his modus operandithat he buried his victims
in the same general area. 57 RR 5465. In fact, even leaving aside the sixth body found three-quarters
of a mile away, the area is massive. It covers 352 acres of desert.



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    Location of the bodies: 1. Rosa Maria Casio. 2. Karen Baker. 3. De-
    siree Wheatley. 4. Dawn Smith. 5. Angelica Frausto. 6. Ivy Williams.



Four of the bodies were discovered in various states of undress, suggesting that the

killer had sexually assaulted them. The condition of the bodies made it virtually im-

possible for the police to determine the cause of death.

   A.      Public Pressure

        The El Paso Police Department (EPPD) faced enormous, mounting, and unre-

lenting public pressure as the girls and young women disappeared over the summer

of 1987, and the crimes remained unsolved.




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On July 11, 1987, relatives of some of the missing girls held a protest on the Interna-

tional Bridge in El Paso to call attention to their plight and warn other families of

the danger in the community.8




8 60.RR.596465.




                                          9
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Some police officers were calling it the “biggest case in the history of the depart-

ment.” 9 The Deputy Chief of Police said:

         There are girls being killed out there. The public wants to know what
         we are doing. Every police officer has heard about it, and their neighbors
         and friends are asking them about it…. The department is feeling an
         impact never felt before because of the notoriety of the case, the serial
         killer aspect. We’ll never see anything this big again. 10

    B.      The Formation of the Task Force

         Because the bodies of the victims were discovered in roughly the same area of

the desert, buried in shallow graves, and appeared to have been sexually assaulted,

the police eventually concluded that the crimes were the work of a serial killer. EPPD

created a “Northeast Desert Murders” Task Force within the Crimes Against Persons


9 Leticia Zamarripa, Unsolved Deaths Changing Detectives: Moods, Policy Slowly Altering in Police

Division, El Paso Herald-Post (Nov. 7, 1987).
10 Id.




                                                10
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Division (CAP). 11 The Task Force consisted of five to eight detectives devoted exclu-

sively to solving the case. 12 A member of the District Attorney’s Office was assigned

to the Task Force and on call 24 hours a day to answer any legal concerns the Task

Force might have. 13

   C.      David Wood Becomes a Suspect

        David Wood was born in 1957 in San Angelo, Texas, to Leo Wood and Betty

Allen Wood, who suffered from mental illness. David Wood was the second oldest of

their four children. He failed the first, third, and ninth grades, and attended special

education classes. His fourth-grade teacher testified at the Atkins hearing that, in

thirty-five years of teaching approximately 900 students, David Wood was the only

student she had ever required to sit next to her desk. She wanted him to learn, and

having him next to her desk allowed her to repeatedly explain the lessons to him one-

on-one. 14 He eventually dropped out of school in the ninth grade at the age of seven-

teen in 1974. By that time, he was three years behind his peers. He had few close

friends and associated with children who were several years younger than him.

        David Wood became the prime suspect in the desert murders for two reasons:

(1) his criminal record; and (2) the Brenda Alvey case.




11 66.RR.7112.

12 Ex. 1 (EPPD Inter-Office Memorandum (Nov. 16, 1987)). Should the Court of Appeals for the Fifth

Circuit grant David Wood’s Motion for Authorization, Wood will file the exhibits cited to in this Peti-
tion separately in district court.
13 66.RR.7116.

14 Ex parte Wood, 568 S.W.3d 678, 686 (Tex. Crim. App. 2018) (Alcala, J., dissenting).




                                                 11
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         1.          Criminal Record

         In August 1976, David Wood, nineteen years old, was arrested for indecency

with a child. In January 1977, David Wood pleaded guilty and, in April 1977, was

sentenced to five years in prison. After serving two and a half years, he was released

in December 1979.

         In 1980, David Wood pleaded guilty to charges of rape of an adult woman and

rape of a thirteen-year-old girl. The court imposed concurrent sentences of twenty

years on each charge. 15

         On January 15, 1987, David Wood was released on parole.

         2.          The Brenda Alvey Case

         On January 28, 1987, two weeks after David Wood’s release on parole, Brenda

Alvey was sexually assaulted in El Paso. 16 Alvey never saw her assailant’s face. 17 He

attacked her from behind and then blindfolded her. 18

         David Wood came under suspicion a few months later when the mother of the

teenage girl he was convicted of sexually assaulting in 1980 called Crime Stoppers. 19

She said that her daughter had mentioned that Alvey’s assailant used the “exact




15 In May 1980, a psychologist administered the Wechsler Adult Intelligence Scale (WAIS) to David

Wood as part of a court-ordered evaluation to determine his competency to stand trial. He obtained a
full scale IQ of 64. The psychologist concluded that: “It would seem doubtful that this individual is
fully capable of participating in his own defense, and may not fully understand the charges being
brought against him.” Ex. 2 (Psychological Evaluation (May 23, 1980)).
16 Ex. 3 at 1, 5 (Brenda Alvey Police Reports).

17 Id. at 1, 3, 5.

18 Id. at 1, 5.

19 Id. at 4.




                                                  12
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modus operandi” David Wood had used on her. 20 Soon afterwards, Alvey spoke with

the victim of the 1980 sexual assault. 21 After speaking with the victim, Alvey thought

that David Wood might be her assailant as well. 22 Alvey notified the police of her

conversation with the victim and, on July 31, 1987, the police asked her to listen to

recorded voices in an audio line-up. 23 Alvey identified David Wood’s voice as the voice

of the man who assaulted her. 24

         In November 1987, the police obtained a search warrant related to the Alvey

investigation to take blood, saliva, and head and pubic hair from David Wood.25 Task

Force Det. John Guerrero attended the procedure at the hospital.26 By that time, Da-

vid Wood had been in jail for nearly a month after being arrested for the sexual as-

sault of Judith Brown Kelling, and was the prime suspect in the desert murders case.




20 Id.

21 Id. at 5.

22 Id.

23 Id. at 6.

24 Id. at 67. At that point, the police considered the Alvey case “exceptionally cleared” and intended

to present it to the District Attorney’s Officeinexplicablyas a “non-arrest” case. Id. at 7.
25 Id. at 813.

26 Id. at 14.




                                                 13
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       3.        The Sexual Assault of Judith Brown Kelling

       On October 23, 1987, David Wood was arrested for the sexual assault of Judith

Brown Kelling. 27 The State gave notice that it intended to introduce evidence of an

extraneous offense: David Wood’s sexual assault of Brenda Alvey. 28 At a pretrial

hearing, the State noted that it had not yet received the lab results from the compar-

ison of the Alvey rape kit with David Wood’s biological samples. 29 The State conceded

that it would not use the Alvey sexual assault as extraneous offense evidence unless

the lab results showed a “positive match.” 30 Four days before the sexual assault trial

began, the State announced it was withdrawing its intent to use the Alvey assault as




27 See Part III-J, infra (“David Wood did not sexually assault Judith Brown Kelling.”).

28 JBKCR 71. Citations to the reporter’s record of the 1988 prosecution of David Wood for the sexual

assault of Judith Brown Kelling are noted as “[volume number].JBKRR.[page number].” Citations to
the clerk’s record in the case are noted as “JBKCR.[page number].”
29 4.JBKRR.14.

30 4.JBKRR.1516.




                                                 14
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extraneous offense evidence, because the test results eliminated David Wood as the

donor of the semen obtained from Alvey’s rape kit. 31 In other words, David Wood had

been exonerated of the offense that first brought him to the attention of the Task

Force as a suspect in the desert murders. 32

    D.      The Capital Murder Indictment

         By 1989, the Task Force had sent hundreds of pieces of evidence from the six

crime scenes to the Texas Department of Public Safety (DPS) to “[d]etermine the

presence of any trace evidence which could have originated from [David Wood’s]

truck, residence or body of David Wood.” 33 Indeed, the Task Force detectives sent

many of the items they collected from the crime scenes for forensic review because

they were convinced that the items would definitively link David Wood to the vic-

tims. 34 However, with the exception of orange fibers found at only one of the crime

scenes, 35 DPS concluded, for each of the six crime scenes, that: “No hair, fiber or other

trace evidence was detected which is comparable to trace evidence associated with

David Wood.” 36




31 5.JBKRR.13.

32 See Ex. 3 at 1718 (Brenda Alvey Police Reports).

33 Ex. 4 at 1 (DPS Trace Evidence Reports (1989)).

34 Had this crime occurred today, David Wood would have the right to subject all the items the police

collected to DNA testing. In 2013, the Texas Legislature amended the Texas Code of Criminal Proce-
dure and required DNA testing of biological evidence in capital trials in which the State is seeking the
death penalty. Tex. Code Crim. Proc. art. 38.43(i)(m).
35 See Part III-K, infra (alleging presentation of false evidence related to the fiber comparison analysis).

36 Ex. 4 at 1 (DPS Trace Evidence Reports (1989).




                                                    15
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      In April 1990, the El Paso County Commissioner’s Court unanimously ap-

proved a $25,000 reward for information leading to the arrest and conviction of the

person responsible for the Northeast desert murders. Coupled with a $1,000 Crime

Stoppers reward, a total of $26,000 was available for persons with pertinent infor-

mation about the case.




      In July 1990, after the Task Force had focused its investigation on David Wood

for three years as the primary suspect in the Northeast Desert Murders case, he was

indicted for capital murder when two jailhouse snitches alleged that David Wood had

confessed to them that he was the Desert Killer.

II.   Trial, Direct Appeal, and Postconviction Proceedings

      On November 30, 1992, David Wood was sentenced to death for the murder of

Ivy Williams and the murder of at least one other of five named victimsDesiree

Wheatley, Karen Baker, Angelica Frausto, Rosa Maria Casio, and Dawn




                                         16
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Smithduring different criminal transactions but pursuant to the same scheme or

course of conduct. 37 The indictment listed a cause of deathstabbing with a sharp

instrumentonly for the first named victim, Ivy Williams, and provided no cause of

death for the other five victims. 38

           To convict David Wood of capital murder, the jury had to find that he inten-

tionally killed Ivy Williams and at least one of the other five named victims, in dif-

ferent transactions, pursuant to the same scheme and course of conduct. The prose-

cution’s theory was that a single personDavid Woodcommitted all six murders.

The prosecution based its case against him on four evidentiary components:

           x       Witnesses who claimed to have last seen some of the victims with
                   David Wood, or a man fitting his description, or accepting a ride
                   from a man driving either a red motorcycle or a beige pickup
                   truck, similar to vehicles that David Wood owned.

           x       Orange fibers found at one of the crime scenes “matched” fibers
                   taken from a vacuum cleaner bag the police retrieved at an apart-
                   ment where David Wood had lived.

           x       A witness who testified under Rule 404(b) (to prove identity and
                   scheme) that David Wood sexually assaulted her in the same area
                   of the desert where the bodies were found.

           x       Jailhouse informants, Randy Wells and James Carl Sweeney,
                   who testified that David Wood had confessed to them that he was
                   the “Desert Killer.”

           The Texas Court of Criminal Appeals (TCCA) affirmed Wood’s conviction and

death sentence on December 13, 1995, Wood v. Texas, No. AP-71,594 (Tex. Crim. App.




37 CR.3, 297300; see Tex. Penal Code § 19.03(a)(7)(B).

38 CR.3.




                                                 17
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Dec. 13, 1995), and denied state habeas corpus relief on September 19, 2001. Ex parte

Wood, WR-45,746-01 (Tex. Crim. App. Sept 19, 2001).

      On October 2, 2002, Wood filed a Petition for a writ of habeas corpus in the

Northern District of Texas, and the proceedings were referred to the United States

magistrate judge. The district court denied federal habeas relief on June 2, 2006.

Wood v. Dretke, No. 3:01-cv-2103, 2006 WL 1519969 (N.D. Tex. June 2, 2006). The

United States Court of Appeals for the Fifth Circuit denied Wood a Certificate of Ap-

pealability on October 5, 2007. Wood v. Quarterman, 503 F.3d 408 (5th Cir. 2007).

      In 2009, the 171st Judicial District Court of El Paso County, Texas, set Wood’s

execution for August 20, 2009. Wood filed a subsequent application for state habeas

corpus raising the claim that he was categorically ineligible for the death penalty

because he is intellectually disabled (Atkins claim). The TCCA stayed Wood’s execu-

tion and remanded Wood’s Atkins claim. Ex parte Wood, No. WR-45,746-02, 2009 WL

10690712 (Tex. Crim. App. August 19, 2009). The TCCA denied relief on November

26, 2014. Ex parte Wood, No. WR-45,746-02, 2014 WL 6765490 (Tex. Crim. App. Nov.

26, 2014). Wood also sought authorization from this Court to file a successive habeas

corpus petition containing an Atkins claim, which was denied. In re Wood, 648 F.

App’x 388, 389 (5th Cir. 2016).

      At the same time as Wood’s Atkins proceedings, in 2010, Wood sought DNA re-

testing of three items of evidence previously tested in 1992 that yielded inconclusive

results: (1) scrapings from beneath the fingernails of Frausto, (2) Casio’s blouse, and

(3) a cutting from Smith’s sunsuit. The State did not oppose Wood’s motion. That




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testing definitively excluded Wood as a contributor of male DNA found on a blood-

stain on the clothing worn by Smith at the time of her murder. Wood v. State, 693

S.W.3d 308, 331 (Tex. Crim. App. 2024).

            Following this exculpatory result, Wood filed additional motions pursuant to

Chapter 64 of the Texas Code of Criminal Procedure to request DNA testing of over

150 items recovered by law enforcement in connection with the Northeast Desert

murders and to create the DNA profile of a known alternative suspect connected to

Smith. The State opposed all of Wood’s motions and the motions were all denied. The

TCCA affirmed the convicting court’s denial on May 22, 2024. Id. at 341. The convict-

ing court set Wood’s execution for March 13, 2025

III.        New Evidence of Innocence

       A.      DNA evidence has definitively excluded David Wood as the contrib-
               utor of male biological material on Dawn Smith’s yellow terrycloth
               sunsuit.

            EPPD collected hundreds of items of evidence from the six crime scenes in the

northeast desert of El Paso. But the prosecution submitted only three items of evi-

dence for DNA testing before the trial in 1992: (1) scrapings from underneath one of

Angelica Frausto’s fingernails; (2) a cutting Rosa Maria Casio’s blue blouse; and (3) a

cutting from Dawn Smith’s yellow terry cloth sunsuit. 39 DNA testing at that time was

rudimentary and produced no results on the three items. 40




39 67.RR.736163.

40 67.RR.736263.




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       In 2010, David Wood sought forensic DNA testing of those same three items.

The State did not oppose the motion, and the court granted testing under Chapter 64

of the Texas Code of Criminal Procedure. 41 DNA testing on two of the items was again

inconclusive. But testing on a blood stain on the yellow terrycloth sunsuit of the vic-

tim Dawn Smith, revealed male DNA. A partial DNA profile definitively excluded

David Wood as the contributor of the male biological material. 42




                     Cuttings from Dawn Smith’s yellow sunsuit




                 Report of Laboratory Examination (June 8, 2011)




41 Ex. 6 (Order for DNA Testing (Nov. 10, 2010)).

42 Ex. 7 (Orchid Cellmark Report (June 8, 2011)).




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         After obtaining this exculpatory result, David Wood sought testing of over one

hundred additional items recovered from the six crime scenes. Despite its non-oppo-

sition to the initial Chapter 64 motion, the Attorney General of the State of Texas

opposed any further DNA testing. 43 After litigating the requests for additional DNA

testing for over a decade, the convicting court denied the motions in 2022. On appeal,

this Court affirmed the denial of additional DNA testing, holding that David Wood

had failed to show, under Article 64.03(a)(2)(B), that “his subsequent DNA testing

requests have not been made to unreasonably delay the execution of sentence.” 44

    B.         The jailhouse snitches, Randy Wells and James Carl Sweeney, fab-
               ricated their testimony against David Wood.

         On September 26, 2024, George M. Hall called undersigned counsel and re-

vealed that he had witnessed the jailhouse snitches, Randy Wells and James Carl

Sweeney, fabricating their stories that David Wood confessed to being the “Desert

Serial Killer.” After counsel interviewed Hall a few weeks later, Hall provided a sworn

declaration on October 13, 2024.45 Hall explained that he had not come forward ear-

lier because he was on parole for 30 years, until February 2024.46 Hall did not want

to talk about David Wood’s case until he had completed his parole and come “off




43 Since 2008, various Assistant Attorneys General have served as prosecutor pro tem in the state

postconviction proceedings and the Chapter 64 litigation, because the former El Paso County District
Attorney, Jaime Esparza, recused himself and his office. DA Esparza had briefly represented David
Wood in the capital murder case. Jaime Esparza did not seek re-election in 2020. The current El Paso
County District Attorney, James Montoya, does not have a conflict of interest. However, the Attorney
General continues to serve as prosecutor pro tem.
44 Wood v. State, 693 S.W.3d 308, 312 (Tex. Crim. App. 2024).

45 Ex. 8 (Declaration of George M. Hall (Oct. 13, 2024)).

46 Id. at 1.




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paper.” 47 He was afraid he might get revoked if he spoke out about the case before

then. 48 In August 2024, he discovered that an execution date had been set for David

Wood and contacted undersigned counsel the following month. 49 Hall has had no con-

tact with David Wood since he last saw him at the Eastham Unit in 1989.50

         1.      Randy Wells alleges David Wood confessed to being the Desert
                 Serial Killer.

         In March 1989, Randy Wells, a 27-year-old felon with a criminal record stretch-

ing back a decade, pled guilty to theft over $750 and began serving a two-year sen-

tence at the Eastham Unit. Despite his lengthy criminal record, Wells received only

a two-year sentence because of alleged first-hand information he had provided to law

enforcement officers regarding unrelated criminal offenses. It was during his incar-

ceration for the theft offense that Wells met David Wood and shared a cell with him.51

When Wells arrived at Eastham, David Wood had already been in prison for nine

months, serving a 50-year sentence for the sexual assault of Judith Brown Kelling.

Wells was released from prison in early September 1989, after serving only six

months.




47 Id.

48 Id.

49 Id. at 12.

50 Id. at 7.

51 65.RR.6964.




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                                      Randy Wells (1987)




       On January 31, 1990, Leslie Roberts was murdered in Eastland County. On

March 23, 1990, Wells was arrested for her murder and held on $100,000 bond. Five

days later, he was indicted for capital murder. 52 After the trial court appointed Garry

Lewellen to represent Wells, Wells told Lewellen that he had information about the

unsolved desert murders. Lewellen then contacted Texas Ranger Gene Kea, who was

leading the investigation of the Roberts murder. Desert Murders Task Force Det. Al-

fred Giron called Lewellen soon afterward.

       Attorney Lewellen told Det. Giron that he was trying to work out a deal with

the Eastland County District Attorney Emory Walton for lesser charges for Wells on




52 Ex. 9 (Indictment, State v. Wells, No. 18,390 Mar. 28, 1990)). Wells failed two polygraph examina-

tions related to his involvement in the Roberts murder. Ex. 10 (Randy Wells Polygraph Results). El
Paso law enforcement officials never administered a polygraph to Wells related to his allegation that
David Wood confessed to him.



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the Roberts murder. Lewellen said that David Wood had told Wells that he committed

the desert murders. 53

         On April 24, 1990, El Paso law enforcement officials, including El Paso County

District Attorney Steve Simmons, Assistant District Attorney Gonzalo Garcia, and

two detectives with the Task Force, traveled to Eastland County to interview Wells. 54

The El Paso officials worked with Eastland County DA Walton to convince him to

offer a plea deal to Wells in exchange for his testimony against David Wood.55

         2.      Randy Wells, James Carl Sweeney, and George M. Hall are
                 bench-warranted to the El Paso County Jail.

         DA Simmons eventually had Randy Wells, along with two other prisoners,

James Carl Sweeney and George M. Hall, bench-warranted to the El Paso County

Jail. 56 Wells had provided their names to the Task Force detectives. 57 Hall had shared

a cell with Sweeney at the Eastham Unit in 1989.58 David Wood and Wells shared a

cell a short distance down the run from Hall and Sweeney.59



53 Ex. 11 (Supplementary Police Report (Apr. 29, 1990)). Wells also told Det. Giron about David Wood’s

confession of the murder of “a [Private Investigator], Cop or Security Guard that [David Wood] had
‘capped’ because he was getting too close.” Id. The Task Force could find no reports of an unsolved
murder of a police officer, private investigator, or security guard to corroborate Wells’s story.
In his supplementary report, Det. Giron noted that he had tape recorded his conversation with Attor-
ney Lewellen. The State did not provide David Wood with a copy of the tape recording.
54 65.RR.699097; see 66 RR 7166, 717475. ADA Gonzalo Garcia testified that Det. Marquez tape

recorded this interview. Wells also testified that the interview was taped. 66 RR 717576. The State
never provided David Wood with a copy of the tape recording.
55 8.JH1997RR.7576. Citations to the reporter’s record of the 1997 prosecution of Jerry Hennington

for murder are noted as “[volume number].JH1997RR.[page number].”
56 65.RR.697576, 703132.

57 65.RR.6986.

58 Ex. 8 at 2 (Declaration of George M. Hall (Oct. 13, 2024)).

59 Id.




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         Wells arrived at the jail on June 3, 1990. 60 He was placed in the same tank as

Sweeney, who arrived the day before, and Hall. 61 As material witnesses in a high-

profile case, they were kept separate from the other inmates in the jail. 62




         When Wells arrived at the jail, he told Hall that he had been arrested for run-

ning a meth lab. 63 Wells said his attorney told him that, unless Wells had information

he could give the police about an unsolved crime, he was looking at a life sentence,

because he was “a three-time loser.” 64 Wells told his attorney he knew something

about “bodies buried in the desert in El Paso.” 65




60 Ex. 12 (Randy Wells Bench Warrant); 67.RR.72997301; Def. Ex. 13 (Randy Wells Booking Docket).

61 Ex. 13 (James Carl Sweeney Booking); 67.RR.72997301; Def. Ex. 14 (James Carl Sweeney Booking

Docket). Hall arrived at the jail on May 31, 1990. Ex. 14 (George M. Hall Booking).
62 Def. Ex. 13 (“MATERIAL WITNESS/KEEP SEP”).

63 Ex. 8 at 3 (Declaration of George M. Hall).

64 Id.

65 Id.




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        Wells knew about “bodies buried in the desert” because he knew that David

Wood had hired Sweeney to file a civil rights lawsuit against El Paso officials for

trying to implicate him in the deaths of the teenagers and young women found in the

desert in Northeast El Paso. 66




Debbie Galvan, David Wood’s sister, had collected over 200 newspaper articles about

the desert serial murders investigation and sent them to David Wood in prison. 67

David Wood gave Sweeney access to these newspaper clippings so he could use them

to draft the federal lawsuit. 68

        In the El Paso County Jail, Wells told Hall and Sweeney that the police wanted

David Wood “real bad.” 69 Wells said he could get his criminal charges dropped if he




66Id.; 65.RR.698688. The Federal Records Center destroyed the court documents in the lawsuit
Sweeney filed on behalf of David Wood. See Ex. 15 (Docket, Wood v. Scagno, et. al, No. 89-CV-238 (filed
Oct. 11, 1989)).
67 66.RR.721516.

68 66.RR.721516.

69 Ex. 8 at 3 (Declaration of George M. Hall (Oct. 13, 2024)).




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could help the police, and he asked Hall and Sweeney if they could tell him anything

specific about the desert murders case. 70

         3.    Wells, Sweeney, and Hall are separated from other inmates at
               the El Paso County Jail and given the “red carpet” treatment.

         Wells, Sweeney, and Hall were the only people in a tank at the El Paso County

Jail that was designed to hold ten or fifteen men. 71 The jailers kept the coffee fresh

in a 50-cup coffee pot for their exclusive use. 72 A telephone was put in the tank that

they could use free of charge. 73 The jailers gave them cigarettes. 74 Wells, Sweeney,

and Hall could get free snacks from the commissary. 75 The El Paso County DA’s Office

periodically put money on the books for Sweeney’s additional commissary needs. 76




70 Id.

71 Id. at 6.

72 Id.

73 Id.

74 Id.

75 Id.

76 65.RR.705960.




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         Eventually, two police detectives came to the jail. 77 They took Wells, Sweeney,

and Hall out of the jail without handcuffs or shackles. 78 After driving them up a

mountain road with scenic views of Mexico and stopping at a drive-thru restaurant

to buy them food, the detectives took them to the El Paso Police Department. 79

         4.     The Task Force detectives hand their desert murders investiga-
                tive files to Wells, Sweeney, and Hall.

         The detectives took Wells, Sweeney, and Hall to a conference room in the Hom-

icide Division. 80 A photograph of David Wood was pinned on the wall of the conference

room, surrounded by photographs of the desert serial murder victims. 81 The name

and age of each victim were listed next to their photographs. 82 Other notes pasted on

the walls indicated when the victims were last seen, the dates of their disappearance,

and where their bodies were found. 83 Lines or strings radiated from David Wood’s

photograph to the victims’ photographs, and additional lines went from the victims’

photographs to other notes. 84




77 Ex. 8 at 4 (Declaration of George M. Hall (Oct. 13, 2024)).

78 Id.

79 Id. Sweeney’s trial testimony corroborates Hall’s account that the homicide detectives took them out

of the jail for questioning. 65.RR.707779.
80 Ex. 8 at 4 (Declaration of George M. Hall (Oct. 13, 2024)).

81 Id.

82 Id.

83 Id.

84 Id.




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         The detectives said to Wells, Sweeney, and Hall, “David Wood is our suspect.

It’d be best if you tell us something because we can’t let this guy walk.”85 The detec-

tives also told them about the $25,000 reward. 86




         The detectives handed Wells, Sweeney, and Hall their files on the desert mur-

ders investigation. 87 The files contained:

          x    photographs of the crime scenes

          x    photographs of the victims

          x    diagrams of the crime scenes



85 Id.

86 Id.

87 Id. at 5.




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          x    handwritten notes with descriptions of the investigation

          x    summaries of statements from the victims’ parents or the last people
               who had seen them. 88

Sweeney and Wells looked through the files, but Hall refused to take part. 89 After

quickly paging through the files, Hall passed them back to the detectives, “because

[he] wasn’t going to railroad David Wood.”90 As Sweeney’s cellmate, Hall knew that

Sweeney was working on a lawsuit for David Wood. 91 But David Wood never told Hall

anything specific about the desert murders. 92 David Wood occasionally showed Hall

newspaper articles about the case and complained about police harassment. 93 David

Wood always maintained his innocence to Hall. 94 When Hall celled with Sweeney at

the Eastham Unit, Sweeney told him that “the police were trying to railroad David

Wood.” 95

         After Sweeney and Wells had looked through the files, the detectives asked

them, “Did Wood ever say anything about the murders?” 96 Wells and Sweeney then




88 Id.

89 Id.

90 Id.

91 Id. at 2.

92 Id.

93 Id.

94 Id.

95 Id.

96 Id. at 5.




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confirmed that David Wood had indeed confessed to them what they had just seen in

the files. 97

          When the detectives realized that Hall was not going to “corroborate” anything

in the files, they told him, “We can help you, if you can help us.” 98 They also said they

might be able to assist him with his parole. 99 The detectives eventually moved Hall

to another room where he stayed by himself for about an hour and a half. 100 They

came back later and, again, asked Hall, “You sure you don’t know anything?” 101 Hall

said he was not going to lie about David Wood. 102

          Wells, Sweeney, and Hall spent at least five hours in the Homicide Division

that day. 103 When they returned to the jail, Hall heard Sweeney and Wells talking

about trying to tie David Wood to the desert murder victims. 104 Hall was excluded

from their conversation because they knew he “wasn’t on board.” 105 Sweeney and




97 Id. An audio-recorded interview of Wells conducted by Task Force detectives confirms Hall’s account.

See Ex. 16 (Interview of Randy Wells (June 6, 1990)). Throughout the 75-minute interview, Task Force
detectives seed information, and coach and prod Wells to help him “remember” David Wood’s confes-
sion. The interview also corroborates Hall’s account that the Desert Murders “war room” at the Hom-
icide Division had the names of the victims and information about them up on display. See, e.g., id. at
6 (“I couldn’t tell you the names, and I never, I couldn’t […] them names till I seen ‘em on that board.
And Desiree Wheatley came back.”); see also id. at 3, 5, 9, 1819.
98 Ex. 8 at 5 (Declaration of George M. Hall (Oct. 13, 2024)).

99 Id.

100 Id.

101 Id.

102 Id.

103 Id.

104 Id. at 6.

105 Id.




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Wells were upset with Hall, because they were concerned that he would “mess up the

arrangement they had to testify against David Wood.” 106

          During the entire time Hall spent with Wells and Sweeney at the Eastham

Unit, neither wells nor Sweeney ever told him that David Wood had confessed to the

desert murders. 107

          In March 1991, Hall received a letter from El Paso County Assistant District

Attorney Debra Morgan. 108 Morgan wanted to call Hall as a State’s witness. 109 Hall

wrote back to ADA Morgan and told her that he would not be testifying against David

Wood. 110 Hall said that he was considering writing to the defense attorneys to “inform

them of some improprieties that [he] was aware of and that occurred when [he] was

bench warranted to El Paso last year, concerning Wells and Sweeney.” 111 Hall added,

“I know Sweeney committed perjury . . . and that Wells and him fabricated their sto-

ries together for openers.” 112 ADA Morgan never contacted Hall about the allegations

in his letter.




106 Id. at 7.

107 Id. at 2.

108 Id. The State never provided David Wood with a copy of ADA Morgan’s letter to Hall. He has filed,

simultaneously with this Application, a Motion for Disclosure of Exculpatory Evidence, in which he
requests disclosure of this letter.
109 Id.

110 Id. at 7; see George M. Hall letter to ADA Morgan (Mar. 18, 1991) at 1 (attached as exhibit to

Declaration of George M. Hall).
111 Id. (George M. Hall letter to ADA Morgan at 2).

112 Id. at 3.




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   C.        After his testimony in David Wood’s case, Randy Wells was indicted
             for aggravated perjury for testifying falsely against his co-defend-
             ants in a first-degree murder case.

        In October 1990, a ten-year odyssey began with Randy Wells as the star wit-

ness for the prosecution of his co-defendants, Thomas “Jerry” Hennington and his

spouse Shirley Hennington, for the first-degree murder of Leslie Roberts in Eastland

County. The odyssey ended with the indictment of Wells for aggravated perjury.

        1.     Randy Wells testifies against his co-defendant Jerry Henning-
               ton.

        Randy Wells testified as the State’s star witness against Jerry Hennington in

October 1990. Called as the prosecution’s first witness, Wells testified that Shirley

Hennington opened the driver’s door of the car where the victim Leslie Roberts was

sitting, pulled her by the hair, and struck her in the head with a metal tire tool. 113

Shirley Hennington then walked around the car to the passenger side, according to

Wells, pointed a gun at her husband Jerry Hennington and ordered him out of the

car, before she fired two shots through the car. 114 Wells testified that Jerry Henning-

ton then reached into the car from the passenger side, pulled Roberts’s slumped body

back into the car and shot her twice in the head. 115

        On cross-examination, defense counsel asked Randy Wells about the desert

murders case in El Paso:

        Q.     Tell the jury how much reward money is up on this for your testi-
               mony out in El Paso?

113 3.JH1990RR.13639. Citations to the reporter’s record of the 1990 prosecution of Jerry Hennington

for murder are noted as “[volume number].JH1990RR.[page number].”
114 3.JH1990RR.14041.

115 3.JH1990RR.14244.




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        A.      Twenty-five thousand, I believe.

        Q.      Twenty-five thousand dollars?

        A.      I believe.

        Q.      Okay. And there is also, according to what you told the Star Tel-
                egram, a possibility of book rights and movie rights?

        A.      I was told that by the El Paso cops.

        Q.      Okay. That’s something that you told the courtthe newspaper
                reporter?

        A.     That’s right.116




116 Two weeks after David Wood was indicted for capital murder, Randy Wells gave a three-hour in-

terview to a reporter at the Fort Worth Star-Telegram. The Star-Telegram ran a front-page article
about David Wood’s purported confession about the desert murders. Kathy Sanders, Prison Talks
Elicit Grisly Tale of Torture, Rape and Desert Killings, Ft. Worth Star-Telegram (July 22, 1990). A
number of other news outlets ran the interview.
Full of lurid details, the article states that Wells claimed David Wood confessed to killing 15 girls,
buried one victim alive, stretched out his victims by tying them to a tree and the bumper of his “slowly
moving truck,” and re-enacted another victim’s “dying quivers.” Id. The article noted that El Paso DA
Steve Simmons wrote a letter “laud[ing] the cooperation of Wells and James Carl Sweeney … in the
case against Wood.” Id. The State never provided David Wood with a copy of DA Simmons’s letter.



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Q.   This is a pretty lucrative deal for you, isn’t it, Mr. Wells?

A.   I don’t understand what you’re saying.

Q.   Sir?

A.   I don’t understand what you’re saying.

Q.   This is this deal has turned out to be fairly profitable for you,
     hasn’t it?

A.   No, sir, not yet.

Q.   Not yet?

A.   No, sir.

Q.   But you expect it to be, don’t you?

A.   I don’t know.




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       Q.         Well, you get off of a murder charge, you get twenty-five thousand
                  dollars, whatyou’re talking about possible book and movie
                  rights. 117

       In his closing argument, Assistant District Attorney Bill Dowell conceded that

Randy Wells avoided the first-degree murder charge because of his agreement to tes-

tify against David Wood:

       Is Randy Wells going to receive justice for that murder? Hell, no. Is it
       going to be justice for the parents of Leslie [Roberts] to see a murderer
       get twelve years on a forgery charge and never see a thing for partici-
       pating in the death of their daughter? No. Do I like it? No. Can I defend
       it? Oh, I can tell you, as he did, why, because he’s helped solving dozens
       of murders in El Paso and so he trades that. Is somebody glad about
       that? Yeah. It’s not the [parents of Leslie] Roberts. I can’t defend it to
       the citizens of Eastland County for Leslie’s death, but perhaps there is
       [sic] parents in El Paso that are glad that Wells made this deal so their
       murderer can come to trial. But that doesn’t help the heartache.118

       Jerry Hennington was convicted of first-degree murder and sentenced to 99

years in prison.

       2.         Randy Wells testifies against his co-defendant Shirley Henning-
                  ton.

       On September 5, 1991, Randy Wells was released on parole and posted bond

on the forgery charge and on the first-degree murder charge. 119 He had remained in

custody for over a year and a half, since his arrest in March 1990 for the murder of

Leslie Roberts in Eastland County. Less than two weeks after his release, Wells tes-

tified for the prosecution against Shirley Hennington in her trial for the murder of

Roberts.


117 3.JH1990RR.21112.

118 4.JH1990RR.45960.

119 65.RR.6960.




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       As the State’s first witness, Wells testified that Shirley Hennington opened the

door to the car in which Leslie Roberts was sitting and hit her in the head with a

metal tire tool, knocking her unconscious. 120 Wells said that Shirley Hennington then

fired a gun twice into the car. 121 At that point, according to Wells, Jerry Hennington

bent down into the car and shot Roberts twice in the head.122

       On cross-examination, Wells admitted that he repeatedly lied to law enforce-

ment when he first discussed the murder of Roberts. 123 Defense counsel then ques-

tioned Wells about David Wood’s case:

       Q.        Now, the deal in El Paso concerns a guy named Mr. Woods [sic],
                 is that right?

       A.        Yes, sir.

       Q.        And you were in T.D.C. with him in the same cell
                 in ‘89, is that right, ‘88, ‘89, during that particular
                 time?

       A.        Yes, sir.

       Q.        And during that time he supposedly confessed to you about killing
                 six people or nine people in El Paso?

       A.        A bunch of girls.

      Q.         A bunch of girls in El Paso. And you made a deal with those people
                 to testify out there also did you not?



120 7 SHRR 7678. Citations to the reporter’s record of the 1991 prosecution of Shirley Hennington for

murder are noted as “[volume number].SHRR.[page number].”
Three weeks before he testified in Shirley Hennington’s trial, Randy Wells reviewed transcripts of his
testimony in the October 1990 trial of Jerry Hennington. 7.SHRR.216.
121 7.SHRR.7980.

122 7.SHRR.81.

123 7A.SHRR.32125.




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       A.     Yes, sir.

       Q.     They agreed to pay you twenty-five thousand
              dollars reward money on that didn’t they?

       A.     No. They didn’t agreeI didn’t know nothing about none of that
              until I got to El Paso.

       Q.     When you got out to El Paso you found out that if this conviction
              works you’re going to get twenty-five thousand dollars?

       A.     I don’t know if I’m going to get it or not.

       Q.     Well, they told you you would?

       A.     It’s a reward offer.

       Q.     It’s a reward that you understand that leads to the conviction and
              if you testify and help the conviction

       A.     I should get it.

       Q.     You should get it?

       A.     That’s right.

       Q.     Now, in addition to that you understand you also would be able
              to get movie and book rights, you were told that by those people
              out there?

       A.     Yes, sir.

       Q.     That could be worth a lot of money?

       A.     I don’t know what it’s worth.

       Q.     Well, not only did they do that but they alsothe El Paso people
              gave money to you in connection with buying cigarettes and other
              things while you were in jail, did they not?

       A.     I don’t think they gave us no money. We got cigarettes from them,
              yeah. 124

124 7A.SHRR.32527.




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      Texas Ranger Gene Kea, the lead investigator of the murder of Leslie Roberts,

testified on cross-examination about Randy Wells’s credibility:

      Q.     Would you agree with me that Randy Wells is capable of lying to
             you as an officer of the law?

      A.     Yes, sir.

      Q.     He’s done it?

      A.     He has.

      Q.     He’s lied to you on several occasions?

      A.     Yes, sir.

      Q.     He’s lied to you under oath?

      A.     Yes, sir.

      Q.     He admitted about ten lies that I counted. I haven’t even counted
             the lies that he’s made in which he’s lied to you about certain
             things. But, now, this man, Randy Wells, you know is capable and
             will lie under oath if it suits his needs, if he perceives it would
             help him?

      A.     Is that a question?

      Q.     Yes, sir.

      A.     Yes, sir.

      Q.     Lying under oath isn’t going to bother Randy Wells at all, is it, in
             your opinion?

      A.     No, sir.

      Q.     And he will lie to this jury just like he will lie to you, won’t he?




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          A.    Yes, sir. 125

          In his closing argument, ADA Dowell attempted to assure the jury it could be-

lieve Randy Wells, despite a deal that allowed him to elude a murder charge:

          Why the deal, why did Randy Wells get the deal he got? Ladies and gen-
          tlemen, it don’t [sic] make no sense to Mr. and Mrs. Roberts. You know
          who it’s going to make sense to the most? Is parents, just like them, that
          have lost their loved ones in El Paso. Because Randy Wells was able to
          sell testimony about facts that Mr. Woods [sic] had told them [sic] him
          in prison about the murders he committed out there, to help them solve
          their crime and help them try to convict their murderer, Mr. Woods [sic].
          Does that help Eastland County? No. No, we’d love to see Randy Wells
          spend life for his part in this murder. You bet. I bet every one of you
          would. But, he got a deal for twelve years on some little forgery charge,
          so six other families or more can getattempt to get justice on the death
          of their loved ones out in El Paso. It was a trade-off. Does it make sense
          for Eastland County? Not to some people it won’t. I know some people in
          El Paso that are happy. 126

          On September 20, 1991, Shirley Hennington’s trial ended in a mistrial, with

the jury hopelessly deadlocked. 127 One juror remarked afterwards, “In all honesty, I

think that woman is innocent. I just couldn’t believe that lying Wells.”128




125 7B.SHRR.58182.

126 7C.SHRR.80405, 82829.

127 See Maybelle Trout, Mistrial Declared in Eastland County Murder Trial, Abilene Reporter-News

(Sept. 20, 1991).
128 Id.




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          Shirley Hennington was never retried. In 1995, the Eastland County DA dis-

missed the murder charge against her. 129

          3.    The criminal charges against Randy Wells are dismissed.

          About two years after Randy Wells testified against David Wood in the capital

murder trial, the Eastland County DA sought to dismiss the capital murder charge

and the forgery charge against Wells. 130 The court granted both motions to dismiss

on the same day.131

          4.    The prosecutor in the Jerry Hennington retrial testifies under
                oath that Randy Wells is a liar.

          The dismissal of the charges against Randy Wells eventually proved problem-

atic for the Eastland County DA because, in September 1995, this Court granted

Jerry Hennington’s pro se application for writ of habeas corpus and reversed his 1990




129 Motion and Order to Dismiss, State of Texas Shirley Hennington, No. 18,542 (Apr. 13, 1995); see

10.JH1997RR.633 (noting that “there was insufficient evidence, the jury having heard the case that
further prosecution and conviction was unlikely”).
130 Ex. 19 (Motion and Order to Dismiss, State v. Wells, No. 18,390 (Nov. 28, 1994)); Ex. 20 (Motion

and Order to Dismiss, State v. Wells, No. 18,433 (Nov. 28, 1994)); 10.JH1997RR.621, 633.
131 Id.




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murder conviction because the State suppressed exculpatory evidence. 132 The prem-

ature dismissal of the charges against Wells caused the Eastland County DA’s Office

to lose its leverage over him for the Jerry Hennington retrial. Perhaps not coinci-

dentally, in December 1996, Wells was arrested in Eastland County on three counts

of kidnapping and one count of unauthorized use of a vehicle. 133 In April 1997, as he

sat in jail, Wells wrote to Eastland County DA Mike Siebert:

        I understand the Hennington trial is set for May 19, 1997 and that you
        are wanting my testimony once again in the trial. In which I am willing
        to do, but also fail to realize why Shirley Hennington is not going back
        to trial. I now honestly believe I can put evidence in your hand that will
        not only get Jerry Hennington to plea [sic] guilty, but Shirley also. . . . I
        am not going nowhere until this matter is solved. I’m not going to run
        from this matter at all. I will be there for my testimony in the trial. I
        have my neck way out on a limb right now doing what I’m doing to make
        this case so much easier for the state.
                                         ....
        Please help me out on this matter. I will show up for court. 134

        Wells bonded out of jail in May 1997, after the trial court reduced his bail. ADA

Dowell asked the court to declare the bond insufficient, because Wells had violated a

condition of his bond by failing to report to pretrial supervision. On June 13, the bail

bond company filed a motion to withdraw as surety and an application for warrant.

An arrest warrant was issued the same day. On June 24, Wells was arrested in New




132 Ex parte Thomas H. Hennington, III, No. 72,166 (Tex. Crim. App. Sept. 20, 1995) (unpublished).

133 State v. Wells, Case Nos. 19,305, 19,306, 19,307, 19,308; see 5.JH1997RR.36; 8.JH1997RR.72.

134 Ex. 21 (Wells letter to DA Siebert (Apr. 30, 1997)) (emphasis in original).




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Mexico. On July 7, he was returned to the Eastland County Jail, a little more than

two weeks before his scheduled testimony against Jerry Hennington. 135

       In July 1997, Randy Wells testified for the second time against his co-defend-

ant Jerry Hennington. However, in contrast to his testimony in the 1990 Jerry Hen-

nington trial and the 1991 Shirley Hennington trial, Wells testified on direct exami-

nation that only Jerry Hennington shot the victim, Leslie Roberts. 136 On cross-exam-

ination, Wells denied that he had previously testified that Shirley Hennington shot

the victim.137

       Defense counsel called to the stand ADA Dowell, the prosecuting attorney, who

had also tried Jerry Hennington in 1990, and Shirley Hennington in 1991:

       Q. Mr. Dowell, you’re familiar with a fella named Randy Wells?

       A. Yes, I am.

       Q. And he’s testified in this proceeding?

       A. Yes, he has.

       Q. And you admit Mr. Randy Wells is a liar?

       A. I do.

       Q. You admit he’s capable of lying to officers?

       A. I do.

       Q. You admit he has lied to officers?



135 On November 17, 1997, Wells was indicted for bail jumping on each of the three kidnapping charges

and the unauthorized use charge. See Nos. 19,372, 19,373, 19,374, 19,375.
136 8.JH1997RR.6869.

137 8.JH1997RR.82.




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A. Yes.

Q. You admit he lies to officers on many occasions?

A. Yes.

Q. You admit that he would lie under oath?

A. Yes.

Q. You admit he in fact did lie under oath?

A. It’s my belief he has, yes.

Q. You admit that he is capable of and would in fact lie under oath if it
   suits his needs or if he perceives it would help him?

A. Yes.

Q. You admit that Randy Wells lied in Jerry [Hennington]’s first trial?

A. My opinion today, yes.

Q. You admit that Randy Wells lied in Shirley [Hennington]’s trial?

A. Yes.

Q. And you admit then lying under oath wouldn’t bother Randy at all?

A. I agree with that, no.

Q. Would you agree then that Randy Wells would lie then to a jury un-
   der oath the same as he would lie to law enforcement under oath?

A. Certainly.

Q. And in fact has done that?

A. I believe so.

Q. You’ve heard [Texas Ranger] Kea I think make a statement he be-
   lieved Randy Wells would lie in any statement he made, do you
   agree with that?




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       A. If it would suit his purpose, yes, that’s the way I remember it, yes.

       Q. You admit that Randy Wells has now lied in this trial?

       A. I’ll admit he had to either lie in this one or the other one in reference
           to Shirley Hennington, yes.

       Q. Do you recall Mr. Wells in this trial stating he never said Shirley
          shot?

       A. Right, that’s what I mean.

       Q. And of course, that’s a lie isn’t it?

       A. As compared to his testimony at the last trial, yes, sir. 138




       In his closing argument, ADA Bill Dowell admitted that “Randy Wells is a

murderer,” 139 adding:



138 10.JH1997RR.61416.

139 11.JH1997RR.679.




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       Now, I wish we could get them all. But a deal was made, a deal I don’t
       have to like, a deal you don’t have to like, and Randy Wells walks away
       from murder…. [H]e won’t, can’t be tried for the murder. That was the
       deal. Now then, who’s happy about that? Well, Randy Wells. Who isn’t?
       I’m not happy. . . . [The victim’s parents] aren’t happy. Who is? Perhaps
       the victims’ parents and family of those victims in El Paso by Mr. Wood.
       Somebody got something for it. We just didn’t get it in Eastland
       County. 140

       The jury returned a verdict of guilty, convicting Jerry Hennington as a party

to first-degree murder. 141 The jury sentenced him to 48 years in prison, less than half

the 99 years that had been imposed after his 1990 trial.142

       5.      Randy Wells is indicted for aggravated perjury.

       Wells was released from jail after his testimony against Jerry Hennington in

July 1997. But he did not stay out of trouble for long. In September 1997, two months

after he testified, Wells was arrested in McClennan County for forgery of a financial

instrument. He pled guilty and received a 15-month sentence. 143 Wells asked the

court to continue the August 1997 trial setting on his kidnapping and unauthorized

use charges. 144 The court granted the motion and numerous additional motions for

continuance. In 2001, the trial court granted the Eastland County DA’s motion to

dismiss the three kidnapping counts against Wells. 145 But by that time, Randy Wells

was facing a charge of aggravated perjury.



140 11.JH1997RR.68081.

141 11.JH1997RR.685.

142 12.JH1997RR.37.

143 Judgment of Conviction, State v. Wells, No. 10212-A.

144 Motion for Continuance, State v. Wells, No. 19,305.

145 Motion and Order to Dismiss, State v. Wells, Nos. 19,305, 19,306, 19,307. The court simultaneously

dismissed the bail jumping charges associated with each case because, as the DA argued, the


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       On March 30, 2000, Randy Wells was indicted by an Eastland County Grand

Jury for aggravated perjury, a third-degree felony, due to Wells’s status as a repeat

and habitual felony offender. The perjury indictment arose from his materially incon-

sistent testimony in the trials of Shirley Hennington and Jerry Hennington about

whether one, or both of them, shot the victim. Wells was arrested and his bond set at

$35,000.




       In November 2002, the trial court granted the DA’s motion to dismiss the case

for the reason “that further prosecution of the offense is no longer in the best interest

of justice.”146 That same day, the court also granted the DA’s motion to dismiss the




underlying offenses had been dismissed. Motion and Order to Dismiss, State v. Wells, Nos. 19,372,
19373, 19,374.
146 Motion and Order to Dismiss, State v. Wells, No. 19,642.




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unauthorized use charge. 147 In short, the DA did not prosecute any of the four charges

that put Randy Wells behind bars in July 1997 and ensured he would testify for the

State in the retrial of Jerry Hennington. 148

   D.      Randy Wells lied when he testified that David Wood wanted his tat-
           toos covered up so that a victim who “got away” would not be able
           to identify him.

        One of the more incriminating pieces of evidence the State presented involved

Randy Wells’s testimony that he “covered up” some of David Wood’s tattoos so a vic-

tim who “got away,” Judith Brown Kelling, would not be able to identify him.149 But

less than twelve hours after his arrest for the sexual assault of Kelling, the police

photographed David Wood’s body for the specific purpose of preserving contempora-

neous evidence of his tattoos. After-the-fact modification of David Wood’s tattoos in

prison while serving his sentence on the sexual assault conviction would do nothing




147 Motion and Order to Dismiss, State v. Wells, No. 19,308. The court simultaneously dismissed the

bail jumping charge associated with the case. Motion and Order to Dismiss, State v. Wells, No. 19,375.
148 On June 29, 2003, less than seven months after the dismissal of the aggravated perjury charge,

Wells committed first-degree aggravated assault causing serious bodily injury. The next day, he un-
lawfully restrained his spouse, preventing her from seeking medical attention for the injuries he had
caused her. On July 27, 2003, Wells was found on the roof of the Limestone County Jail, attempting
to escape. Judgment of Conviction, State v. Wells, No. 32,965. In 2007, Wells successfully moved for
nunc pro tunc changes to the judgment to reduce his conviction for first-degree aggravated assault
causing serious bodily injury to third-degree injury to a disabled person. Order on Motion, State v.
Wells, No. 32,965.
In November 2004, Wells pleaded no contest to the aggravated assault charge (with a habitual offender
enhancement) and was sentenced to 45 years in prison. The court ordered the sentence to be served
concurrently with his sentences for unlawful restraint (25 years) and escape (25 years). Judgment of
Conviction, State v. Wells, No. 10195-A; Judgment of Conviction, State v. Wells, No. 10212-A.
On July 11, 2013, the Pardons and Parole Division of the Texas Department of Criminal Justice
granted parole to Randy Wells. He was released to Eastland County after serving only ten years in
prison.
Randy Wells died on February 4, 2025.
149 65.RR.6972.




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to undermine Kelling’s identification of him (or any others, for that matter), because

the police already had a record of his tattoos before his sexual assault trial. The pho-

tographs of David Wood’s tattoos taken within hours of his arrest expose Wells’s lie

about the reason for “covering up” David Wood’s tattoos.

        At the capital murder trial, Randy Wells provided inculpatory evidence about

his work on David Wood’s tattoos:



        Q.      Did he tell you why he wanted those tattoos covered up?

        A.      He said that he had tried to get two girls and one girl had
                got away from him and had noticedcould see the tattoo.

        Q.      Now, Mr. Wells, are you the one who actually covered up
                those tattoos?

        A.      Yes, ma’am. 150

        Leaving no doubt about the identity of “the girl who had got away,” the State

argued on direct appeal that:

        It would appear that [Wells’s] testimony would give Judith Kelly’s testi-
        mony particular significance and relevance. With appellant’s admission
        that “one girl got away from him,” it could be logically argued that the
        testimony of Judith Kelly was not an “extraneous” transaction at all, but
        was in fact a part of the same scheme and course of conduct on the part
        of appellant which resulted in the deaths of the other six girls.
                                                  ....
        Of particular significance also is the fact that appellant got Wells to
        cover tattoos on his body because one of the girls got away from him and
        could possibly recognize him from the tattoos. 151



150 65.RR.6972. Sweeney provided similar incriminating evidence about David Wood’s tattoos: “He

wanted the tattoos covered up so that tattoos could not be used later to identify him.” 65.RR.7042.
151 State’s Direct Appeal Brief at 17, 19, Wood v. State, No. 71,594.




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       In closing argument, the prosecution emphasized the incriminating nature of

the evidence Wells provided about covering up David Wood’s tattoos:

       One of the most interesting things Mr. Wells has to tell us is something
       that relates to something physical about Mr. Wood. Mr. Wood, while in
       the cell with Mr. Wells, had his tattoos covered. Again, this goes back to
       the intelligence of Wood. He had the knife that . . . went in and out of
       his arm. He had the knife covered. He had the butterfly covered. Why?
       Because in the span of all these crimes he committed, he worried that
       he might be identified through these very unique tattoos. Why it is that
       criminals tattoo themselves and exist with these tattoos for detection I’ll
       never know. But he had these tattoos, which were easily recognizable
       and identifiable. Why else would he have these tattoos covered with an-
       other tattoo there with Mr. Wells but for his guilty state of mind and the
       fact that he feared that he could be identified through those tattoos. This
       defendant was desperate. When he was down there with Mr. Wells and
       Mr. Sweeney, he was desperate. He was going to do whatever he could
       from where he was to cover his tracks. He had done that from the choices
       he made when he did the crimes, and he did that by covering these tat-
       toos. 152

       Within hours after David Wood’s arrest for the sexual assault of Kelling, the

police took multiple photographs of David Wood’s body to create a contemporaneous

record of his tattoos. 153




152 69.RR.755455.

153 Ex. 22 (Supplementary Police Report (Oct. 24, 1987)). Undersigned counsel apologizes for the poor

quality of the photographs obtained from the District Attorney’s files. The State refused to allow coun-
sel to make laser-colored copies of the original photographs in their possession.



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The prosecution then used this photographic evidence during a pretrial identification

hearing in David Wood’s sexual assault trial:

       Q.      Ms. Kelling, other than the pickup, or photographs of the pickup,
               did you look at any other photographs?

       A.      Tattoos on the body.

       Q.      Now, when you say on the body, would that be on a live body, or
               a dead body?

       A.      A live body.

       Q.      Was that the body of a man?

       A.      Yes.
                                          ....
       Q.      Ms. Kelling, I show you a plastic container. It’s marked for iden-
               tification purposes as State’s Exhibit number 2.[ 154] That con-
               tainer containing several photographs.

               I show you several photographs, six to be exact, that purport to
               be photographs of a man with tattoos. And I ask you if you’ve ever
               seen those photographs before.

       A.      Yes.

       Q.      Did you see those photographs on September 22nd, 1987?

       A.      Yes. 155




154 David Wood does not have a copy of State’s Ex. 2. An investigator for the El Paso County District

Attorney’s Office, removed the exhibits in the sexual assault case from the District Clerk’s Office in
October 1990, after David Wood was indicted for capital murder. Clerk’s Sign-out Sheet (Oct. 18,
1990)). The State never returned the exhibits to the Clerk, and these exhibits were not included with
the capital murder files that the State provided to undersigned counsel in 2010.
155 3.JBKRR.11819.




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          Any “covering up” of David Wood’s tattoos by Wells occurred after his convic-

tion for the sexual assault of Kelling. David Wood had no incriminating motive for

wanting additional tattoo work done in prison: Kelling had already identified him.

   E.        James Carl Sweeney received $13,000 for his testimony against Da-
             vid Wood.

          James Carl Sweeney testified falsely that he was undecided about whether he

would make a claim for the $26,000 reward offered for information leading to the

arrest and conviction of the person responsible for the Northeast desert murders. 156

In fact, the State had already promised Sweeney half of the reward money before he

testified. Sweeney’s conduct immediately after David Wood’s conviction reveals a

man obsessed with obtaining the money that he had been promised. Less than one

month after David Wood was sentenced to death, Sweeney began his pursuit of the

reward. Less than one year after testifying, Sweeney filed a lawsuit in El Paso County

district court seeking a declaratory judgment that he was rightfully entitled to the

reward. A few months later, Sweeney settled the lawsuit and received a $13,000 check

from El Paso County.

          The State did not disclose any of the documents related to Sweeney’s commu-

nications with the District Attorney’s Office and law enforcement. David Wood ob-

tained this Brady material when he discovered that Sweeney had filed a lawsuit for

declaratory judgment. All of the letters in David Wood’s possession were attached as




156 The El Paso County Commissioners offered a $25,000 reward, and Crime Stoppers offered a $1,000

reward.



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exhibits to Sweeney’s lawsuit. On September 16, 2009, the El Paso Times reported

that Sweeney had been paid $13,000 for his testimony.




         1.     The Letter-Writing Campaign

         ADA Gonzalo Garcia promised Sweeney that he was entitled to half of the re-

ward. 157 Sweeney’s actions after the capital murder trial reveal his determination to

collect the money that the State assured him was rightfully his. David Wood was

sentenced to death on November 30, 1992. Sweeney made his initial claim for the

reward days later in December 1992. 158 He wrote a letter to Lt. Paul Saucedo, Com-

mander of the Crimes Against Persons (CAP) Division of the El Paso Police



157 Ex. 23 at 2 (Affidavit of James Carl Sweeney (Aug. 21, 1993).

158 Id. at 3.




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Department. 159 Later that month, while Sweeney remained in the Dallas County Jail,

the prosecuting attorneys Debra Morgan and Karen Shook assured him that they

would present his application for the reward and verify the vital role he played in the

successful prosecution of David Wood.160

        When Sweeney’s attempts to obtain the reward on his own failed, he hired at-

torney Michael A. Villalba to represent him. 161 Villalba appeared before the Commis-

sioners Court in March 1993. ADAs Morgan and Shook, along with Lt. Saucedo, tes-

tified favorably on behalf of Sweeney and Randy Wells, but the Commissioners did

not move forward in releasing the money. 162 Villalba suggested several options for

Sweeney to consider before noting, “It’s unfortunate that the glitch has emerged after

you and Wells have performed your duties.” 163 Sweeney wrote back and told Villalba

to file a lawsuit for declaratory judgment.164

        On March 27, 1993, Sweeney wrote to ADA Morgan requesting assistance with

the reward:

        I write you with strict confidentiality.
                                           ....
        I am at my wits end Ms. Morgan. I came forward in the Wood case . .
        and I subjected myself to a long list of discomforts for being the State’s
        “informant.” And now, I find out that the reward (since its [sic] been


159 Id. David Wood does not have a copy of Sweeney’s letter to Lt. Saucedo.

160 Id. at 34.

161 Ex. 24 (Sweeney-Attorney Villalba Representation Agreement (Feb. 11, 1993).

162 Ex. 25 (Attorney Villalba’s letter to Sweeney (Mar. 10, 1993)). Attorney Villalba spoke with Gary

Lewellen, attorney for Wells, who also made a claim for the reward. They agreed that Villalba would
appear before the Commissioner’s Court on behalf of both Sweeney and Wells, “in order to present a
unified, controlled and orderly claim.” Id. at 1.
163 Id. at 2 (emphasis in original).

164 Ex. 26 (Sweeney’s letter to Attorney Villalba (Mar. 14, 1993)).




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          offered) is illegal. To obtain the reward, I have now been forced to retain
          an attorney for 40% of the actual “judgment collected,” plus costs of suit.
          This is simply unfair and I’m now writing you once again for assistance.
          If you will please recall, I had mentioned in my previous letters to your
          office that I thought it would be necessary for the State to “protect my
          interests.” Thus, I am asking again for your help.165

          ADA Morgan responded immediately. 166 She assured Sweeney that she had

kept his letter confidential, revealing it only to ADA Shook. 167 Morgan explained that

the Sheriff would determine the payout of the reward and that Shook had written to

the Sheriff explaining that the evidence Sweeney and Wells provided “was crucial to

obtaining [David Wood’s] conviction.” 168

          When ADA Morgan’s work failed to produce the reward, Sweeney wrote to El

Paso County DA Jaime Esparza. 169 Sweeney protested that he and Randy Wells were

“promised . . . that [they] would each receive, and split the total rewards offered;

$26,000.” 170 Sweeney wrote that he “was first told [he] would receive a 50/50 division

of the rewards between Randy Wells and [himself]. That agreement was several years

ago after [he] was flown to El Paso[.]” 171 He complained that he was never told he

would need to retain an attorney to collect the reward. 172




165 Ex. 27 at 1 (Sweeney’s letter to ADA Morgan (Mar. 27, 1993)).

166 Ex. 28 (ADA Morgan’s letter to Sweeney (Mar. 31, 1993)).

167 Id.

168 Id. David Wood does not have a copy of ADA Shook’s letter to the Sheriff.

169 Ex. 29 (Sweeney’s letter to DA Esparza (June 1, 1993)).

170 Id. at 1.

171 Id. at 2 (emphasis in original).

172 Id. at 3.




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          After nearly four months of silence from his attorney, Sweeney wrote to Vil-

lalba’s associate, Gonzalo Garcia, the former ADA who first promised Sweeney the

reward. 173 Garcia responded with an update on the status of Villalba’s efforts to col-

lect the reward and then suggested that Sweeney send a “demand letter” to El Paso

County Judge Alicia Chacon. 174 Garcia closed by acknowledging Sweeney’s “entitle-

ment” to the reward. 175

          Sweeney followed Garcia’s advice and wrote to Judge Chacon. 176 Sweeney in-

formed Judge Chacon that, in December 1992, shortly after David Wood’s conviction,

he “promptly made application for the $25,000 reward.” 177 Sweeney explained that

he “came forward (at great risks) to assist the Government of El Paso with the solving

of these murders.” 178 In closing, Sweeney made clear his entitlement to the reward:

          I honored my portion of the offer; but now, it appears that El Paso offi-
          cials now desire to breach their portion of the agreement.
                                              ....
          El Paso obtained its conviction because of my testimony and therefore,
          I am rightfully entitled to collect my portion of the $25,000.00 179

          A few days later, Sweeney wrote another letter to ADA Morgan, in which he

declared that the delays in collecting the reward had left him outraged. 180 Sweeney



173 Ex. 23 at 56 (Affidavit of James Carl Sweeney (Aug. 21, 1993)). David Wood does not have a copy

of Sweeney’s letter to Attorney Garcia.
174 Ex. 30 at 12 (Attorney Garcia’s letter to Sweeney (July 2, 1993)).

175 Id. at 2.

176 Ex. 31 (Sweeney’s letter to Judge Chacon (July 7, 1993)).

177 Id. at 1.

178 Id.

179 Id. at 23.

180 Ex. 32 (Sweeney’s letter to ADA Morgan (July 10, 1993)).




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complained that the State no longer appeared interested in fulfilling their end of the

bargain, because “the State now has its conviction.” 181 He asked for assurance from

ADA Morgan that she and ADA Shook would “continue to verify [his] cooperation

with [their] office during the prosecution of Mr. Wood.” 182 Sweeney again emphasized

his important role in “solving” the desert murders case:

          Its [sic] sad that things have turned as they have, particularly in a case
          such as this one. In 1989, El Paso Law Enforcement Officers had numer-
          ous unsolved murders on their hands. In 1990, these cases were finally
          connected to Mr. Wood. From there, I believe you know the rest of the
          story. 183

          The same week he wrote to ADA Morgan, Sweeney sent a letter to the Sheriff’s

Association of Texas. 184 Sweeney explained that he “came forward under great risks

to assist El Paso Officials, including Sheriff Samaniego, with information which ulti-

mately convicted the man responsible for the senseless killing of these young girls

and women.” 185 Sweeney noted that he had written letters to the DA’s Office “to the

point of harassment” and hired an attorney, and now wanted the Sheriff’s Association

to direct Sheriff Samaniego to pay the reward. 186

          In response to being copied on Sweeney’s letter to the Sheriff’s Association, El

Paso County Sheriff Samaniego wrote to Sweeney and denied all responsibility in




181 Id. at 2.

182 Id.

183 Id.

184 Ex. 33 (Sweeney’s letter to Sheriff’s Ass’n of Texas (July 16, 1993)).

185 Id. at 2.

186 Id. at 23.




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disbursing the reward funds. 187 The Sheriff suggested Sweeney direct his complaints

to the Commissioners Court. 188

          Sweeney followed the Sheriff’s advice and wrote to Commissioner Charles

Hooten. 189 Sweeney noted that he had “gone to great lengths to assist the prosecutors

in the case” and was, therefore, “fully entitled” to half of the reward. 190 Sweeney’s

letter ended with a request for the immediate payment of the reward. 191

          On the same day he wrote to Commissioner Hooten, Sweeney fired Attorney

Villalba. 192 Sweeney demanded that Villalba return his file, including a dozen letters

that Sweeney sent to and received from various El Paso government officials asking

about the reward before he testified against David Wood. 193

          2.    The Lawsuit

          After terminating Attorney Villalba as his legal representative, Sweeney filed

a pro se petition for declaratory judgment, injunction, and temporary restraining or-

der against a number of El Paso County and City officials. 194 The parties agreed to




187 Ex. 34 (Sheriff Samaniego’s letter to Sweeney (Aug. 2, 1993)).

188 Id.

189 Ex. 35 (Sweeney’s letter to Commissioner Hooten (Aug. 10, 1993)).

190 Id. at 2.

191 Id.

192 Ex. 36 (Sweeney’s letter to Attorney Villalba (Aug. 10, 1993)).

193 Id. at 2. David Wood has a copy of only two of the twelve letters listed in Sweeney’s letter to Attorney

Villalba.
194 Ex. 37 (Petition for Declaratory Judgment, Sweeney v. Hooten, et al., No. 93-9889 (Sept. 14, 1993)).




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settle, and the court dismissed the case. 195 One month later, on March 8, 1994, El

Paso County issued Sweeney a check for $13,000.196

        3.        The False Testimony about Paying Restitution

        Not only did Sweeney lie about whether he would seek the reward, but he tes-

tified falsely when he said that he would use the money to pay the restitution he owed

on his burglary conviction. After the defense had cross-examined Sweeney about his

interest in the reward, ADA Morgan, on re-direct, asked Sweeney what he planned

to do with the reward money if he received it:

        To make this whole thing simple, I have contacted the district attorney’s
        office in the county where I was convicted. In my conviction, I stole some
        property from a boat company and some checks and I cashed those
        checks. And at my trial, it was
        determined that I should pay back $8,000 in restitution. And I have con-
        tacted the district attorney’s office in my county and asked them if Mr.
        Wood is convicted, if the reward is given, that that money be given to
        the district attorney’s office in that county to cover the restitution to the
        crime victims where I was convicted. 197

On re-cross, Sweeney again testified that he owed $8,000 in restitution:

        Q.        You owe $8,000 to the State of Texas because you stole $8,000 a
                  number of years ago?

        A.        Not to the state of Texas. I owe it to a business owner.

        Q.        It’s the restitution?

        A.        Yes.

        Q.        That was part of your punishment is that you make restitution?

        A.        Yes, it is.

195 Ex. 38 (Order of Dismissal, Sweeney, v. Hooten, et al., No. 93-9889 (Feb. 8, 1994)).

196 Ex. 39 (Report of El Paso County Auditor (July 28, 2011)).

197 65.RR.7082.




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                  ....
          Q.      You owe the money?

          A.      Yes, I do. 198

          Sweeney’s judgment of conviction for burglary in Gregg County shows that

Sweeney owed no restitution.199




    F.         The State made an undisclosed deal to recommend commutation of
               sentence for James Carl Sweeney because of the material role he
               played in the conviction of David Wood.

          For his testimony against David Wood, James Carl Sweeny was awarded

$13,000 and released on parole after serving only seven years on a 69-year sentence

for burglary. 200 Classified as an habitual criminal, Sweeney was nevertheless re-

leased 34 years before the minimum expiration date of his sentence. 201 The State

made a deal with Sweeney to recommend early release on parole for assisting them

in securing a conviction and death sentence against David Wood. Sweeney denied

that the State had made any deal with him in exchange for his testimony. 202 The

State never disclosed this deal to the defense.




198 65.RR.708384.

199 Judgment, State v. Sweeney, Case No. 015915-B (May 28, 1987).

200 Ex. 40 (TDCJ Public Information Disclosure Sheet for James Carl Sweeney).

201 Id.

202 65.RR.7032.




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          In June 1992, four months before he testified at David Wood’s trial, Sweeney

wrote to Gregg County District Attorney David Brabham. 203 (Sweeney had been con-

victed in Gregg County for the burglary that resulted in his 69-year sentence.)

Sweeney asked DA Brabham to make a recommendation to the Parole Board for a

commutation of his sentence to 50 years. 204 ADA Debra Morgan had recently in-

formed Sweeney that DA Brabham had “somewhat placed [his] request in abeyance

until after the Wood trial.”205

          After writing to DA Brabham, but still three months before testifying at David

Wood’s trial, Sweeney wrote to El Paso County DA Steve Simmons. 206 Sweeney stated

that he wanted to ask DA Simmons directly “for some considerations and hopefully

some assistance.” 207 Sweeney then set out in detail the difficulties he anticipated he

would experience in the future. 208 Sweeney wrote that:

          x     He had been placed in solitary confinement after TDCJ officials re-
                ceived written threats on his life.

          x     He was confined to segregation status “after marijuana was planted
                under [his] bunk.”

203 See Ex. 41 at 3 (Sweeney’s letter to El Paso County DA Steve Simmons (Aug. 2, 1992)). Sweeney

mentioned to DA Simmons that he had written to DA Brabham on June 12, 1992. Id. at 3. Sweeney
enclosed a copy of the letter he had written to DA Brabham. Id. David Wood does not have a copy of
Sweeney’s letter to DA Brabham.
204 Id. at 3.

205 Id.

206 Id. at 1. In his letter to DA Simmons, Sweeney wrote that he had received a letter from ADA Debra

Morgan on July 30, 1992, informing him that the trial had been moved to Dallas and that it would
begin in September. Id. at 1. Sweeney also stated that Morgan had been “exceptionally thoughtful and
courteous with keeping me informed of the case and in responding to my letters in the past.” Id. David
Wood does not have copies of any of the correspondence with ADA Morgan that Sweeney mentioned
in the letter.
207 Id. at 1.

208 Id. at 13.




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          x     He had been directly threatened by other inmates for being a
                “snitch.”

          x     He was denied an advancement in his classification status because
                of the marijuana incident.

          x     His wife and his parents were “greatly concerned” for his welfare.

          x     He would be unable to purchase necessities when bench-warranted
                to Dallas for the trial because he could not transfer his money to the
                jail there.

          x     He would need to be placed in protective custody after the trial.209

Noting that “the effects of the [David Wood] case ... have been more punitive than the

ordinary effects expected of incarceration,” Sweeney wrote, “I am no longer a witness

for the State, I am a victim.”210 After informing DA Simmons that he had asked DA

Brabham to recommend that the Parole Board commute his sentence, Sweeney wrote

that he understood “that [Simmons’s] office cannot become involved in the matter of

[his] request for a time cut without possibly creating a defensive argument of influ-

ential testimony.” 211 Sweeney then suggested a wink-and-a- nod course of action that

Simmons could take to alleviate the hardships he had to endure for his testifying for

the State:

          I think Mr. Brabham has misunderstood my request in some way or an-
          other. I would therefore like to ask your office to contact Mr. Brabham
          and maybe assure him that my request for a sentence commutation to
          50 years is totally unrelated to Mr. Wood’s case or has been requested for
          any reason associated with Mr. Wood. Possibly, I made a mistake in even
          mentioning my participation with the Wood trial when I wrote Mr.


209 Id.

210 Id. at 2.

211 Id. at 3.




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          Brabham. At any rate Mr. Simmons, I am practically at my wits end. I
          simply want to do my time and return to my family at the earliest pos-
          sible date. 212

          After serving only seven years of his 69-year sentence, Sweeney was released

on parole on February 25, 1994.213 The minimum expiration date of his sentence was

January 30, 2028. 214 He violated the terms of his parole four years later when he was

convicted of misdemeanor theft. 215 His parole was revoked and he returned to prison

in November 1998. 216 He served only nine months before being released on parole in

August 1999. 217 He died less than five months later.




    G.       David Wood was under police surveillance when two of the murder
             victims disappeared.

          For an entire week in August 1987, before the first bodies were discovered in

the desert, the EPPD Tactical Unit had David Wood under surveillance as the prime



212 Ex. 41 at 4 (Sweeney’s letter to El Paso County DA Steve Simmons (Aug. 2, 1992)) (emphasis added).

213 Ex. 40 (TDCJ Public Information Disclosure Sheet for James Carl Sweeney).

214 Id.

215 Ex. 42 (Texas Court Report for James Carl Sweeney).

216 Ex. 40 (TDCJ Public Information Disclosure Sheet for James Carl Sweeney).

217 Id.




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suspect in the disappearance of the teenage girls and young women. The Tactical Unit

drafted a series of memos detailing its surveillance of David Wood. 218 The memos

establish that David Wood was under police surveillance when two of the victims,

Angelica Frausto and Rosa Maria Casio, disappeared. The Tactical Unit memos make

no mention of seeing David Wood with Angelica Frausto or Rosa Maria Casio. The

Tactical Unit conducted their surveillance before Angelica Frausto or Rosa Maria Ca-

sio were reported missing. The State never disclosed these memos to David Wood. 219

        Believing David Wood “might be responsible for several females in the N[orth]

E[ast] Area that are reported missing,” Captain Massey of Crimes Against Persons

(CAP) assigned members of the Tactical Unit to follow him. 220 From two to four offic-

ers followed David Wood for dozens of hours over the course of seven consecutive days,

from Saturday, August 8, until Friday, August 14, 1987.221 The Tactical Unit pre-

sented the surveillance memos to the CAP Homicide Division on September 4, 1987,

the same day the first two bodies were discovered in the desert.

        The police did not yet know that one of the bodies would later be identified as

Rosa Maria Casio. According to the evidence the prosecution presented at trial, she


218 Ex. 43 (Tactical Unit Surveillance Memos).

219 Ex. 44 at 1 (Declaration of Dolph Quijano, Jr. (Feb. 12, 2025)).

220 Id. at 2. David Wood came to the attention of the homicide detectives investigating the disappear-

ances in July 1987, when he was wrongfully identified by Brenda Alvey as her assailant. See Part I-
C(2), supra. On July 22, 1987, Det. Curtis Flynn interrogated David Wood about the disappearances.
The police videotaped this interrogation. The State provided David Wood’s attorney in the sexual as-
sault trial an opportunity to view this videotape. JBKCR.63. David Wood has not been able to view or
obtain a copy of this videotape.
221 Id. at 3. In the Tactical Unit memo dated August 14, 1987, Sgt. Armando Nava, Jr., wrote that: “All

information obtained will be turned over to the night squad that will take over at shift change, August
16, 1987.” Id. The State has never disclosed the memos detailing the Tactical Unit’s continued surveil-
lance of David Wood after August 14, 1987.



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was last seen on the night of August 12, 1987. The Tactical Unit had David Wood

under surveillance that same night. The Tactical Unit reported that David Wood’s

red Harley Davidson motorcycle remained parked the entire time on the sidewalk

under a canvas at 2215 Montana Street.222 The Tactical Unit officers do not mention

seeing David Wood’s beige Nissan pickup truck. 223 Rosa Maria Casio’s family did not

report her missing until August 21, 1987, after the Tactical Unit drafted the

memos. 224

         Angelica Frausto, the second victim to disappear the same week David Wood

was under surveillance, was not reported missing until September 6, 1987, after the

Tactical Unit drafted the memos. 225 Her body was not discovered until November 3,

1987. Denise Frausto Kramer, Angelica Frausto’s sister, testified that she last saw

Angelica in the afternoon, before dark, on Saturday, August 8, 1987.226 (Sunset took

place at 7:56 p.m. in El Paso on August 8, 1987. 227) Despite tailing David Wood from

7:00 p.m. on August 8, 1987, until 12:10 a.m. on August 9, 1987, the Tactical Unit

officers did not report seeing David Wood in the company of Angelica Frausto. 228

         Besides proving that David Wood was under police surveillance on the same

days that Rosa Maria Casio and Angelica Frausto were last seen, the memos


222 Id. at 3.

223 Id. at 4.

224 62.RR.6439–40, 6456.

225 61.RR.6346.

226 61.RR.635051.

227 See https://weatherspark.com/h/d/3268/1987/8/8/Historical-Weather-on-Saturday-August-8-1987-
in-El-Paso-Texas-United-States#Figures-SolarDay (last viewed Dec. 28, 2024).
228 Ex. 43 at 3 (Tactical Unit Surveillance Memos).




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corroborate evidence showing that David Wood’s beige Nissan pickup truck was out

of commission the entire month of August. The Tactical Unit did not report seeing

the beige Nissan pickup truck the entire week David Wood was under surveillance. 229

    H.          David Wood’s beige Nissan pickup truckan essential element of
                his alleged modus operandisat in an auto salvage yard the entire
                month of August 1987, when three victims disappeared.

         The prosecution founded its “same scheme or course of conduct” case against

David Wood, in large part, on his use of a beige Nissan pickup truck to carry out the

abductions and assaults of his victims, and dispose of their bodies in the desert. Jail-

house snitch Randy Wells testified that David Wood “always” used the “little brown

pickup” when he abducted his victims. 230




229 Id. at 4.

230 65.RR.6968.




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                        David Wood’s beige Nissan pickup truck 231



       Although Wells testified that David Wood “always” used the “little brown

pickup” to carry out his crimes, David Wood could not have used the pickup truck

during the month of August 1987. The truck was badly damaged in a traffic accident

on July 27, 1987, and taken to an auto salvage yard where it remained until early

September 1987. During that time, three victims disappearedAngelica Frausto

(August 8); Rosa Maria Casio (August 12); and Dawn Smith (August 28).




231 Undersigned counsel apologizes for the poor quality of the photograph obtained from the District

Attorney’s files. The State refused to allow counsel to make a laser-colored copy of the original photo-
graph in their possession.



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          The Desert Murders Task Force conducted an initial investigation and con-

firmed that the pickup truck had, indeed, been in an accident on July 27, 1987.

          1.    The Traffic Accident

          On September 4, 1987, the bodies of Karen Baker and Rosa Maria Casio were

discovered in the desert. Less than three weeks later, on September 22, Judith Brown

Kellinga confidential informant, heroin addict, and sex worker with a lengthy crim-

inal record who was on probationgave her first statement to the police. 232 Kelling

said that she was “not really sure of the date” the assault occurred. 233 She believed it

had taken place “about two months ago ... around the later days of July or the early

days of August.” 234 Unknown to the Task Force detectives at the time they took Kel-

ling’s statement, the pickup truck had collided with another car in a traffic accident

on July 27, 1987. 235 David Wood’s brother, Randy, was driving the truck when the

accident occurred. 236 The pickup truck was taken to an auto salvage yard shortly after

the accident.

          2.    The Task Force Investigation

          Not until nearly two months after Kelling first reported the assault did the

Task Force discover that the traffic accident had caused serious damage to the pickup

truck, possibly rendering it inoperable.




232 Ex. 45 at 1 (Statement of Judith Brown Kelling (Sept. 22, 1987)).

233 Id.

234 Id.

235 Ex. 46 (Accident Report (July 27, 1987)).

236 Id.




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By the time David Wood stood trial for the sexual assault of Kelling, the State had

narrowed down the date of the assault to a single dayJuly 26, 1987, the day before

the traffic accident.

                  a.    Lloyd Sowles

        On November 20, 1987, Task Force Officer Ben Ayala interviewed Lloyd

Sowles, the owner of Auto Parts Unlimited, an auto repair shop and salvage yard. 237

Lloyd Sowles explained that the pickup truck was delivered to his salvage yard on

the day of the accident, to be stored there until the registered owner, Leo Wood (David

Wood’s father), returned from vacation. 238 Lloyd Sowles himself left for vacation on




237 Ex. 47 at 1 (Statement of Lloyd Sowles (Nov. 20, 1987)).

238 Id. at 12.




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August 27 and did not return until September 14, so he did not know when the pickup

truck was removed from his yard, although it would have had to have been after Au-

gust 27. 239

                b.     Luz Elena Gonzalez

          On the same day that Officer Ayala took Lloyd Sowles’s statement, Task Force

Det. John Guerrero obtained a statement from Luz Elena Gonzalez, an employee at

Auto Parts Unlimited. 240 Gonzalez said that the pickup truck had to be towed to the

shop because it could not be driven. 241 She went on vacation and, when she returned

on September 14, the truck was no longer in the yard. 242 Gonzalez did not know when

the pickup truck was taken out of the yard. 243 Gonzalez expressly stated that she

“ha[d] not lied to the police” and that she was not “covering up” for David Wood or

Lloyd Sowles. 244

                c.     John Mullaney

          On November 27, 1987, David Wood’s parole officer, John Mullaney, gave a

statement to the police about the pickup truck. 245 Mullaney said that, on September

9, 1987, he visited David Wood at his father’s home. 246 Mullaney saw David Wood in

the driveway next to his pickup truck, which had gray primer on the left front quarter


239 Id. at 2.

240 Ex. 48 (Statement of Luz Elena Gonzalez (Nov. 20, 1987)).

241 Id.

242 Id.

243 Id.

244 Id.

245 Ex. 49 (Statement of John Mullaney (Nov. 27, 1987)).

246 Id.




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panel. 247 Sal Martinez, who later became an alternative suspect, was working under-

neath the truck. 248 Mullaney mentioned to the police that he already knew from

speaking with Sgt. Gomez, head of the Task Force, that the police suspected David

Wood of the desert murders. 249

          3.    The Parole Revocation Hearing

          On December 10, 1987, David Wood’s girlfriend, Joanne (Joey) Blaich, testified

at his parole revocation hearing that the pickup truck was badly damaged in an acci-

dent on July 27, 1987, and could not be driven. 250 Eugene Sowles testified that, on

July 27, 1987, the truck was driven to a garage where he worked. 251

          4.    The Sexual Assault Trial

          During the prosecution of David Wood for the sexual assault of Judith Brown

Kelling, two witnesses testified that the pickup truck was unavailable during the

month of August 1987.

                a.      Detective John Guerrero

          Det. John Guerrero, a member of the Desert Murders Task Force, testified that

David Wood’s beige Nissan pickup truck was in a traffic accident on July 27, 1987,

and that it was “totally undrivable” through the month of August. 252



247 Id.

248 Id.; see Part III-L, infra (“Alternative suspect Sal Martinez gave conflicting statements to the police

about knowing the victims and failed a polygraph examination.”).
249 Ex. 49 at 2 (Statement of John Mullaney (Nov. 27, 1987)).

250 Ex. 50 at 3-D (Parole Revocation Hearing Report (Dec. 16, 1987)). The Parole Revocation Hearing

Report is missing page 3-B. David Wood has not been able to view or obtain a copy of the missing page.
251 Id. at 3-E. Eugene Sowles’s first name is mistakenly spelled “Jean” Sowles.

252 8.JBKRR.249–50.




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                b.      Leo Wood

        David Wood’s father, Leo, testified that the pickup truck remained in the auto

salvage yard for six weeks after the accident on July 27, 1987. 253 Leo Wood stated

that he retrieved the pickup truck with his son David from Auto Parts Unlimited on

September 5, 1987.254 Leo Wood testified that the truck was in “very bad” condition

when they drove it home from the salvage yard. 255 Leo and David Wood had to attach

one end of a chain to the front end of the truck and attach the other end to a forklift

to pull the fender clear of the front tire.256

        5.      The Tactical Unit’s Surveillance of David Wood

        EPPD’s Tactical Unit unwittingly corroborated the evidence that the pickup

truck remained at Auto Parts Unlimited for some time after the accident. The Tacti-

cal Unit officers who trailed David Wood for seven straight days from August 7–14,

1987, never mentioned spotting the Nissan pickup truck or listing it as one of the

vehicles parked at any of the locations where David Wood was staying during that

time. 257

   I.        Three witnesses saw Ivy Williams after the date the State said she
             was last seen with David Wood.

        The discovery of Ivy Williams’s body in March 1988 presented the police with

a problem: No one had reported her missing. The police had to retroactively determine



253 8.JBKRR.267.

254 8.JBKRR.267, 276.

255 8.JBKRR.276.

256 8.JBKRR.277.

257 Ex. 43 (Tactical Unit Memos). See Part III-G, supra.




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the date of her disappearance, but reconstructing her movements posed a challenge

because of her peripatetic lifestyle. The Task Force noted that:

      Tracing Ivy Susanna Williams has proved very difficult due to inaccurate
      or non-existent work records kept by Williams employers at topless bars.
      Attempts to locate records of Williams at motels she was known to fre-
      quent show no record of her under her proper name or numerous ali-
      ases. 258

      The indictment alleged that David Wood killed Ivy Williams on or about May

30, 1987. 259 At trial, the State presented evidence from Jennifer Prefountain, who

testified that she saw Ivy Williams leaving a bar in the company of David Wood

around Memorial Day in 1987. 260 However, the State knew that three other witnesses

had seen Ivy Williams after that time. Steve Dahl had seen Williams after June 15

and prior to July 4, 1987. Veronica Gatzka told the police she had seen Ivy Williams

in September or October 1987, as did Carol Eason.

       1.      Steve Dahl

       The police found Steve Dahl’s name and address on a piece of paper in the

wallet recovered from Ivy Williams’s body. 261 Task Force Det. Giron learned that Dahl

had worked as the manager of Wizzard’s Lounge, a topless dancing establishment in

El Paso. 262 Det. Giron contacted John Keaney, the former owner of Wizzard’s, who




258 Ex. 53 at 12 (Police Presentation Supplement (June 17, 1988)).

259 CR.23.

260 60.RR.617072, 6183.

261 Ex. 54 at 2 (Supplementary Police Report (Mar. 17, 1988)).

262 Ex. 55 (Supplementary Police Report (Apr. 13, 1988)).




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told him that Dahl had moved to Florida. 263 Keaney also informed Det. Giron that he

had sold Wizzard’s Lounge on June 15, 1987. 264

          Det. Giron spoke with Steve Dahl by telephone on April 14, 1988.265 Det. Giron

made arrangements to fly Dahl to El Paso so that the Task Force could conduct a

more complete interview in person. 266 On April 30, 1988, Dahl arrived in El Paso and

was interviewed at the CAP office. 267 Dahl said that he was the manager of Wizzard’s

from July 1986 to July 1987. 268 He usually worked seven days a week, opening the

bar at 10:00 a.m. and closing it at 2:00 a.m. 269

          Steve Dahl met Ivy Williams in 1982, when she was a dancer at a club. 270 Dahl

last saw Williams at John Keaney’s house late in the evening during the summer of

1987. 271 Dahl knew the date was after Keaney had sold Wizzard’s Lounge (June 15,

1987) but before the Fourth of July.272 Dahl was staying at Keaney’s house while

Keaney was in New York. 273 Ivy Williams had arrived alone in a taxi cab. 274 She

stayed at the house for about an hour and then left, walking to the store to buy some



263 Id.

264 Id.

265 Ex. 56 (Supplementary Police Report (Apr. 14, 1988)).

266 Ex. 57 (Supplementary Police Report (Apr. 30, 1988)).

267 Id.

268 Ex. 58 at 1 (Statement of Steve Dahl (Apr. 30, 1988)).

269 Id.

270 Id. at 2.

271 Id.

272 Id.

273 Id.

274 Id.




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cigarettes. 275 Ivy Williams never returned to the house. 276 Dahl did not find her fail-

ure to return unusual. 277

          Dahl did not know whether David Wood knew Ivy Williams. Dahl had never

seen the two of them together. 278

          The Task Force’s summary of Dahl’s statement is matter-of-fact: “Dahl pro-

vides the last known time period that Williams is seen alive.” 279 Nevertheless, the

State argued to the contrary in closing and even excoriated the defense for failing to

deliver on their promise in opening to present evidence that Ivy Williams was seen

after May 30, 1987:

          [T]he last time Ivy Williams was seen, she was with Mr. David Leonard
          Wood. Now, there have been in argument indications that someone may
          be brought in here that would tell you they saw her after that date. But
          no one did, because no one ever saw Ivy again.
                                              ....
          But if you will recall, defense counsel made many promises during open-
          ing argument as to what the evidence would show, none of which came
          true in this case. One of which mentioned by my co-counsel that someone
          else had seen Ivy Williams on July 4th of 1987. That’s simply not so. 280




275 Id.

276 Id.

277 Id.

278 Id.

279 Ex. 53 (Police Presentation Supplement (June 17, 1988)). Steve Dahl was killed in a motorcycle

accident in Florida on January 27, 1991. Ex. 59 (Supplemental Offense Report (Feb. 22, 1991)). But
Wood was indicted months before Dahl’s death. See CR.23 (Indictment (July 13, 1990)).
280 69.RR.7435, 7534. The defense told the jury in their opening statement that:


          [E]ven though the State tells you [Ivy Wiiliams] was seen or she disappeared sometime
          on May 30th, I believe we are going to be able to bring you testimony that that’s not
          when she disappeared. That even though in the Indictment they alleged that that is
          when she disappeared, that isn’t it. She was seen alive on July the 4th.
57.RR.5493.



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          2.     Veronica Gatzka

          Veronica Gatzka’s driver’s license was discovered at the Ivy Williams crime

scene. 281 Gatzka met Det. Marquez at the CAP office two days after Williams’s body

was found. 282 Gatzka said that her driver’s license had been stolen from The New

Yorker Club when she applied for a job there in September or October of 1987. 283 She

had changed into dancer clothes at the club and then placed her personal belongings

and street clothes in a locker that did not have a lock on it. 284 Det. Marquez showed

Gatzka a photograph of Ivy Williams, whom Gatzka recognized and knew by the

name “Silver.” 285 Gatzka said she realized two weeks after the audition that her

driver’s license was missing, but she did not report it to the police. 286 She knew her

license was about to expire (on her birthday in early October), so she renewed it

around that time. 287 The day Gatzka saw Ivy Williams was the “first and last time”

she saw her. 288

          After Gatzka signed her statement, something unusual occurred: Gatzka signed

a one-sentence addendum that contradicted her earlier statement. The addendum

appears immediately below her signature following her first statement. 289 The



281 Ex. 60 at 1 (Statement of Veronica Gatzka (Mar. 16, 1988)).

282 Id.

283 Id.

284 Id.

285 Id.

286 Id.

287 Id.

288 Id.

289 Id.




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entirety of the addendum reads: “I wish to make a correction and state that my driv-

ers license was missing sometime in the month of May 1987, because it was after

Jeffrey was arrested, in April of 1987.” 290




       The one-sentence addendum appears to render Gatzka’s concrete memory of

losing her license during an audition at The New Yorker Club a mistake. Only two

days after discovering Ivy Williams’s body, the Task Force had not yet determined

the date she disappeared. That would take another few months. 291 Det. Marquez re-

turned to Gatzka once the Task Force settled on late May 1987 as Williams’s disap-

pearance date. He convinced Gatzka to abandon her earlier statement. Det. Marquez

realized that Gatzka’s earlier statement undermined the narrative the Task Force

had adopted: that Ivy Williams was last seen in the company of David Wood in late

May 1987.




290 Id. at 2. “Jeffrey” refers to Jeffrey Wilson, Gatzka’s boyfriend. Id.

291 Ex. 53 at 12 (Police Presentation Supplement (June 17, 1988)).




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         3.      Carol Eason

         In September or October 1987, Carol Eason saw Ivy Williams get into a white

pickup truck driven by a white male around 28 or 30 years old with dark brown “wa-

vey” hair. 292

    J.        Judith Brown Kelling said David Wood did not sexually assault
              her. 293

         Judith Brown Kelling told Ramona Dismukes that she had been sexually as-

saulted by Michael Plyler, not David Wood, whom she had never seen before. 294 Kel-

ling said Plyler went by the nickname “Skeeter,” a name that Desiree Wheatley’s

friends said was the name David Wood introduced himself as. 295 In exchange for tes-

tifying that David Wood assaulted her, Kelling would receive no jail time on her pend-

ing felony criminal charges. 296 The Desert Murders Task Force files include a folder

labeled “Michael D. Plyler.” 297 The folder contains photographs of a beige Nissan

pickup truck. 298 The Task Force also received a tip from a confidential informant

likely describing about Plyler:




292 Ex. 61 (Carol Eason Police Report (Sept. 2, 1988)).

293 David Wood will soon be filing in the convicting court an initial application for writ of habeas corpus

under Art. 11.07, challenging his conviction and sentence for the sexual assault of Kelling.
294 Ex. 62 at 2 (Declaration of Ramona Dismukes (Jan. 24, 2025)).

295 Id. David Wood has never been known by the nickname “Skeeter.” 66.RR.7214;.

296 Ex. 62 at 2 (Declaration of Ramona Dismukes (Jan. 24, 2025)).

297 Ex. 63 (Michael D. Plyler, Task Force folder).

298 Id. The Task Force folder also contains photographs of a Harley Davidson motorcycle that Plyler

drove.



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           1.    “David Wood had to be taken off the streets.” 299

           In 1987, Richard Jewkes, who served as First Assistant to DA Steve Simmons,

became chief counsel to the Desert Murders Task Force, serving as a liaison between

the Police Department and the District Attorney’s Office. According to Jewkes, the

police and the District Attorney faced an enormous amount of public pressure and

political heat because of the unsolved desert murders. 300 The Task Force decided that

David Wood was the perpetrator, and “[a] decision was made to take him off the

streets.” 301

           Det. John Guerrero of the Task Force had an informant, Judith Brown Kelling,

who claimed that she was taken to the desert, sexually assaulted, and about to be

strangled when she escaped. 302 Det. Guerrero had been sitting on the information

because Kelling was a heroin addict and a prostitute, and she had a criminal rec-

ord. 303




299 Ex. 64 at 1 (Declaration of Richard Jewkes (Oct. 31, 2024)).

300 Id.

301 Id.

302 Id. at 2.

303 Id. At the pretrial suppression hearing in the sexual assault case, Det. Guerrero testified that he

did not obtain an arrest warrant for David Wood until October 23, 1987, even though he had enough
information to get a warrant on September 22, 1987, the day Kelling gave her first statement to the
police. 3.JBKRR.214. Guerrero waited over a month because, he claimed, “the investigation was not


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          At a meeting with Police Chief John Scagno, Lt. Paul Saucedo, Commander of

the CAP Division, and the detectives on the Desert Murders Task Force, they dis-

cussed what they could do to get David Wood off the streets. 304 Lt. Saucedo ordered

Det. Guerrero to tell DA Simmons about the Kelling case. 305 DA Simmons eventually

called Jewkes and asked him to speak directly with Det. Guerrero about Kelling.306

          After ADA Jewkes spoke with Det. Guerrero, Jewkes warned DA Simmons

that he (Jewkes) would need to meet face-to-face with Kelling, because “going before

a judge and jury and vouching for her credibility would be a pretty big climb.”307

Jewkes admitted that he was “on thin ice because of her criminal history and heroin

addiction.” 308 When Jewkes asked Kelling to show him exactly where the assault had

taken place in the desert, Kelling insisted that Det. Guerrero accompany them. 309

Det. Guerrero drove. 310

          ADA Jewkes characterized Judith Brown Kelling as “one of the more unusual

witnesses [he’d] had in [his] career.” 311 He described her as “wild and flaky,” and ex-

plained that he had to assign a female police officer to “babysit” Kelling in a hotel




concluded at that time.” 3.JBKRR.214. Det. Guerrero conceded on cross-examination that he did not
develop any new information after September 22, 1987. 3.JBKRR.21720.
304 Ex. 64 at 2 (Declaration of Richard Jewkes (Oct. 31, 2024)).

305 Id.

306 Id.

307 Id.

308 Id.

309 Id. at 23.

310 Id.

311 Id. at 3.




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room for several days before the trial. 312 Despite the police presence, Kelling was

found “mooning” people on the street from her upper-story hotel room.313

          Jewkes conceded that the odds of convicting David Wood were no more than “a

coin flip,” because the incriminating evidence was “pretty slim,” and Kelling had se-

rious credibility problems. 314 Adding to the uncertainty, according to Jewkes, Kelling

may have been “under the effects of her heroin addiction or in withdrawal during her

testimony.” 315

          2.    Kelling’s Admission to Ramona Dismukes

          Ramona Dismukes created a missing person’s flyer for her sister-in-law,

Cheryl Vasquez, who disappeared on June 28, 1987. Dismukes distributed them in

the area where Cheryl lived and was last seen. Dismukes had heard rumors that a

girl who looked like Cheryl had been seen on Dyer Street near the motorcycle bars

and topless clubs, and “where the girls used to trick.” 316

          Dismukes went down to Dyer Street and met Kelling. 317 When Dismukes

showed Kelling a photograph of David Wood, Kelling said she had never seen him

before. 318 Kelling told Dismukes that the person who had taken her out to the desert




312 Id.

313 Id.

314 Id.

315 Id.

316 Ex. 62 at 2 (Declaration of Ramona Dismukes (Jan. 24, 2025)).

317 Id.

318 Id.




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and raped her was Michael Plyler. 319 She knew him by his nickname, “Skeeter.” 320

Kelling said that the police had offered to drop criminal charges against her in ex-

change for testifying that David Wood had raped her. 321 Kelling told Dismukes that

she did not even know who David Wood was until she talked to the police. 322

          Kelling told Dismukes where Plyler lived. 323 When Dismukes and her mother

went to his apartment, they saw that he had a beige Nissan pickup truck nearly iden-

tical to the one David Wood owned. 324 Plyler’s truck even had similar striping on the

sides. 325

          3.     The Pickup Truck

          The Task Force folder on Plyler contains five photographs of his beige Nissan

pickup truck, which looks nearly identical to David Wood’s pickup truck, down to the

horizontal stripes on the sides. 326




319 Id.

320 Id.

321 Id.

322 Id.

323 Id.

324 Id.

325 Id.

326 Ex. 63 (Michael D. Plyler, Task Force folder). Undersigned counsel apologizes for the poor quality

of the photographs obtained from the District Attorney’s files. The State refused to allow counsel to
make laser-colored copies of the original photographs in their possession.



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          Michael Plyler’s truck                                    David Wood’s truck


        4.         The Description of the Assailant

      Kelling described her assailant as a white male between 25 and 30 years old,

with shoulder length “blondish” hair. 327 In July 1987, Plyler was 28 years old; David

Wood was 30. 328 Kelling testified that the man had “a lot of tattoos on his arms.” 329

Plyler, like David Wood, has tattoos on both forearms. 330 Plyler is five feet, eight




327 Ex. 45 at 1 (Statement of Judith Brown Kelling (Sept. 22, 1987)). Undersigned counsel apologizes

for the poor quality of the photographs obtained from the District Attorney’s files. The State refused
to allow counsel to make laser-colored copies of the original photographs in their possession.
328 Ex. 63 (Michael Plyler, Task Force folder).

329 64.RR.6806; see 8.JBKRR.12.

330 Ex. 63 (Michael Plyler, Task Force folder); Ex. 65 (Michael Plyler, El Paso County Booking Docket

(Dec. 20, 1986).



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inches tall. 331 David Wood is six feet, one-half inch tall. 332 Kelling testified that her

assailant was five feet, seven inches tall.333




               Michael D. Plyler                                 David Wood




331 Id.

332 8.JBKRR.261.

333 8.JBKRR.6869.




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                                      Michael D. Plyler




        5.     The Alibi

        Kelling testified that David Wood sexually assaulted her in the early evening

of July 26, 1987. 334 But testimony from three persons establishes an alibi for David

Wood over the weekend of July 2526, 1987. 335 His father Leo Wood, his sister Debbie

Galvan, and his girlfriend Joey Blaich could recall those dates specifically because

something memorable happened on Monday, July 27, 1987: David Wood’s Nissan




334 8.JBKRR.9; 64.RR.6804.

335 When Kelling first spoke with the police on September 22, 1987, she said that the assault occurred

“around the later days of July or the early days of August.” Ex. 45 at 1 (Statement of Judith Brown
Kelling (Sept. 22, 1987)). The evidence presented at the sexual assault trial revealed that the assault,
as alleged by Kelling and her sister Carmen Brown, could only have taken place on July 26, 1987. See
Art. 11.07 application, State v. Wood, No. 51,687-346 (to be filed).



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pickup truck was in a traffic accident. 336 His brother Randy, who was driving the

truck at the time, was arrested at the scene for driving with a suspended license and

for an outstanding warrant for a probation violation. Joey Blaich was a passenger. 337

David Wood arrived at the scene soon afterward, because the accident occurred di-

rectly in front of Blaich’s apartment.




                                               1987



                 a.    Leo Wood

         At the sexual assault trial, David Wood’s father, Leo, testified that he, his two

sons David and Randy, his daughter Debra (Debbie) Galvan and her husband Johnny

Galvan, his grandchildren, Sal (Martinez), and David’s girlfriend Joey Blaich at-

tended the automobile races on Montana Street on Saturday, July 25, 1987, from




336 See Part III-H, supra (“David Wood’s beige Nissan pickup truckan essential element of his alleged

modus operandisat in an auto salvage yard the entire month of August 1987, when three victims
disappeared.”).
337 Id. at 63.




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seven o’clock at night until midnight. 338 After the races, in the early morning hours

of Sunday, July 26, 1987, they ate a late supper at a truck stop near the I-10 free-

way. 339 Leo Wood left the truck stop at six o’clock in the morning on Sunday, July 26,

and drove to Houston, where he stayed for two weeks. 340 While he was in Houston,

Lloyd Sowles called to tell him that the Nissan pickup truck had been damaged in an

accident. 341

                b.     Debbie Galvan

       During the cross-examination of Debbie Galvan at the capital murder trial, the

prosecution unintentionally elicited additional (and corroborating) evidence regard-

ing David Wood’s whereabouts on the day he allegedly assaulted Judith Brown Kel-

ling. Galvan testified about her family’s activities during the weekend immediately

preceding the accident:

       On July 26thactually, it was the 26th was a Saturday.[342] We were
       going to the flea market the next day. That’s the reason why [David
       Wood] enjoys spending the night at our house. My father [Leo Wood] and
       David and my other brother [Randy Wood] and Joey [Blaich] and an-
       other man and my kids had gone to the races, car races that evening.
       And then my dad and my stepmother and David went to a truck stop
       and had coffee, I am told, together and then Joey was there as well. And
       then they came to my houseit was actually Sunday morning at this
       point. Okay. We went to the races on Saturday and they came to my
       house to spend the night on Sunday because we were all going to the flea
       market to sell things early Sunday morning. So that would have been


338 8.JBKRR.26768. Leo Wood is deceased.

339 8.JBKRR.268.

340 8.JBKRR.27374.

341 8.JBKRR.27475.

342 Galvan is mistaken. July 26, 1987, fell on a Sunday. It is clear from the context of Galvan’s testi-

mony that she is referring to events that occurred over the weekend, Saturday, July 25, and Sunday,
July 26. She does correctly state, a few sentences later, that July 26 was a Sunday.



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          July 26th that we went to the flea market. So he spent the night with
          Joey at my house on that evening with my other brother as well.343

                  c.   Joey Blaich

          In December 1987, Joey Blaich testified at David Wood’s parole revocation

hearing after his arrest for the assault of Kelling. 344 Blaich stated that, on July 25,

1987, she and David Wood went to the racetrack with his family and did not return

home until the early morning hours of July 26, 1987.345 Later that same morning,

Blaich and David Wood went to a swap meet with his family.346 After the swap meet,

she and David Wood and his brother Randy went to her apartment. 347 David and

Randy Wood slept from four o’clock in the afternoon until ten o’clock at night. 348

Sometime after 10:00 p.m., David and Randy Wood went out to eat. 349 The next day

(July 27, 1987), Randy borrowed David Wood’s truck and got into an accident. 350

          In her first statement to the police, Judith Brown Kelling said that David Wood

picked her up in his truck between 7:00 and 7:30 at night on July 26, 1987. 351 She

claimed that the entire offense lasted about an hour and a half. 352 Three people




343 66.RR.7248.

344 Ex. 50 at 3-D (Parole Revocation Hearing Report (Dec. 16, 1987)).

345 Id.

346 Id.

347 Id.

348 Id.

349 Id.

350 Id.

351 Ex. 45 at 1 (Statement of Judith Brown Kelling (Sept. 22, 1987)); see 8.JBKRR.9; 64.RR.685354,

6864.
352 64.RR.685354, 6864.




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testified about the events of July 2527, 1987, and provided consistent, corroborating

evidence that David Wood could not have sexually assaulted Judith Brown Kelling

on the evening of July 26, 1987. He was asleep at Joey Blaich’s apartment.

       6.      Kelling’s False and Inconsistent Accounts

       Judith Brown Kelling gave five accounts of her sexual assault:

        x   Statement to the police on September 22, 1987.

        x   Audiotaped interview with the police on November 16, 1987.353

        x   Statement to David Wood’s parole officer on November 25, 1987. 354

        x   Testimony at David Wood’s sexual assault trial on March 1516,
            1988.

        x   Testimony at David Wood’s capital murder trial on October 30,
            1992. 355

       In the table below, a comparison of Kelling’s various accounts reveals a number

of material inconsistencies.




353 Ex. 66 (Transcript of Judith Brown Kelling Interview (Nov. 16, 1987)). The State never disclosed

this interview to the defense at either the sexual assault trial or the capital murder trial.
354 Kelling’s November 25, 1987, written statement is identical to her September 22, 1987, written

statement, except a different address is listed as Kelling’s residence. 8.JBKRR.61.
355 Kelling actually gave six accounts. However, her testimony at a pretrial suppression hearing on

January 17, 1988, involved primarily the procedures the police used with Kelling that resulted in her
identification of David Wood as the assailant. See 3.JBKRR.11138.



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 Sept. 22 & Nov. 25,               Nov. 16, 1987                  Mar. 15, 1988                   Oct. 30, 1992
  1987 statements                taped interview                 trial testimony                 trial testimony
This incident occurred This incident occurred                This incident occurred This incident occurred
about two months ago around July or August.                  on or before July 26, in July.
and I think that it Transcript at 1.                         1987. 8.JBKRR.9.       64.RR.6804.
wa11 around the later                                        Kelling later admits
days of July or the                                          that she does not
early days of August. I                                      know what date it oc-
am really not sure of                                        curred.
the date.                                                    8.JBKRR.6667, 82.
Statement at 1.

He walked with a limp. He had a limp. I’m kind               Kelling makes no Kelling makes no men-
Statement at 1.        of sure it was the left               mention of her assail- tion of her assailant
                       leg he had a limp.                    ant walking with a walking with a limp.
                       Transcript at 10.                     limp.

Kelling does not men- Kelling does not men- I injected some heroin I shot up heroin at 8:00
tion shooting heroin on tion shooting heroin on about 9:00 a.m. that that morning.
the day of the assault. the day of the assault. day.                 64.RR.6818.
                                                8.JBKRR.52. 356


We came up on a gate         He went towards some            He pulled up to a fence        He drove up to a fence
and stopped. He got out      fence. He couldn’t get          and he stopped. He got         and forced me to get
and tried to open the        through the fence. He           out, went to this fence        out. He couldn’t get the
gate but was unable.         kicked the fence, and           and tried to open it,          fence open. He got mad.
He even kicked the           he got back in the              and told me to stay in         He pulled me back into
gate.                        truck. I stayed in the          the truck. He couldn’t         the truck.
Statement at 12.            truck.                          get the fence open so          64.RR.680809.
                             Transcript at 3.                he kicked it and came
                                                             back to the truck.
                                                             8.JBKRR.19.




       356 At the pretrial suppression hearing, Kelling testified that she took heroin at six o’clock in the morn-

       ing on the day of the sexual assault. 3.JBKRR.131.



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 Sept. 22 & Nov. 25,            Nov. 16, 1987              Mar. 15, 1988              Oct. 30, 1992
  1987 statements             taped interview             trial testimony            trial testimony
He continued down an-       He drove down another       He turned left eventu-    He drove around a lot.
other dirt road. He         road. He stopped and        ally and made a U-        He stopped the truck
stopped and asked me        he got out of the truck     turn around a bush.       and told me to get out.
to get out. I didn’t want   and took a shovel from      He parked by the bush     He tied me in front of
to get out, so he came      the back of the pickup.     and told me to get out.   the truck. He took a
around, opened the          with him. He took me        He pulled me by the       blanket out of the bed of
door, and pulled me         out of the truck, put me    shirt. He told me to      the truck. He took the
out. I grabbed the bed      in the front of the         stand in front of the     blanket and a shovel be-
of the truck but he         truck, and made me          truck. He got a shovel    hind some bushes and
pulled me around to         face north when he was      out of the back of the    started digging for 10 or
the front of the truck      going behind the truck.     truck.                    15 minutes.
and told me to face         Transcript at 5.            8.JBKRR.2022.            64.RR.681011.
north.
Statement at 2.

He said, “Just remem- He said, “Just remem-             He said he heard          He heard voices. He
ber, you are three and ber, you are three free.”        somebody. He put eve-     threw all my clothes
walking free.”         Transcript at 14.                rything in the truck      and the blanket in the
Statement at 4.                                         and left me in the de-    truck and left me in the
                                                        sert naked. He did un-    desert. He said, “Al-
                                                        tie me and took the       ways remember, I’m
                                                        gag out of my mouth.      free.”
                                                        He said, “You’re three    64.RR.6815.
                                                        and walking free.”
                                                        8.JBKRR.37.

Kelling makes no men- When I got home my                The     truck    driver   The truck driver gave
tion of telling her sister sister was there. I told     dropped me off at my      me a ride to my apart-
about the assault.         her, “Carmen, this guy       apartment. My sister      ment. My sister was
                           took me out into the de-     Carmen Brown was          there and I told her
                           sert.” And I told her        there. I told her what    what had happened.
                           what he did to me.           happened.                 64.RR.681617.
                           Transcript at 9.             8.JBKRR.40, 4344.



                     a.      The Assailant’s Parting Words

              Kelling’s first four accounts of the assailant’s parting words to her as he drove

       off, leaving her naked in the desert, are relatively similar. “You are three and walking




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free” appears to refer to the factat least those the police asserted at the timethat

Kelling would have been the Desert Killer’s third victim. Desiree Wheatly disap-

peared on June 2, 1987, and Karen Baker disappeared on June 5, 1987. Rosa Maria

Casio disappeared on August 12, 1987, after the time span Kelling claimed she was

assaulted.

       When Kelling gave her first three accounts to the police, Ivy Williams’s body

had not yet been discovered, nor had she been reported missing. Her body was dis-

covered on March 14, 1988, the day before Kelling testified at David Wood’s sexual

assault trial. Months later, the Task Force detectives settled on May 30, 1987, as the

date Ivy Williams disappeared. Kelling could no longer be the Desert Killer’s third

victim. She was now the fourth. By the time Kelling testified at David Wood’s 1992

capital murder trial, her account of his parting words had changed significantly: “Af-

ter he had sex with me, he took my clothes and threw them in the back of his truck,

blanket and everything, and he told me to [‘]always remember, I’m free,[’] and he got

in and he left me out there.” 357

                  b.   The Assailant’s Limp

       In her first three accounts of the assault, Kelling noted that her assailant

walked with a limp. Gina Gallegos stated that she saw a leg brace in the assailant’s

pickup truck and that he kept hitting his right leg “like it was hurting him.”358 In


357 64.RR.6815.

358 Ex. 67 at 1 (Statement of Gina Gallegos (Sept. 22, 1987)). At the time David Wood was arrested for

assaulting Kelling, he was also arrested for kidnapping Gallegos. The State eventually dismissed the
charge. Amber Smith, Wood’s Kidnapping Charge Dropped, El Paso Times (May 20, 1988). Notably,
Kelling thought her assailant was limping on his left leg. Ex. 66 at 10 (Transcript of Judith Brown
Kelling Interview (Nov. 16, 1987)).



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early September 1987, Christine Georges saw David Wood at Barnett Harley Da-

vidson, where she worked. 359 She said he walked with his right leg straight because

he wore a knee brace on it.360

          In January 1988, the State obtained David Wood’s medical records in the pos-

session of orthopedic surgeon Charles Zaltz. 361 These records revealed that Dr. Zaltz

had treated David Wood on August 28, 1987. 362 A few weeks later, Joey Blaich told

the police how David Wood had injured his leg:

          I remember that around the 28th of August, he hurt his leg…. On the
          28th, we went to the doctor to see about David’s leg. His father took us
          to some doctor in an orthopedic clinic on Executive Center drive. I re-
          member that on that night he came in real late, around 3:00 a.m. or so.
          . . . When he came in, I woke up and asked him if he had been outside
          and he told me that he had not, I then told him about the noises that I
          heard and he just jumped up and ran outside to see who it was. He then
          jumped the fence and he fell down kind of hard. I heard the noise and
          went outside to see what had happened. When I got there, he was on the
          ground and he was saying “Oh my leg, my leg.” I then helped him up
          and helped him get into the apartment. In the morning, we called his
          dad and he took us to the doctor. The doctor told him that he had some-
          thing wrong with his ligaments or something like that. They gave him a
          white velcro type brace for his leg.363

          Kelling gave her first three accounts of the sexual assault before the police had

obtained David Wood’s medical records or spoken to Blaich about his leg injury. At

first glance, Gallegos and Georges seemed to corroborate Kelling’s description about



359 Ex. 68 (Statement of Christine Georges (Sept. 23, 1987)).

360 Id.

361 Ex. 69 (Police Supplementary Report (Jan. 25, 1988)).

362 Id.

363 Ex. 70 at 2 (Statement of Joanne Blaich (Feb. 11, 1988)). At the capital murder trial, Blaich testified

about this incident. 63.RR.665051. The State used Blaich’s testimony to argue at closing that David
Wood had hurt his leg while assaulting and killing Dawn Smith. 69.RR.746162.



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her assailant’s limp. But Gallegos and Georges claimed to have seen David Wood after

August 28, 1987. Kelling’s mentioning the limp in her first three accounts and then

conspicuously omitting it in her last two accounts (her testimony at the sexual assault

trial and the capital murder trial) may be explained by the fact that Kelling and

Gallegos gave their first statements to the police on the same daySeptember 22,

1987. But Gallegos was recounting an event that allegedly occurred only a few days

earlier. Kelling was recounting an event that allegedly took place two months earlier,

before David Wood injured his leg.

             c.     Tying Kelling to the Pickup Truck

      In her first four accounts, Kelling never mentioned that her assailant tied her

to the pickup truck. This detail did not emerge until her testimony in the capital

murder trial.

      The State tried to elicit gruesome testimony of this supposed modus op-

erandi from Wells at David Wood’s capital murder trial:

      Q.     Did he tell you what he did to the girls once he got them out to
             the desert area?

      A.     Yes, ma’am, he tied them up to his pickup.
                                     ....
      Q.     Did he tell you what he would do after he had tied them up to his
             pickup.

      A.     He would dig a grave.

      Q.     Did he ever indicate to you how he tied them up at the time that
             he would rape them?

      A.     Yes, to his pickup and to a tree. And he would put it to me as he
             was doing it outbecause they messed over him, getting revenge
             back at the girls. He was doing them pretty bad.



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        Q.        And when would he rape them?

        A.        When would he rape them; after he tied them up when he would
                  come back from digging the grave.

        Q.        Would they be already tied up to the pickup and the tree at the
                  time that he raped them?

        A.        Yes, ma’am. 364

        The State doubled-down in closing on the gruesomeness of David Wood’s al-

leged modus operandi:

        [T]he testimony of Mr. Wells and Mr. Sweeney gives us a little bit more
        of an indication as to this defendant. It corroborates to a large degree his
        method of operation because Mr. Wells told David (sic) some of what he
        would do about tying up the girls, about stretching the girls out. And this
        tying episode is something that Judith Brown Kelly experienced. And it
        is something that this defendant told Mr. Wells. 365

                  d.    Task Force Concerns about Kelling’s Credibility

        Kelling testified falsely at the sexual assault trial when she denied talking to

the police during the two months that elapsed between the time she made her first

statement on September 22, 1987, and the time she gave her second statement on

November 25, 1987. 366 On November 16, 1987, the police interviewed Kelling, and

the interview was audiotaped. 367 The State never disclosed the existence of this ad-

ditional interview to David Wood before his sexual assault trial or before his capital

murder trial. 368 The suppressed audiotaped interview contains exculpatory



364 65.RR.696970.

365 69.RR.7552.

366 See 8.JBKRR.64.

367 Ex. 66 (Transcript of Judith Brown Kelling Interview (Nov. 16, 1987)).

368 Ex. 44 at 1 (Declaration of Dolph Quijano, Jr. (Feb. 12, 2025)).




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information that highlights the Task Force’s concerns about the credibility of both

Kelling and her sister, Carmen Brown.

          In her first statement to the police, on September 22, 1987, Kelling made no

mention of telling Carmen Brown that she had been raped in the desert. By October

30, 1987, Carmen Brown had provided a statement to Task Force Det. John Guerrero,

in which she said that Kelling had told her about the assault the same night it hap-

pened. 369 However, Carmen Brown said, “I had seen this guy before but I had not

gone with him at all.”370 The significance of Carmen’s Brown’s admission would ulti-

mately result in a significant change in her testimony in an effort to neutralize this

troublesome fact.

          Det. Guerrero interviewed David Wood on October 27, 1987, days after his ar-

rest. 371 David Wood told Det. Guerrero exactly where he had dropped off a prostitute

he had picked up. 372 He denied leaving her in the desert and accurately described the

location and the outside of the apartment building where she got out. 373 The resi-

dence, of course, was that of Judith Brown Kelling. But the prostitute was Carmen

Brown.

          By the time Det. Guerrero interviewed Kelling on November 16, 1987, he had

uncovered a problematic piece of evidence from his interrogation of David Wood:




369 Ex. 71 (Statement of Carmen Brown (Oct. 30, 1987)).

370 Id.

371 8.JBKRR.21819.

372 8.JBKRR.23839.

373 8.JBKRR.24243.




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David Wood knew where Kelling lived, but Kelling claimed he had left her in the

desert. In the November 16 interview, Det. Guerrero confronted Kelling about this

issue, and Kelling gave a long and convoluted answer:

          [W]hen he’d left me out there and came back in, he offered [Carmen
          Brown] a ride to go outcome out and do some coke out there. And she
          says, “No, I’m exhausted.” And she would tell him, “Weren’t you the guy
          whowho” because this is what my sister told me that he had asked
          her“Weren’t you the guy who had” she had asked him, “Weren’t you
          the guy who took my sister out to, you know, wherever, out to your
          friend’s or whatever?” You know, I don’t know. Hemy friend’s, I mean.
          So, he had asked if she had took him out to my friend’s and he goes, “Yeah
          I took her out to somebody.” I don’t know where he told her he took me.
          But sheand he tried to ask her to go to the desert with him because he
          had told her he had coke and she wanted to go way out in towards the
          Northeast to get it and she says, “No, I’m too exhausted. Just take me
          home.” And he goes, “Well, where do you live?” She goes, “Well, take me
          up to my sister’s.” He goesand so he goes, “Where’s your sister living?”
          And that’s when he took her up to my apartment, and that’s the only way
          I could figure out how he knew where I lived. That’s the only way.374

          Carmen Brown’s statement to the police statement contradicts Kelling’s ver-

sion that David Wood dropped Brown off at Kelling’s home the same evening of the

assault. Carmen Brown said she saw David Wood a few hours after Kelling had left

with him. 375 Brown spoke with him and was assured her sister was “OK.” 376 He asked

her “to go with him. I told him no and he left.” 377

          At the sexual assault trial, Carmen Brown changed her version significantly

to account for David Wood’s knowing where Kelling lived. Brown testified that David




374 Ex. 66 at 15 (Transcript of Judith Brown Kelling Interview (Nov. 16, 1987)).

375 Ex. 71 (Statement of Carmen Brown (Oct. 30, 1987)).

376 Id.

377 Id.




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Wood had given her a ride to Kelling’s apartment, not the same day, but days before

Kelling was assaulted. 378 Carmen Brown denied that David Wood had taken her to

Kelling’s apartment the same night Kelling was rapedin contrast to Kelling’s ex-

planation in the November 16 interview with Det. Guerrero. 379

        7.        Kelling’s Undisclosed Deal

        On two separate occasions in October 1986, Judith Brown Kelling sold heroin

to an undercover police officer. 380 However, she was not indicted or arrested for these

offenses for another six months. 381 On August 24, 1987, Kelling pleaded guilty in both

cases. 382 She was given a six-year suspended sentenced in each case, to run concur-

rently, and placed on probation for six years. 383 She testified falsely at David Wood’s

capital murder trial that she had received no benefits for her testimony at his sexual

assault trial.384

        After Kelling was charged with public lewdness in November 1987, the State

moved to revoke her probation. 385 An arrest warrant was issued on January 29,

1988. 386 Nearly two months later, when Kelling testified for the State in David Wood’s


378 8.JBKRR.14748.

379 8.JBKRR.148.

380 Ex. 72 (Criminal Complaint, No. 50,126 (Oct. 15, 1986)); Ex. 73 (Criminal Complaint, No. 50,127

(Oct. 23, 1986)). Because Kelling’s legal proceedings in these two cases are identical, except for the
details of the offense, only the proceedings in Case No. 50,126 will be cited in the footnotes.
381 Ex. 74 (Indictment, State v. Kelling, No. 50,126 (May 28, 1987)); Ex. 75 (Arrest Warrant and Return,

State v. Kelling, No. 50,126 (May 28, 1987)).
382 Ex. 76 at 1 (Judgment, State v. Kelling, No. 50,126 (Aug. 24, 1987)).

383 Id. at 13.

384 64.RR.6865.

385 Ex. 77 (Motion to Revoke Probation, No. 50,126 (Jan. 19, 1988)).

386 Ex. 78 (Arrest Warrant, State v. Kelling, No. 50,126 (Jan. 29, 1988)).




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sexual assault trial, her probation for delivery of heroin still had not been revoked. 387

The State objected to defense counsel’s attempts to show that Kelling had received

preferential treatment in exchange for her testimony.388 The court sustained the ob-

jection. 389

         On March 17, 1988, the day after Kelling completed her testimony, she was

arrested. 390 A pre-revocation hearing was set for March 22, 1988.391 Instead of seek-

ing to revoke Kelling’s probation and sentence her to six years in prison for delivery

of heroin, the State moved to modify the conditions of her probation. 392 On March 22,

1988, the court agreed. 393 Kelling was released from custody the same day David

Wood was sentenced to fifty years in prison for sexually assaulting her. 394

         Kelling did not stay out of trouble for long. By August 1988, she had been ar-

rested for unlawful possession of heroin. 395




387 8.JBKRR.7073, 7479.

388 8.JBKRR.73.

389 8.JBKRR.73, 7879.

390 Ex. 79 (Sheriff’s Return, State v. Kelling, No. 50,126 (Mar. 17, 1988)).

391 Ex. 80 (Order of Court Setting, State v. Kelling, No. 50,126 (Mar. 17, 1988)). Norbert Garney, sec-

ond-chair defense counsel for David Wood in the capital murder case, was appointed to represent Kel-
ling in these revocation cases.
392 Ex. 81 (Motion and Order to Modify Probation, State v. Kelling, No. 50,126 (Mar. 22, 1988)).

393 Id. at 4.

394 9.JBKRR.48.

395 Criminal Complaint, No. 53,683 (Aug. 22, 1988).




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She was indicted in September and pleaded guilty in November 1988. 396 Her proba-

tion was revoked in her two other possession cases, and she was sentenced to concur-

rent six-year prison terms. 397

       By the time she testified in David Wood’s capital murder trial in October 1992,

Kelling was in jail on a parole violation. 398

     Judith Brown Kelling died in 2014 at the age of 54 from an accidental overdose

of heroin and cocaine. 399

       8.      Carmen Brown’s Undisclosed Deal

       Carmen Brown served as the “outcry” witness who corroborated Kelling’s sex-

ual assault. In closing arguments, the prosecution disparaged defense counsel’s




396 Indictment, State v. Kelling, No. 53,683 (Sept. 13, 1988); Judgment, State v. Kelling, No. 53,683

(Nov. 11, 1988).
397 Id. at 2; see Judgment Revoking Probation, State v. Kelling, No. 50,126 (Nov. 11, 1988); Judgment

Revoking Probation, State v. Kelling, No. 50,127 (Nov. 11, 1988). In September 1990, Kelling was ar-
rested for burglary of a habitation. State v. Kelling, No. 59,837. In May 1991, she pleaded guilty and
was sentenced to 12 years in prison.
398 64.RR.682526.

399 Autopsy Report of Judith Roxanne Liskowycz (Dec. 5, 2014) at 1, 6.




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assertion that Carmen Brown testified falsely against David Wood because she was

motivated by revenge:

         She got on that stand and testified. Now, what would be her motivation
         for lying? To get back at this man because he stiffed her sister for some
         cocaine? After eight months? It’s been eight months since this came up.

         Do you think she was smart enough, shrewd enough, cunning enough to
         maintain the story for eight months and then come in here just to help
         her sister over some cocaine? 400

Carmen Brown had a much greater incentive than revenge. She wanted to avoid a

ten-year prison sentence for delivery of heroin.

         Like her sister, Carmen Brown sold heroin to an undercover police officer in

October 1986. 401 And, like her sister, she was not indicted or arrested for the offense

for another six months. 402 On June 23, 1987, Carmen Brown pleaded guilty. 403 She

was given a ten-year suspended sentenced and placed on probation for ten years. 404

The court ordered her to serve an alternate term of probation at the West Texas Re-

gional Adult Probation’s Restitution Center. 405

         After Carmen Brown repeatedly left the Restitution Center without authori-

zation, and then never returned after leaving on July 26, 1987, an arrest warrant was




400 8.JBKRR.32526.

401 Ex. 82 (Criminal Complaint, No. 50,089 (Oct. 31, 1986)).

402 Ex. 83 (Indictment, State v. Brown, No. 50,089 (May 28, 1987)); Ex. 84 (Arrest Warrant and Return,

State v. Brown, No. 50,089 (May 28, 1987)).
403 Ex. 85 at 1 (Judgment, State v. Brown, No. 50,089 (June 23, 1987)).

404 Id. at 13.

405 Id. at 3.




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issued. 406 She was arrested on August 22, 1987, for violating probation. 407 The State

sought to revoke her probation. 408 While awaiting her probation revocation hearing,

Carmen Brown received a visit in the county jail from Det. Guerrero. 409 She provided

him with a statement that corroborated Judith Brown Kelling’s sexual assault alle-

gations.

           Three days after her visit from Det. Guerrero, Carmen Brown’s probation was

revoked. 410 Instead of imposing the suspended ten-year prison sentence as straight

time, the court ordered “shock probation,” which required Carmen Brown to serve as

little as 60 days in prison before becoming eligible for probation. 411

           On March 16, 1988, Carmen Brown testified for the State in David Wood’s sex-

ual assault trial. Two days later, the court suspended the remainder of her ten-year

sentence and placed her on probation. 412

    K.        The State’s scientific expert gave misleading testimony about the
              fiber comparison evidence.

           The State’s forensic chemist, Steve Robertson, testified that fibers found at the

Wheatley crime scene “matched” fibers in a vacuum cleaner bag recovered from the




406 Ex. 86 (Arrest Warrant and Return, State v. Brown, No. 50,089 (Aug. 3, 1987)).

407 Id.

408 Ex. 87 (Motion to Revoke Probation, State v. Brown, No. 50,089 (Sept. 8, 1987)).

409 Ex. 71 (Statement of Carmen Brown (Oct. 30, 1987)).

410 Ex. 88 (Judgment Revoking Probation, State v. Brown, No. 50,089 (Nov. 2, 1987)).

411 Id..

412 Ex. 89 (Judgment and Addendum to Sentence, State v. Brown, No. 50,089 (Mar. 18, 1988)). In Feb-

ruary 1989, the court revoked Carmen Brown’s probation for repeated unauthorized absences from a
halfway house and sentenced her to five years in prison. Judgment Revoking Probation, State v.
Brown, No. 50,089 (Feb. 16, 1989).



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garage at the residence where David Wood had lived with his girlfriend, Joey Blaich.

The State’s theory was that David Wood kept an orange acrylic blanket in his truck

and used the vacuum cleaner to clean his truck. Roberston’s testimony enabled the

State to argue at closing that the fiber “match” established an actual physical link

between David Wood and the site where Desiree Wheatley’s body was found. The

State argued that all the fibers originated from a common sourcethe blanket alleg-

edly used by David Wood when sexually assaulting his victims. Robertson testimony

was problematic and misleading.

       1.         The Fiber “Match”

       On direct appeal, this Court summarized Robertson’s testimony:

      A forensic chemist testified that orange fibers found on the clothing of
      one of the victims matched orange fibers taken from a vacuum cleaner
      bag which appellant and his girlfriend
      had left in their old apartment. 413
Robertson did, indeed, testify that the fibers from the two sites “matched” and were

“identical.”414 He added that “the likelihood that [the fibers] came from two different

items is remote.” 415

       In closing argument, the State pointed out the evidentiary significance of Rob-

ertson’s testimony that the fibers from the crime scene and the vacuum cleaner bag

“all matched,” and they “all came from a common source.” 416 The State argued that

this fiber “match” established a direct “physical link” between David Wood and the



413 Ex. 5 at 4 (Wood v. State, No. 71,594 (Tex. Crim. App. Dec. 13, 1995)) (emphasis added).

414 63.RR.6730.

415 63.RR.6741.

416 69.RR.744445.




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Wheatley crime scene. 417 The orange acrylic blanket provided the source of the fibers,

the State argued:

          [T]hose orange fibers came from Mr. David Leonard Wood’s blanket, the
          one that Joanne Blaich told you about, the one that had the fuzzies on
          it, the one that was like a hotel blanket, with the satin edges, sort of
          burnt orange, orange in color, the one that Mr. David Leonard Wood
          kept in his pickup truck. I would submit to you that’s where those orange
          fibers came from and that is the common source of those fibers because
          we know, we know, how he used the blanket. We know what he used
          them for. Judith Brown Kelly told us that.418
          2.     Dr. Palenik’s Report

          Christopher S. Palenik, Ph.D., Senior Research Microscopist at Microtrace, re-

viewed all the fiber evidence and provided a report to undersigned counsel. 419 His

report provides “an objective review of the sampling, analytical approach, conclu-

sions, and testimony related to the fiber evidence in this case through a critical ex-

amination of each step of this process.” 420 Dr. Palenik identified “numerous issues”

related to the State’s forensic investigation that stemmed from “the limited infor-

mation available about the analysis and association of orange acrylic fibers.” 421 These

issues involved sample collection, analysis, data processing, reporting, and testi-

mony. 422




417 69.RR.753839.

418 69.RR.7445.

419 Ex. 90 (Christopher S. Palenik, Ph.D., Review of Fiber Evidence (Feb. 20, 2025)). Dr. Palenik’s CV

is attached to his report.
420 Id. at 4.

421 Id. at 16.

422 Id.




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          Dr. Palenik harshly criticized the use of the terms “match” and “identical” in

Robertson’s forensic testimony. 423 He said these terms are “generally avoided alto-

gether in modern forensic usage.” Dr. Palenik explained that:

          These terms and others have been considered problematic and flagged
          in independent case files reviews because they are seen to: (a) imply a
          sense of either specificity or uniqueness that can’t be obtained by a typ-
          ical class evidence comparison or (b) in the case of “remote,” they are
          perceived to imply a probability that hasn’t been established. 424

In short, Dr. Palenik concluded that Robertson testified in a way “that is considered

problematic and misleading in forensic testimony.” 425 Dr. Palenik also took issue with

Robertson’s testimony about “the probability of fibers arising from a specific item,”

because no source for the fibers was ever identified, and the properties of the fibers

were never constrained to a specific type of product, much less a specific item.” 426

          In addition to Robertson’s misleading testimony, Dr. Palenik mentioned that

the paucity of analytical details and data raises “significant questions about key as-

pects of data collection” and “suggest[s] that analyses were not always conducted at

the most rigorous levels.” 427 He criticized the DPS reports for poor, ambiguous tech-

nical writing, pointing out that “the only formal DPS trace evidence report does not

actually specify the fiber associations reported at trial.” 428 Moreover, Dr. Palenik ob-

served that Robertson, the State’s testifying expert, did not actually sign the first two


423 Id. at 14.

424 Id.

425 Id. at 16.

426 Id. at 14.

427 Id. at 89.

428 Id. at 9.




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DPS fiber reports, “rais[ing] issues about who performed the actual analyses.” 429 In

the “quasi-report” 430 that Robertson did sign, Dr. Palenik criticized the ambiguous

language he used to describe the key finding: “some of the fibers in B2, B12, and B24

are indistinguishable from fibers in B25.”431 As Dr. Palenik put it, “Does the word

‘some’ … refer to the fibers that were analyzed or were certain orange fibers from in

these samples found to be different?” 432

          Finally, Dr. Palenik expressed concerns surrounding the collection of the vac-

uum cleaner bag, because the orange fibers found in the debris from the bag represent

“the sole fiber evidence” associated with the Wheatley crime scene. 433 He emphasized

that scrupulous sample collection provides the foundation on which an expert’s anal-

yses, conclusions, and testimony are built.434 Dr. Palenik noted that Joyce Armstrong

testified she could not find the bag to the vacuum cleaner when she first tried to used

it after David Wood and Blaich had left the apartment. 435 “This statement alone

raises foundational questions about the origin of the vacuum cleaner bag,” Dr. Pa-

lenik stated in his report. 436 The confusion about the origin of the bag in the vacuum

cleaner continued with Armstrong’s testimony that indicated she herself may have




429 Id. at 17.

430 Id.

431 Id. at 10 (quoting Def. Ex. 5) (emphasis added by Dr. Palenik).

432 Id.

433 Id. at 4.

434 Id.

435 Id. at 5.

436 Id.




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put a bag in the vacuum cleaner, in which case, Dr. Palenik continued, “the dirt in

the bag was not vacuumed by either Ms. Blaich or Mr. Wood.” 437 Armstrong also tes-

tified that the vacuum cleaner did not work and that the person who rented the apart-

ment later had also tried to use it. 438 Dr. Palenik found that Armstrong’s contradic-

tory testimony and the collection of the vacuum cleaner bag more than two months

after Blaich had vacated the apartment (and approximately one month after another

tenant had moved in) “raise serious questions about the origin and history of the vac-

uum cleaner bag and its contents that were collected by Detective Guerrero.” 439

    L.          Alternative suspect Sal Martinez gave conflicting statements to the
                police about knowing the victims and failed a polygraph examina-
                tion.

          During the course of their investigation into the desert murders, the Task

Force became interested in Sal Martinez and his possible involvement in the crimes.

In November 1987, two officers on the Task Force flew to Salt Lake City, Utah, to

interview Martinez. He gave four statements. Eventually, the officers flew back to El

Paso with Martinez in tow, and Martinez gave the police a fifth statement. He took a

polygraph examination and failed it. Detectives then had local hospital staff collect

hair, saliva, and blood samples from Martinez. No DNA testing of Martinez’s biolog-

ical samples has ever been conducted to create a profile and compare it with the




437 Id.

438 Id.

439 Id. at 6.




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partial male DNA profile recovered from Dawn Smith’s yellow sunsuit. 440 None of

this evidence was ever presented at David Wood’s capital murder trial. 441

         1.       The First Statement

         On November 27, 1987, Det. Al Marquez and Officer Ben Ayala of the Desert

Murders Task Force traveled to Salt Lake City to interview Sal Martinez. Martinez

knew David Wood, and the Task Force believed Martinez had information about the

murders. While in Salt Lake City, the officers obtained four statements from Mar-

tinez.

         At 5:45 p.m. on the day they arrived, the officers interviewed Martinez. 442 Mar-

tinez said that he had lived in El Paso for about four or five months, from May or

June until September or October 1987. 443 Martinez did not recognize a photograph of

the victim Karen Baker. 444 When given the name of the victim Rosa Maria Casio, he

said that her name did not sound familiar. 445 Martinez mentioned that he had met a

girl named Dawn, who was staying with his girlfriend Ruby at her apartment, and

he had once given her a ride back to Ruby’s apartment. 446




440 This Court affirmed the trial court’s denial of DNA testing of Martinez’s biological samples. Wood

v. State, 693 S.W.3d 308 (Tex. Crim. App. 2024).
441 The State did not disclose to the defense the information about Martinez’s failed polygraph exam

or the taking of biological samples and fingerprints from him. Ex. 44 at 6 (Declaration of Dolph Qui-
jano, Jr. (Feb. 12, 2025)).
442 Ex. 91 (First Statement of Sal Martinez (Nov. 27, 1987)).

443 Id. at 89.

444 Id. at 2.

445 Id. at 12.

446 Id. at 2526, 2930.




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          2.      The Second Statement

          On November 27, 1987, at 8:55 p.m., Sal Martinez gave a second statement to

the officers after being interrogated for over an hour. 447 Martinez again claimed that

he did not recognize the name “Karen Baker.” 448 When the officers showed him a

black and white photograph and a color photograph of Baker, Martinez responded, “I

can’t possibly identify her, it could be, I can’t be positive.” 449 Martinez could not recall

ever meeting Baker in the company of David Wood, or going to the Hawaiian Royale

Motel where she lived. 450 At the end of his statement, Martinez said, “About this Ka-

ren Baker thing, it’s possible that I may have met her, I just don’t remember.”451

          3.      The Third Statement

          One hour after completing his second statement, Martinez gave the police a

third statement. 452 He said that he may have seen the victim Desiree Wheatley at

the Circle K store. 453 He had been to the Circle K on several occasions when David

Wood met some “kids” at the store.454




447 Ex. 92 (Second Statement of Sal Martinez (Nov. 27, 1987)).

448 Id. at 2.

449 Id.

450 Id. at 23.

451 Id. at 3.

452 Ex. 93 (Third Statement of Sal Martinez (Nov. 27, 1987)).

453 Id. at 1.

454 Id.




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          4.    The Fourth Statement

          On November 28, 1987, shortly after midnight, Martinez gave his fourth state-

ment to the police. 455 Martinez identified a photograph of Ruby Montoya, a woman

he met in El Paso and became friends with. 456 Martinez said that he met Dawn Smith

through Ruby, because Smith was living with Ruby.457 Martinez claimed he had

taken David Wood to Ruby’s house one time. 458 When the police asked whether Mar-

tinez had introduced Dawn Smith to David Wood, Martinez replied, “Apparently, I

did, I don’t recall?” 459 Martinez did not know whether David Wood saw Dawn Smith

at any other time or dated her. 460 Martinez denied that he and David Wood ever went

riding with or met up with Dawn Smith together. 461 Martinez did recall seeing Smith

at bars and nightclubs in El Paso. 462

          5.    The Fifth Statement

          On November 29, 1987, Det. Guerrero and Det. Giron of the Task Force ob-

tained a fifth statement from Sal Martinez after he arrived in El Paso from Salt Lake

City. 463 Despite previously telling the police he did not know Karen Baker, he now




455 Ex. 94 (Fourth Statement of Sal Martinez (Nov. 28, 1987)).

456 Id. at 2.

457 Id. at 3.

458 Id.

459 Id.

460 Id.

461 Id.

462 Id. at 4.

463 Ex. 95 (Fifth Statement of Sal Martinez (Nov. 29, 1987)).




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recalled seeing her. 464 Martinez said that he and David Wood had picked up Baker

from the Hawaiian Royale Motel, taken her for a “cruise,” and then returned to the

motel.465 Martinez also told the detectives that he recalled seeing Rosa Maria Casio

working at the Cabaret the night he visited the bar with David Wood. 466 Finally,

Martinez said that he and Dawn Smith became “pretty good friends,” and that he had

seen her several times. 467

         6.      The Failed Polygraph Examination

         On December 2, 1987, Martinez voluntarily submitted to a polygraph exami-

nation. The Task Force detectives wanted to determine whether Martinez was telling

the truth when he repeatedly denied knowing anything about the desert deaths. 468

The polygraph examiner asked Martinez the following questions:

         1. Did you personally take part in any of the disappearances of the
            young women who were found buried in North-East El Paso?

         2. Did you personally participate in any of the murders of the young
            women who were found in North-East El Paso?

         3. Were you present when any of the young women were killed in
            North-East El Paso?

         4. Have you purposely withheld information about the young women
            who were found buried in North-East El Paso?

         5. Do you have any personal knowledge of the disappearances of any of
            the young women who were found buried in North-East El Paso? 469

464 Id. at 4.

465 Id. at 11.

466 Id. at 5.

467 Id. at 16

468 Ex. 96 at 1 (Polygraph Examination of Sal Martinez (Dec. 2, 1987)).

469 Id. at 2.




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The polygraph examiner concluded:

          In the polygraph recordings there were significant emotional disturb-
          ances which are usually indicative of deception when Mr. Martinez an-
          swered “No” to questions 1, 2, 3, 4, 5. 470

          7.    Taking Biological Samples and Fingerprints

          On December 10, 1987, Martinez went to Sierra Medical Hospital in El Paso,

and consented to medical personnel obtaining biological samples from him, which in-

cluded the taking of plucked and cut head hair, plucked and cut pubic hair, saliva,

and blood. 471 The following day, Martinez went to the Task Force office and had his

fingerprints taken. 472

          The State never attempted to create a DNA profile of Sal Martinez from these

biological samples. The State still maintains possession of Martinez’s biological sam-

ples, but opposed David Wood’s 2015 motion to create a DNA profile of Martinez and

compare it to the partial male DNA profile found on Dawn Smith’s sunsuit.

          8.    The Declaration of Ruby Montoya

          When Dawn Smith told Ruby Montoya that she had been kicked out of her

parents’ house, Montoya let Smith stay at her apartment.473 In exchange, Smith

agreed to watch Montoya’s three small children while Montoya was working and go-

ing to school.474 Montoya met Sal Martinez through David Wood, when they came



470 Id.

471 Ex. 97 at 1 (Supplementary Police Report (Dec. 17, 1987)).

472 Id. at 2.

473 Ex. 98 at 1 (Declaration of Ruby Montoya (Jan. 29, 2025)).

474 Id.




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into the bar where she was working. 475 One time, Martinez snuck up behind Montoya,

wrapped his arm around her neck and said, “Do you know how easy it would be for

me to snap your neck in two right now?” 476 She spent the rest of the night watching

her back and keeping away from him.477 When Task Force detectives began question-

ing Montoya about David Wood and the disappearance of Dawn Smith, Montoya told

the detectives that they should be investigating Martinez instead. 478 The detectives

were uninterested. 479 They accused Montoya of concealing incriminating information

and trying to protect David Wood.480

    M.          The State conducted minimal investigation of other alternative
                suspects.

          The State disclosed to David Wood’s counsel information related to alternative

suspects Edward Dean Barton and James Bradley. However, the State conducted

only a minimal investigation of these suspects.

          1.      Edward Dean Barton

          In July 1991, the prosecution disclosed Brady information related to Edward

Dean Barton, who had “claimed to have killed four women in the El Paso, Texas, area

between May and December of 1987.” 481 At a pretrial hearing in David Wood’s capital

murder case, the prosecution conceded that the Task Force may have received the


475 Id.

476 Id.

477 Id.

478 Id. at 2.

479 Id.

480 Id.

481 Ex. 99 at 16 (Edward Dean Barton Documents).




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report from the FBI as early as March 1989. 482 The court ordered the State to deter-

mine if any of the Task Force detectives had conducted an investigation related to the

contents of the Barton report. 483 In a later hearing related to the Barton report, the

defense questioned ADA Shook, who confirmed that the Task Force did not follow up

on the information they had received from the FBI.484 Not until little more than four

months remained before the capital murder trial began did the State conduct any

investigation related to Barton. 485

         2.       James Patrick Bradley

         On January 14, 2025, less than two months before David Wood’s scheduled

execution, undersigned counsel received exculpatory information from the Attorney

General’s Office. 486 Michelle Bradley claimed that her father, James Patrick Bradley,

was “responsible or had something to do with the desert murders.” 487 She explained

that said she was coming forward now “because [she] saw on the internet that David

Wood was going to be executed and [she] figured [she] should say something.”488

    N.          Task Force Detectives engaged in serious misconduct during their
                desert murders investigation.

         During their investigation, members of the Desert Murders Task Force

coached witnesses, suppressed exculpatory evidence, pressured witnesses to


482 15.RR.36869; see Ex. 99 at 4, 9, 12 (Edward Dean Barton Documents).

483 15.RR.385.

484 17.RR.41112.

485 Ex. 99 at 18 (Edward Dean Barton Documents).

486 Ex. 100 at 1 (James Bradley Documents).

487 Id. at 4.

488 Id. at 8.




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incriminate David Wood or change their statements, and tampered with and de-

stroyed probative evidence.

        1.      Coaching the jailhouse snitches

        Task Force detectives brought James Carl Sweeney, Randy Wells, and George

Hall to the CAP office from the jail and handed them their files on the desert murders

investigation. 489

        2.      Suppressing exculpatory evidence

        Task Force detectives suppressed the Tactical Unit memos that showed David

Wood was under surveillance on the days when Angelica Frausto and Rosa Maria

Casio disappeared. 490 Task Force detectives also suppressed the audiotaped interview

of Judith Brown Kelling that Det. Guerrero conducted on November 16, 1987. 491 Fi-

nally, Task Force detectives suppressed the polygraph examination results and the

taking of biological samples and fingerprints from alternative suspect Sal Mar-

tinez. 492

        3.      Pressuring and threatening witnesses

                a.       Judith Brown Kelling and Carmen Brown

        Task Force detectives had considerable leverage over Judith Brown Kelling

and her sister, Carmen Brown. 493 Both Kelling and Brown were engaged in illegal



489 See Part III-B, supra (“The jailhouse snitches, Randy Wells and James Carl Sweeney, fabricated

their testimony against David Wood.”).
490 Ex. 44 at 1 (Declaration of Dolph Quijano, Jr. (Feb. 12, 2025)); see Part III-G, supra (“David Wood

was under police surveillance when two of the murder victims disappeared.”).
491 Ex. 44 at 3 (Declaration of Dolph Quijano, Jr. (Feb. 12, 2025)); see Part III-J(6)(d), supra.

492 Ex. 44 at 6 (Declaration of Dolph Quijano, Jr. (Feb. 12, 2025)); see Part III-L, supra.

493 See Part III-J, supra.




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activity daily as sex workers, had extensive criminal records, and were addicted to

heroin. 494 The police held possible charges of delivery of heroin over their heads for

months, stemming from sales to an undercover narcotics officer in October 1986. They

were not arrested until May 1987, and both were placed on lengthy terms of proba-

tion. Revocation loomed as a distinct, daily possibility for both Kelling and Brown.

When the Task Force needed their help to make a case against David Wood, they had

little choice but to cooperate or face revocation and a prison term. Both received deals

for their assistance.

                b.     Ramona Dismukes

          Task Force Det. Guerrero and Det. Marquez told Ramona Dismukes that she

needed to provide an incriminating statement against David Wood. 495 They wanted

her to say that David Wood had tried to coax her into his pickup truck the night they

first met at the Circle K, but that he had abandoned his plan when Ramona Dis-

mukes’s mother showed up. 496 Dismukes refused to make such a statement. 497 The

detectives then drove her out to the desert where the victims’ bodies were found. 498

The detectives had her get out of the car, “pointed to the ground, and told [her] it




494 Kelling served as a confidential informant for Det. Guerrero. Ex. 64 at 2 (Declaration of Richard

Jewkes (Oct. 31, 2024)).
495 Ex. 62 at 12 (Declaration of Ramona Dismukes (Jan. 24, 2025)).

496 Id.

497 Id. at 2.

498 Id.




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could have been [her] in a grave.” 499 Dismukes felt threatened by Guerrero and

Marquez, but she refused to sign a false statement. 500

                 c.      Ruby Montoya

          Ruby Montoya agreed to let Dawn Smith live in her apartment and, in ex-

change, Smith babysat Montoya’s three small children while she was at work or

school. 501 After Smith disappeared, two detectives began “harassing [Montoya] for in-

formation about David Wood.” 502 They accused her of protecting David Wood and re-

fusing to divulge incriminating evidence. 503 They brought her to the police station

several times and would show up at her apartment frequently. 504 Montoya gave them

a couple of statements, but they continued to harass her. 505 The detectives made Mon-

toya look at photographs of Dawn Smith’s decomposed body, as well as photographs

of the bodies of the other victims. 506

                 d.      Veronica Gatzka

          Det. Marquez convinced Veronica Gatzka to change her initial statement about

the last time she saw Ivy Williams. 507 Gatzka’s first statement did not line up with

the Task Force’s narrative that Ivy Williams was last seen with David Wood in late



499 Id.

500 Id.

501 Ex. 98 at 1 (Declaration of Ruby Montoya (Jan. 29, 2025)).

502 Id. at 2.

503 Id.

504 Id.

505 Id.

506 Id.

507 See Part III-I(2), supra.




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May 1987. Gatzka had seen Williams several months after that date, in September

or October of 1987.

                  e.   Debbie Galvan

       At the trial, Debbie Galvan, David Wood’s sister, testified that Task Force Det.

Tony Tabullo “got in [her] face” and said, “We are going to get a conviction and your

brother is going to die by lethal injection and you may as well get used to the idea.”508

Outside the presence of the jury, Galvan recounted a separate incident involving Det.

Tabullo and Det. Marquez:

       Detective Marquez came to my place of employment, which was Wal-
       Mart on Oyer street in El Paso, Texas, on three separate occasions. . . .
       And Mr. Tabullo was there on one occasion with Mr. Marquez and he
       stood at the front door, like I said, he’s a big man and he stood there like
       he was guarding the front door. And after Mr. Marquez and Mr. Tabullo
       left, a lot of my fellow associates, as well as my manager, they came
       down on me pretty hard about it. They wanted to know who he was and
       why he was standing there like that. 509

       4.         Suspicious behavior surrounding the collection of the fiber evi-
                  dence

       The suspicious circumstances in which the police recovered orange fibers from

the Desiree Wheatley crime scene and an item allegedly associated with David Wood

undermine the inculpatory value of the fiber comparison evidence.

       Det. Marquez twice falsely testified that he returned to the scene the day after

discovering Wheatley’s body to sift the sand. 510 He eventually conceded that he may

not have returned to the crime scene for another nine days, during which time the


508 66.RR.7227.

509 66.RR.722425.

510 58.RR.571923.




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scene was left unprotected. 511 Three days after the discovery of Desiree Wheatley’s

bodybut six days before officers returned to the crime scene for sand siftingDavid

Wood was arrested. 512 His pickup truck was impounded and Task Force Det. John

Guerrero obtained a search warrant for the truck. 513 Det. Guerrero listed the eviden-

tiary items he believed would be found in the truck: “clothing belonging to Judith

Brown [Kelling], cigarette butts, fingerprints, ligatures, and knife belonging to David

Wood.” 514

          On October 23, 1987, the police searched the pickup truck, and Det. Guerrero

filed a return and inventory of the items he discovered from the search of the truck,

which included: “Three plastic baggies with vacuumed samples from 1986 Nissan.” 515

          On October 29, 1987, police returning to the crime scene discovered large

amounts of fibers while sifting the sand. 516 The State’s fiber expert expressed surprise

at the number of fibers found at the Wheatley site. In his testimony, he twice noted

that, in all the cases he had worked in his fifteen years at DPS, “this was a lot of fibers

to recover” from a crime scene. 517 The presence of large numbers of fibers at the

Wheatley crime scene raises additional suspicion, considering that her body remained

in the desertexposed to the elementsfor nearly five months before it was


511 58.RR.5723.

512 3.JBKRR.195.

513 3.JBKRR.19697.

514 State’s Suppression Ex. 5 at 1 (Affidavit for Search Warrant and Return & Inventory (Oct. 23, 28,

1987)).
515 Id. at 3 (emphasis added).

516 58.RR.572122, 5750.

517 63.RR.6758; see 63.RR.6760.




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discovered. Moreover, the failure of the police to find orange fibers at any of the other

crime scenes is notable. According to the State’s theory of the case, David Wood’s mo-

dus operandi included his use of a burnt orange acrylic blanket that he kept in his

pickup truck and used during the sexual assault of his victims. 518 Yet the police did

not uncover fibers at any of the other five crime scenes, despite the use of sand sift-

ers. 519 Nor did the police ever recover the blanket that David Wood supposedly always

kept in his truck.

       The defense later successfully suppressed the items recovered from David

Wood’s pickup truck. 520 But by that time, Det. Guerrero had found another source of

fibers allegedly associated with David Wood. Nearly three months after the discovery

of Desiree Wheatley’s body, Det. Guerrero retrieved a vacuum cleaner bag from Joey

Blaich’s former landlady, Joyce Armstrong. 521

       The vacuum cleaner is a suspect source for the fibers from the blanket for sev-

eral reasons. First, Det. Guerrero found the vacuum cleaner in Armstrong’s garage,

not the apartment where Blaich and David Wood lived. 522 Second, the vacuum cleaner

was an upright model, 523 making it an unwieldy, if not impossible, means of vacuum-

ing the cab of a pickup truck. Third, Armstrong testified that the vacuum cleaner did




518 69.RR.7445.

519 See, e.g., 58.RR.566465 (sifting at Dawn Smith crime scene found nothing).

520 CR.153. The State appealed the trial court’s suppression of the evidence, and the Eighth Court of

Appeals upheld the trial court’s decision. State v. Wood, 828 S.W.2d 471 (Tex. App.El Paso 1992).
521 63.RR.6653; 63.RR.6666.

522 63.RR.6654.

523 63.RR.6660, 666869.




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not work when she tried to use it to clean the apartment after Blaich moved out. 524

Fourth, Det. Guerrero did not seize the vacuum cleaner itself, but claimed that he

removed the vacuum cleaner bag from it. 525 Fifth, Det. Guerrero did not immediately

place the vacuum cleaner bag in the property office when he returned to the police

station. 526 Sixth, close examination of the State’s Ex. 252 reveals that the vacuum

cleaner bag is flattened and empty. The supposed contents of the vacuum cleaner bag

have been emptied into the same clear evidence bag that contains the vacuum cleaner

bag. Without the vacuum cleaner itself in evidence, it is impossible to know whether

the vacuum cleaner bag is compatible with the vacuum cleaner. Moreover, it is im-

possible to determine whether the debris in the larger clear evidence bag originated

from the flattened vacuum cleaner bag.




524 63.RR.6674.

525 63.RR.665556.

526 63.RR.6660.




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                                State’s Ex. 252.



       5.      Scrubbing and bleaching the bones

       The State retained a physical anthropologist, Dr. Harold Gill-King, to examine

Ivy Williams’s skeletonized remains. 527 Dr. Gill-King concluded that Williams’s body

had been in the desert less than a year between death and exhumation. 528 Dr. Gill-

King explained that the post-mortem interval—that is, the interval between time of

death and exhumation—could be determined based on “the condition of the remains,

how much soft tissue is remaining, whether any insect materials are there, the degree




527 60.RR.6072, 607778.

528 60.RR.607980.




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to which the materials are scavenged, the aroma of the materials.”529 However, he

criticized the police processing of the skeletonized remains with bleach because it had

destroyed evidence critical to his analysis:

        Medicolegal authorities in El Paso removed the remaining tissues in a
        solution of chlorox [?], and scrubbed them with an [abrasive] pad. This
        accounts for the extremely clean condition of the materials and the blue-
        green stains (probably due to chemical interaction between the chloride
        with which the bone was cleaned and the copper metal in the abrasive
        used to scrub it), but compounds the difficult problem of determining
        time since death. This treatment has also eliminated markings by scav-
        engers, possible small toolmarks (e.g., knife), and useful insect and plant
        evidence that might indicate season of death. 530

This “curious processing” of the remains, as Dr. Gill-King put it,

affected his ability to draw conclusions about the length of the post-mortem interval:

        If the materials had not been processed in that way, we might have been
        able to give a tighter estimate than that. . . . We might have been a little
        bit more specific if we had had insect evidence or soil characteristics or
        rootlets that might have grown into the material, we might have been a
        little bit more definitive about our estimate of the time since death. 531

At the end of his official report, Dr. Gill-King reiterated that the police processing of

the remains had destroyed valuable evidence:

        [I]t cannot be overemphasized that important features which would be
        useful in certifying time since death and cause of the damage noted has
        been lost lost [sic] as a result of the manner in which the skeleton was
        processed after exhumation. 532




529 60.RR.6079.

530 State’s Ex. 233 at 1 (Report of Dr. Gill-King) (quotation marks omitted).




531 60.RR.609293.

532 State’s Ex. 233 at 3 (emphasis in original).




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       Because no one had reported Ivy Williams missing, the Task Force detectives

were unsure when she had disappeared. 533 In reconstructing her movements and ac-

tivities before she was last seen, the Task Force eventually decided that Jennifer Pre-

fontain had been the last person to see Williams, in late May 1987. Prefontain testi-

fied that she had seen Williams leave the King’s X Bar with David Wood around Me-

morial Day. 534 The improper processing of the remains of Ivy Williams deprived Dr.

Gill-King from giving a “tighter estimate” of the post-mortem interval. A tighter post-

mortem interval of “less than a year” may have contradicted the evidence that Ivy

Williams died in late May 1987, and would have supported the statements of wit-

nesses who claimed to have seen Ivy Williams after that datebut not in the company

of David Wood.

       6.         Destroying the Baker crime scene evidence

       Det. Guerrero attended the autopsy of Karen Baker the day after her body was

discovered in the desert. 535 Several pieces of clothing were removed from her body

during the autopsy, including a pair of red pants, a red blouse, a Levi jacket, and a

bra. 536 Det. Guerrero left the clothing items at the morgue instead of taking them to

the police station. 537 The clothing was sent along with the body for cremation; the

clothing was destroyed. 538


533 Ex. 53 at 12 (Police Presentation Supplement (June 17, 1988)).

534 60.RR.617072, 6183.

535 57.RR.5602.

536 57.RR.560204.

537 57.RR.5604.

538 57.RR.6604.




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    O.         The El Paso Police Department conspired to keep harmful infor-
               mation about a Task Force detective from coming to light, thwart-
               ing David Wood’s change of venue motion in the sexual assault
               trial.

          The State failed to inform the court and defense counsel about an Internal Af-

fairs investigation of Task Force Det. Al Marquez for falsifying official records.

EPPD’s cover-up of the investigation rendered Lt. Paul Saucedo’s testimony at a

change of venue hearing for the sexual assault trial no longer accurate before the

court issued its final ruling on the motion.

          1.     The Falsification of Records

          On November 27, 1987, Detective Marquez and Officer Ben Ayala, members of

the Desert Murders Task Force, flew to Salt Lake City, Utah, to interview Sal Mar-

tinez, a potential witness and alternative suspect. 539 Marquez and Ayala shared a

hotel room costing a total of $49.61. 540 When they submitted their receipts for reim-

bursement, Marquez falsely told Captain Aguilar that they had each paid $49.61. 541

Marquez and Ayala signed a reconciliation sheet itemizing the falsified expenses. 542

The Budget and Finance Officer then telephoned the hotel, discovered the fraudulent

behavior, and requested an investigation. 543

          Lt. Paul Saucedo and Sgt. Ramiro Gomez were Det. Marquez and Officer

Ayala’s supervisors. They were upset that the officers’ lies might undermine their



539 Ex. 101 at 14 (Det. Al Marquez, Internal Affairs Incident Report).

540 Id.

541 Id.

542 Id.

543 Id.




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credibility as witnesses for the prosecution in the Northeast Desert Murders case. 544

As Sgt. Gomez explained:

          The Desert Death Investigation, of which I have been repeatedly re-
          minded is the biggest investigation that has hit El Paso, and of which I
          directly oversee, at this point was and is my biggest concern. Knowing
          what I had learned [about Det. Marquez and Officer Ayala’s misappro-
          priation], weighed heavy on my mind. I could not continue the investi-
          gation without knowing if the two officers involved could be further
          trusted to carry out their assigned duties, I felt I had to know what ac-
          tually happened on the Salt Lake City trip. 545

          Lt. Saucedo contacted First Assistant District Attorney Richard Jewkes and

asked about the legal consequences of the falsified reports. 546 Jewkes confirmed that

the officers’ credibility could be in jeopardy. 547 Lt. Saucedo also tried to keep Internal

Affairs away from the investigation. 548 He approached Captain Aguilar on several

occasions and asked that the matter be reviewed in-house, without involving Internal

Affairs. 549 Lt. Saucedo was concerned that an Internal Affairs investigation could

negatively affect the Task Force’s ongoing desert murders investigation. 550

          When Captain Aguilar decided to go forward with an Internal Affairs investi-

gation, Sgt. Gomez disobeyed a direct order and confronted Det. Marquez and Officer




544 Id. at 6.

545 Id. at 25.

546 Id. at 7.

547 Id.

548 Id.

549 Id.

550 Id.




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Ayala directly. 551 Sgt. Gomez said the importance of the desert murders investigation

required him to act:

          I had to have trust in my Officers, I did not want to jeopardize the
          [Northeast Desert] Murders Case and I had already had plenty of head-
          aches and explanations on a previous trip made by Dets. Guerrero and
          Giron. 552

          Despite Sgt. Gomez’s and Lt. Saucedo’s efforts, Internal Affairs became in-

volved. Internal Affairs investigators interviewed Officer Ayala and obtained a thor-

ough explanation of the expenditures. 553 Ayala ran through a list of meals and other

expenses incurred during the trip, which included additional expenditures of “drinks

and cigarettes” for Sal Martinez. 554

          While Officer Ayala directly admitted to wrongdoing, Det. Marquez changed

his story several times during the investigation. Upon seeing the expense report, Cap-

tain Aguilar suspected irregularities and called Marquez. 555 Det. Marquez told Cap-

tain Aguilar, “We stayed in one room, but we paid for two. I even asked the clerk, if

we stay in one room, do we still have to pay for both, and she said yes.” 556 Captain

Aguilar reported:

          I gave Detective Marquez an opportunity to rectify the situation when I
          called him over the phone, but he deliberately lied to me. He was given




551 Id. at 21.

552 Id. at 25. David Wood has not received any information from the State about the “previous trip” by

Det. Guerrero and Det. Giron.
553 Id. at 27.

554 Id. at 28.

555 Id. at 22.

556 Id.




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          a second opportunity when he and Ayala were asked to sign the travel
          memo breakdown showing that each had paid $45.00 for motel.557

Shortly afterwards, EPPD discovered Det. Marquez was lying. Internal Affairs inves-

tigators twice interviewed him. 558 In the first interview, Marquez admitted that he

made an “error” in reporting expenses. 559 In the second interview, Marquez was asked

directly about his conversation with Captain Aguilar. 560 Det. Marquez denied telling

Captain Aguilar that he had been charged for two hotel rooms. 561 Instead, he claimed

that hotel expenditures were never discussed and that Captain Aguilar had ques-

tioned him only about “overeating.” 562

          Lt. Saucedo recommended lenient, one-day suspensions for Det. Marquez and

Officer Ayala. 563 However, Captain Aguilar pushed for harsher punishment and rec-

ommended a five-day suspension for Ayala and a ten-day suspension for Marquez. 564

EPPD gave both Det. Marquez and Officer Ayala 15-day suspensions. 565

          Det. Marquez and Officer Ayala challenged the suspensions and brought their

grievances to arbitration. 566 The parties agreed that Marquez and Ayala had commit-

ted willful misrepresentation and continued that misrepresentation even after


557 Id.

558 Id. at 36, 37.

559 Id. at 30.

560 Id. at 34.

561 Id.

562 Id.

563 Id. at 21.

564 Id. at 22.

565 Id. at 1.

566 Id. at 13.




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Captain Aguilar afforded them the opportunity to provide an honest explanation.567

Det. Marquez and Officer Ayala challenged the penalty only for being excessive and

inconsistent with notions of progressive discipline.568 The arbitrator lowered the pen-

alty to a three-day suspension because of its excessiveness. 569

          2.     The Cover-up

          On January 17, 1988, at a pretrial hearing, the State called Lt. Saucedo to

contest David Wood’s motion to change the venue of the sexual assault trial. David

Wood had specifically alleged in his motion that:

          There is a dangerous combination against the Defendant, David Wood,
          instigated by influential persons, specifically by the officers in the
          Crimes Against Persons Division of the El Paso Police Department to
          the extent that the Defendant, David Wood, cannot expect a fair trial. 570

Lt. Saucedo denied that any dangerous combination or conspiracy existed against

David Wood at CAP. 571 Lt. Saucedo also testified that there had been no “concerted

effort” to prevent David Wood from getting a fair trial. 572 The trial court held in abey-

ance ruling on the motion for change of venue pending jury selection. 573




567 Id. at 16.

568 Id.

569 Id. at 17.

570 JBKCR.41 (Motion for Change of Venue (Jan. 11, 1988)).

571 3.JBKRR.9596.

572 3.JBKRR.97. ADA Jewkes objected to the question whether David Wood was the only suspect in

the desert murders investigation. In support of his objection, Jewkes argued: “[W]e haven’t heard any
testimony from anybody on the defense, least of all the defendant, concerning this so-called dangerous
combination by influential persons.” 3.JBKRR.100–01.
573 3.JBKRR.110–11.




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       Defense counsel filed an Amended Motion for Change of Venue on February 9,

1988, 574 and re-urged the motion on March 14, 1988, the eve of trial.575 The trial court

again deferred ruling on the motion until completing voir dire. 576

       In the middle of Judith Brown Kelling’s testimony on the first day of trial,

March 15, 1988, the afternoon edition of the El Paso Herald-Post ran the headline:

“6th Body Found in Desert.” 577 Defense counsel, once again, renewed his motion for

change of venue. 578 The court, in effect, denied the motion, stating that it was “under

consideration.” 579 Instead, the court, on its own motion, ordered the jury to be seques-

tered. 580

       By that time, of course, Lt. Saucedo knew about the investigation into Det.

Marquez’s falsification of official records. And Lt. Saucedo knew his earlier testimony

at the January 17 hearing was no longer accurate. ADA Jewkes knew that as well.

But, instead of notifying the court or defense counsel and amending the record, Lt.

Saucedo and ADA Jewkes remained silent. They did not inform the court of unequiv-

ocal evidence of a dangerous combination of influential personsfrom direct super-

visors in CAP all the way up to the Assistant Chief of Policeagainst David Wood

that deprived him of a fair trial.



574 JBKCR.5459.

575 6.JBKRR.1–2.

576 6.JBKRR.6.

577 Def. Ex. 11; 8.JBKRR.101.

578 8.JBKRR.100.

579 8.JBKRR.100.

580 8.JBKRR.99, 102.




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   P.        State’s witness Patricia von Maluski, who testified that she saw Ka-
             ren Baker with David Wood, was mentally incompetent to testify.

        Patricia von Maluski testified that she saw David Wood at a Chinese restau-

rant with Karen Baker on May 23, 1987, two weeks before Baker disappeared. 581 The

restaurant was next to the Hawaiian Royale Motel, where Baker lived. 582 Von Ma-

luski had previously told Baker that she was concerned about her tendency to go out

with dangerous men. 583

        Von Maluski’s testimony was erratic and rambling, and she was hostile, unre-

sponsive, and uncontrollable on cross-examination, despite the efforts of defense

counsel and the court. 584 At one point during her cross-examination, von Maluski

suddenly addressed David Wood directly and asked him to stand up and turn

around. 585 An in-chambers discussion the following day raised serious concerns about

von Maluski’s competency. Facts discovered after trial revealed that her son had re-

ported her missing during the same period she allegedly saw David Wood with Karen

Baker. In addition, her children said she suffered from mental illness.

        1.        The In-Chambers Hearing

        The court held an in-chambers hearing the morning after von Maluski testi-

fied. 586 ADA Karen Shook informed the judge and defense counsel that von Maluski




581 61.RR.619697.

582 61.RR.6196.

583 61.RR.6197, 6200.

584 61.RR.6204, 6207, 621011, 6217.

585 61.RR.6210. Von Maluski also refused to speak with defense counsel before trial. 61.RR.6201.

586 62.RR.643139.




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had called an investigator in the DA’s Office to tell the investigator that she had lied

during her testimony. 587 She also insisted that she had spoken with ADA Shook ear-

lier when she had not. 588 And von Maluski was convinced that Shook had conducted

her direct examination, while ADA Morgan “sat in court like a bump on a log.” 589

       Von Maluski said that she testified falsely when she denied seeing David Wood

with any of the other desert murder victims. 590 Von Maluski told the investigator that

she saw David Wood with another victim, Rosa Maria Casio, at a Chinese restaurant

in the middle of August 1987.591 According to ADA Shook, von Maluski accused the

State of “telling her to lie under oath about having seen one of the other girls.”592

       ADA Shook told the court that von Maluski appeared to be “exhibit[ing] some

confusion” because she insisted that she had previously spoken with Shook, but

Shook maintained that she had not spoken to von Maluski. 593 Moreover, ADA Shook

mentioned that von Maluski had never included this information in her police state-

ment. 594 “She has been tremendously inconsistent,” is “intensely angry,” and has been

“extremely hostile,” Shook said. 595




587 62.RR.6431.

588 62.RR.643132.

589 62.RR.6438. ADA Morgan conducted the direct examination of von Maluski. 61.RR.6195.

590 62.RR.6431.

591 62.RR.6431.

592 62.RR.6432.

593 62.RR.643132, 6438.

594 62.RR.6432.

595 62.RR.6432, 6437.




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       Defense counsel added that von Maluski is “obviously unstable,” and asked the

court to instruct the jury to disregard her testimony. 596 The court denied the motion

to strike her testimony and, instead, offered the parties an opportunity to recall von

Maluski to the witness stand. 597 Neither the prosecution nor the defense wanted her

back on the stand. 598 Defense counsel re-urged the motion at the close of the State’s

evidence, and the court again denied it.599

       Despite conceding in chambers that von Maluski was confused, angry, and er-

ratic, and had never previously told the police that she had seen David Wood at a

Chinese restaurant with a different victim, the prosecution twice brought up her tes-

timony in closing argument:

       Then we have the testimony of the school teacher, Ms. Von Maluski. She
       cared about Ms. Baker. She felt that Ms. Baker had made some poor
       choices in life. That she tended to pick up men, bikers, like Mr. Wood.
       And she saw Karen with her children and David Leonard Wood in the
       Chinese restaurant just a little ways down the street from Hawaiian
       Royale on May 23rd of 1987.
                                         ....
       Karen Baker liked to date. She knew David Wood. We know that from
       the evidence that she was seen with Mr. Wood having dinner at a res-
       taurant a couple of weeks prior to June 5th of 1987. 600




596 62.RR.643334.

597 62.RR.643435.

598 62.RR.643638. Despite having no other evidence of a direct link between David Wood and Rosa

Maria Casio, the State declined the opportunity to put von Maluski back on the stand.
599 65.RR.709596. In response to the defense’s re-urging the motion to strike, the court found that

there was no evidence that von Maluski was “mentally unstable.” 65.RR.7096. On direct appeal, this
Court held that the record supported the trial court’s finding that von Maluski was not incompetent.
Ex. 5 at 1415 (Wood v. Texas, No. 71,594 (Dec. 13, 1995)).
600 69.RR.7451, 7548.




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         2.       The Missing Person’s Police Report

         On May 16, 1987, at about ten o’clock at night, Patricia von Maluski’s adult

son, Tracy von Maluski, contacted the police to report that he had not seen or heard

from his 56-year-old mother for the past three days and that this behavior was unlike

his mother. 601 On May 24, eleven days after Patricia von Maluski went missing, Tracy

contacted the police to inform them that he had located his mother. 602 Within the

time frame she was reported missing, Patricia von Maluski claimed that she had seen

Karen Baker with David Wood at the Chinese restaurant: May 23, 1987. 603

         3.       Patricia von Maluski exhibited signs of mental illness years be-
                  fore the trial.

         Patricia von Maluski was diagnosed with bipolar disorder in 1996, but she had

exhibited symptoms of the disorder well before then. 604 Bipolar disorder, formerly

known as “manic depression,” is a mental health condition that causes extreme mood

swings between emotional highs (mania or hypomania) and lows (depression). 605 Dur-

ing a manic episode, an individual may engage in multiple overlapping new projects,

“often initiated with little knowledge of the topic.” 606 An inflated sense of self-esteem

is typically evident, which can range from uncritical self-confidence to grandiosity,




601 Ex. 102 at 1 (Patricia von Maluski, Missing Person’s Report).

602 Id. at 3.

603 61.RR.619697.

604 Ex. 103 (Declaration of Tracy von Maluski (Jan. 27, 2025)).

605 See generally American Psychiatric Ass’n, Diagnostic and Statistical Manual of Mental Disorders

(5th ed. 2022 text rev.) 13959.
606 Id. at 144.




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and can even become delusional. 607 In some cases, mania may cause psychosisa

break from reality.608

          Patricia von Maluski’s son Tracy said that, throughout his childhood, he no-

ticed his mother’s mood swings and general irritability. 609 Moreover, after his parents

got divorced, Tracy said that his mother lost custody of the children, due to her “er-

ratic behavior” in court. 610 Tracy’s older brother, Larry von Maluski, was estranged

from his mother for the last twenty years of her life, because of her mental health

issues. 611 He said his mother was delusional. 612 Larry von Maluski would not believe

his mother if she said him she saw someone, because she had told him in the past

that “she spoke to Ronald Reagan, Gorbachev, and Clinton.” 613

    Q.          Task Force Detectives have been reprimanded for professional and
                personal misconduct.

          Detectives on the Desert Murders Task Force demonstrated a pattern of mis-

conduct in other cases, including coercing confessions that led to wrongful convic-

tions. Their behavior raises questions not only about their credibility, but also the

integrity of their investigation into the desert murders.




607 Id.

608 Id. at 149.

609 Ex. 103 (Declaration of Tracy von Maluski (Jan. 27, 2025)).

610 Id.

611 Ex. 104 at 1 (Declaration of Larry von Maluski (Feb. 5, 2025)).

612 Id. at 2.

613 Id. at 1.




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          1.    The Wrongful Conviction of Daniel Villegas

          Since David Wood’s conviction, Det. Al Marquez has been found to have vio-

lated a suspect’s constitutional rights that resulted in a wrongful conviction. In 1993,

Det. Marquez was involved in the arrest, interrogation, and conviction of sixteen-

year-old Daniel Villegas. Nearly twenty years later, this Court vacated Villegas’s con-

viction based on ineffective assistance of counsel and ordered a new trial.614

          During Daniel Villegas’s first trial in 1994, a series of witnesses established

that Det. Marquez had exhibited a pattern of using illegal interrogation tech-

niques. 615 Two El Paso attorneys testified that Marquez has a reputation for untruth-

fulness. 616 And a former First Assistant Chief Felony Prosecutor and Director of the

Organized Crime Unit in El Paso twice presented a perjury indictment to the Grand

Jury against Det. Marquez. 617 Det. Marquez himself testified that he had been the

subject of a number of Internal Affairs investigations and that roughly thirty citizen

complaints had been filed against him. 618

          After holding a hearing to suppress Daniel Villegas’s confession before his

third trial, Judge Sam Medrano found that:

          The core of this case revolved around the confessions presented by the
          State of Texas at trial. Moreover, the focus on the confessions must in-
          volve the actions and the methods employed by the El Paso Police De-
          partment, particularly Detective Al Marquez.


614 Ex parte Villegas, 415 S.W.3d 885 (Tex. Crim. App. 2013).

615 Ex. 105 at 21 (Findings and Conclusions, State v. Villegas, No. 76,187 (Aug. 15, 2012)).

616 Id.

617 Id.

618 Id. at 22. See Nate Blakeslee, How to Get a Teenager to Admit to a Murder He Didn’t Commit, Texas

Monthly (Jan. 7, 2014).



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                                              ....
          This Court finds that the testimony of Detective Marquez at the eviden-
          tiary hearing was not credible. This Court reaches this conclusion based
          on the corroborating evidence presented that supports the claim that
          Detective Marquez had a pattern and practice of using illegal and coer-
          cive interrogation tactics both in this investigation and others. 619

Judge Medrano suppressed Villegas’s confession as involuntary and in violation of

his constitutional right to due process. 620 In suppressing the confession, Judge

Medrano found Villegas credible and concluded that his confession was the constitu-

tionally unreliable product of coercion. 621 The State did not appeal Judge Medrano’s

suppression order. 622

          In 2018, Daniel Villegas was tried a third time, after he rejected an Alford plea

that would have allowed him to remain out of prison. Prosecutors could no longer use

the confession coerced by Det. Marquez. In addition, much of the police investigative

work had been discredited. On October 5, 2018, the jury found Daniel Villegas not

guilty. Daniel Villegas’s name has now been added to the National Registry of Exon-

erations. 623

          2.     The Wrongful Conviction of Agustin Fabio Carreon

          In 1994, Det. Tony Tabullo arrested Agustin Fabio Carreon and elicited a con-

fession from him for the murder of Robert Cobb. 624 Carreon’s confession implicated



619 Ex. 105 at 4243 (Findings and Conclusions, State v. Villegas, No. 76,187 (Aug. 15, 2012)).

620 State v. Villegas, 506 S.W.3d 717, 728, 728 n.2 (Tex. App. El Paso 2016).

621 Id. at 728 n.2.

622 Id.

623 See https://www.law.umich.edu/special/exoneration/Pages/casedetail.aspx?caseid=5389           (last
viewed Feb. 7, 2025).
624 Ex. 106 at 14 (Alejandro Hernandez Documents).




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Alejandro Hernandez. 625 At trial, Carreon was acquitted of the murder, but Hernan-

dez was convicted and sentenced to 99 years in prison. 626 Six years later, Carreon

provided an affidavit stating that his confession had been coerced: Carreon had never

met Hernandez, but Tabullo had promised to free Carreon if he identified Hernan-

dez’s photograph. 627

          In 2002, Hernandez filed a state petition for a writ of habeas corpus alleging

that his defense attorney had provided ineffective assistance. 628 In March 2006, an

El Paso judge recommended that the conviction be vacated. 629 On June 21, 2006, this

Court agreed and vacated Hernandez’s conviction. 630 The prosecution dismissed the

case against him on September 17, 2006. 631 Alejandro Hernandez’s name has now

been added to the National Registry of Exonerations. 632

          3.     Assault at Nightclub

          On July 5, 1986, Scott Jernigan was at the Dallas nightclub, where he worked

as a disc jockey.633 After finishing his shift, Jernigan went outside and saw a woman




625 Id.

626 Id. at 13.

627 Id. at 10.

628 Id. at 13.

629 Id.

630 Ex parte Hernandez, No. AP-75,445 (Tex. Crim. App. June 21, 2006).

631 Ex. 106 at 13 (Alejandro Hernandez Documents).

632 Id. at 1113. See https://www.law.umich.edu/special/exoneration/Pages/casedetail.aspx?ca-
seid=4092 (last viewed Feb. 7, 2025).
633 Ex. 107 at 2 (Det. John Guerrero, Internal Affairs Incident Reports).




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hiding by a trash dumpster. 634 Jernigan asked if she needed help. 635 She accepted his

offer for a ride. 636

          The woman was Det. Guerrero’s girlfriend, Sammye Davis. 637 Guerrero and

Davis had been fighting, and Davis wanted to leave. 638 She got in Jernigan’s car but,

before they could leave, Det. Guerrero approached the car and began pounding on

it. 639 Det. Guerrero opened the car door and punched Jernigan in the face, breaking

his nose. 640

          Jernigan called the police, but was reluctant to make a statement after he

found out that Guerrero was a police officer. 641 Jernigan feared retaliation from Det.

Guerrero. 642

          The day after the assault, Det. Guerrero obtained Jernigan’s home address. 643

Det. Guerrero went to Jernigan’s home to apologize and offer to pay for the damage

to Jernigan’s car. 644




634 Id.

635 Id.

636 Id.

637 Id. at 6.

638 Id.

639 Id.

640 Id.

641 Id. at 3.

642 Id.

643 Id. at 11.

644 Id. at 67, 11.




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          Jernigan took several weeks to decide whether to press charges. 645 EPPD

asked Jernigan to contact the office when he had made a decision, but Jernigan never

called back. 646 As a result of Jernigan’s inaction, the EPPD closed the case twenty-

five days after the assault. 647 Det. Guerrero received a two-day suspension for the

assault. 648

          4.     Off-Duty Car Crash and Leaving Scene of Accident

          Less than four months after the nightclub assault, Det. Guerrero used a city

vehicle without permission after work, caused substantial property damage, and left

the scene of an accident. 649

          On the evening of October 29, 1986, Det. Guerrero left work and went to a bar,

Moriarty’s. 650 He drove an unmarked police vehicle. 651 He was off duty and did not

have permission to drive the vehicle. 652 The bartenders at Moriarty’s served Guerrero

three beers. 653 Guerrero left Moriarty’s and went to a second bar, Joe, John and




645 Id. at 12.

646 Id.

647 Id.

648 Id. at 10.

649 Id. at 21.

650 Id. at 45.

651 Id. at 13.

652 Id. at 46.

653 Id. at 2627.




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Mark’s Club. 654 Det. Guerrero stated that he had half a beer at Joe, John and Mark’s

Club. 655 Finally, Guerrero stopped at his ex-wife’s house. 656

          While Det. Guerrero was driving home from his ex-wife’s house, he claimed a

car pulled up next to him and one of the occupants “flipped him off.” 657 The gesture

angered Det. Guerrero, and he began to chase the other vehicle. 658 Guerrero lost con-

trol of his vehicle, skidded across a street after making a turn at high speed, hopped

the curb, and struck a parked truck. 659 He also struck a rock wall, a mailbox, and

several shrubs. 660

          Det. Guerrero left the scene of the accident in the car.661 Guerrero’s car sus-

tained significant damage: a piece of chrome and some body molding was missing; it

had two flat tires; and the front right tire was missing completely, leaving only the

metal rim. 662 Det. Guerrero drove away on the metal rim. 663 Police officers and by-

standers were able to trace Guerrero’s escape path by following a trail of shrubbery,

damaged property, and gouge marks in the roadway.664 Despite the extensive damage




654 Id. at 24.

655 Id. at 43.

656 Id. at 24.

657 Id. at 2425.

658 Id. at 25.

659 Id.

660 Id. at 14.

661 Id. at 38.

662 Id. at 3031, 38.

663 Id. at 36.

664 Id. at 28, 3132.




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to his vehicle, Det. Guerrero claimed he had fled the scene because he wanted to con-

tinue his hot pursuit of the other car. 665

          Det. Guerrero drove the damaged vehicle for about a mile before stopping at a

Circle K convenience store. 666 Guerrero used the payphone in the Circle K parking

lot to call his girlfriend, Elva Locato. 667 Det. Guerrero told investigators that Locato

had a “wrecker” that could tow the damaged police vehicle. 668 Locato drove to the

Circle K and was at the scene before Sgt. Ellett arrived. 669

          After calling Locato, Det. Guerrero called police dispatch. 670 Guerrero lied to

police dispatch and stated that a “car load of kids pulled a gun on him.”671 As officers

arrived, Det. Guerrero repeated his assertion that one of the occupants of the other

car had a gun. 672 In reality, there was no gun. 673 Det. Guerrero later admitted that

he had lied about the gun in an attempt to “substantiate his story.” 674

          Sgt. Ellett, along with other officers and various witnesses, reported evidence

of Det. Guerrero’s drinking. Guerrero had an odor of alcohol on his breath and watery,

red eyes. 675 The smell of beer was apparent, even though Det. Guerrero had bought


665 Id. at 38.

666 Id. at 49.

667 Id. at 45.

668 Id.

669 Id. at 23.

670 Id. at 48.

671 Id.

672 Id. at 36.

673 Id. at 45.

674 Id.

675 Id. at 24, 33, 34.




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gum at the Circle K. 676 Officers who did not smell alcohol noticed the chewing gum

and the smell of strong cologne. 677 Despite this evidence, Sgt. Ellett concluded that

Det. Guerrero was not intoxicated. 678

          Det. Guerrero received two citations: one for causing an accident, and the sec-

ond for leaving the scene of an accident. 679 Det. Guerrero received a 30-day suspen-

sion. 680 Department Head Joseph Messer concluded that harsh discipline was neces-

sary because the accident occurred so soon after Det. Guerrero assaulted Jernigan at

the nightclub. 681 The Notice of Suspension explained: “This is the second incident in

a six-month period in which you have brought discredit on the department by losing

your temper after having consumed alcoholic beverages.”682

    R.       The State failed to disclose a Crime Stoppers tip about an alterna-
             tive suspect.

          For six and a half years, the State sat on a Crime Stoppers tip about an alter-

native suspect. The tip did not come to David Wood’s attention because the State

eventually fulfilled its Brady obligation. It came to light inadvertently, when under-

signed counsel received over 600 pages of records from the DA’s Office related to the

prosecution of David Wood for the sexual assault of Judith Brown Kelling. Within

those records, counsel found a 2010 Crime Stoppers tip from an anonymous caller


676 Id. at 30.

677 Id. at 36.

678 Id. at 24.

679 Id. at 15.

680 Id. at 16.

681 Id. at 20.

682 Id.




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that a man named Francisco Coto was responsible for the Northeast Desert serial

murders, not David Wood. 683

          The DA’s Office passed the tip along to the Attorney General. However, the

Attorney General never disclosed the tip to undersigned counsel, despite knowing

that David Wood had been trying for years to prove his innocence through forensic

DNA testing. More troubling, David Wood uncovered a series of contemporaneous

email messages from EPPD, the DA’s Office, and the Office of the Attorney General

discussing what to do with the tip and whether it should be disclosed to David

Wood. 684 The tip was never disclosed to undersigned counsel.

          On February 22, 2010, an anonymous caller contacted Crime Stoppers and

identified Francisco Coto as the true perpetrator of the crimes for which David Wood

was on death row. 685 The caller said that Coto was an interstate 18-wheeler truck

driver who would routinely lure women and prostitutes into his truck with the prom-

ise of narcotics. 686 Coto had admitted to the caller that he had killed “a number of

women.” 687 The caller said Coto was a member of the El Salvador Special Forces Unit

and was extremely violent. 688 Coto had a specific hatred of women, the caller said. 689

The caller provided Crime Stoppers with Coto’s cell phone number, his city of



683 Ex. 108 (Francisco Coto Documents).

684 Id. at 317.

685 Id. at 1.

686 Id. at 2.

687 Id.

688 Id.

689 Id.




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residence, the name of his brother, and the license plate numbers of Coto’s van and

18-wheeler. 690

IV.     David Wood’s conviction and sentence violate the Eighth and Four-
        teenth Amendments because he is actually innocent.

        Wood’s conviction and sentence violate the Eighth Amendment prohibition

against cruel and unusual punishment and the Fourteenth Amendment’s Due Pro-

cess Clause because he is actually innocent. Wood acknowledges that the Supreme

Court has previously rejected actual innocence as a basis for federal habeas relief.

Herrera v. Collins, 506 U.S. 390, 393 (1993) (plurality); see also Graves v. Cockrell,

351 F.3d 143, 151 (5th Cir. 2003) (accord). The Supreme Court, however, also as-

sumed that “in a capital case a truly persuasive demonstration of ‘actual innocence’

made after trial would render the execution of a defendant unconstitutional, and war-

rant federal habeas relief if there were no state avenue open to process such a claim.”

Id. at 417; see also House v. Bell, 547 U.S. 518, 554–55 (2006) (Herrera “left open” the

possibility of a freestanding actual innocence claim); Sawyer v. Whitley, 505 U.S. 333,

345–46 (1992) (“A federal district judge confronted with a claim of actual innocence

may with relative ease determine whether a submission . . . consists of credible, non-

cumulative, and admissible evidence negating [an] element of [the offense].”); Graves,

351 F.3d at 151 (Herrera Court “left open whether a truly persuasive actual innocence

claim may establish a constitutional violation sufficient to state a claim for habeas

relief.”). It cautioned that “the threshold showing for such an assumed right would



690 Id. at 1, 2. The DA’s Office redacted the license plates numbers, asserting that they were not subject

to disclosure under the Public Information Act.



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necessarily be extraordinarily high.” Herrera, 506 U.S. at 417. There is potential

merit to Wood’s claim that he can meet that burden.

      As set out in the Statement of Facts, Wood’s actual innocence is supported by

DNA testing which excludes him from male DNA on blood found on Smith’s clothing;

a first-hand account from Hall that the State coached the jailhouse snitches’ testi-

mony; evidence suppressed by the State that Kelling identified Plyler as her attacker;

and new information that the State’s expert testified falsely about the only forensic

evidence allegedly tying Wood to the murders. Based on this evidentiary landscape,

several factors support authorizing Wood’s actual innocence claim. First, it is not

based exclusively on hearsay affidavits and includes an exculpatory DNA result, first-

hand testimony, and evidence suppressed by the State. Cf. Herrera, 506 U.S. at 417.

Second, the DNA testing which yielded the exculpatory result was not previously

available to Wood as it relied on new testing techniques. Cf. id. at 417–18; see Ex. [7].

Likewise, Hall explained in his affidavit that he would not have provided a declara-

tion that the jailhouse snitches’ testimony was coached before 2024 out of fear that

his parole would be revoked. Ex. [8]. Third, no reliable evidence of Wood’s guilt re-

mains. Cf. id. at 418.

      In David Wood’s case, the State’s evidence was entirely circumstantial and ex-

ceedingly weak. The El Paso DA Steve Simmons concluded that the case against Da-

vid Wood was unindictable in late 1989, before the jailhouse snitches came forward.

On direct appeal, this Court reasoned that the weakness of the State’s evidence,




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including the jailhouse snitch testimony, weighed in favor of upholding the trial

court’s decision to permit Judith Brown Kelling to testify under Rule 404(b) to prove

identity.




       1.      The District Attorney’s Review of the Task Force Investigation

       In July 1989, DA Simmons began an unprecedented four-month review of the

desert murders investigation at the request of the Task Force to determine whether

there was sufficient evidence to prosecute David Wood. 691 At the time Simmons




691 Ex. 109 at 1 (DA Simmons letter to EPPD Police Chief Scagno (Nov. 2, 1989)).




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  reviewed the investigative files, the Task Force had developed three of the four evi-

  dentiary components that eventually comprised the State’s case against David Wood:

        1.     Witnesses who last saw the victims.

        2.     Fiber comparison evidence from the Wheatley crime scene and fi-
               bers from items associated with David Wood.

        3.     Judith Brown Kelling’s testimony that David Wood sexually as-
               saulted her.

  The tables below summarize these three components of the State’s case.



                  Component 1: WITNESSES RE: IVY WILLIAMS
         EVIDENCE OF GUILT                     EVIDENCE OF REASONABLE DOUBT
Jennifer Prefountain testified that she saw    Prefountain admitted that the clothes
David Wood and his brother Randy leave         found with Williams’s body were not the
the King’s X Bar with Ivy Williams two or      same clothes she was wearing when Pre-
three days before Memorial Day weekend in      fountain last saw her with David Wood.
1987.
                                               Randy Wood lived in Colorado in May 1987.
                  ---------                    He visited David Wood for a week in July
                                               1987, not May. Randy Wood had never been
                                               to the King’s X bar.
                  ---------                    No one ever reported Ivy Williams missing.




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              Component 1: WITNESSES RE: DESIREE WHEATLEY
        EVIDENCE OF GUILT                     EVIDENCE OF REASONABLE DOUBT
Yvette Garcia testified that she saw De-     Garcia did not tell the police in her first state-
siree Wheatley get into a beige Nissan       ment that Desiree Wheatley got into Skeeter’s
pickup truck on the night she disap-         truck. In her first statement, Garcia said she
peared.                                      did not see Desiree leave with anyone at all.

                                             Garcia did not tell Desiree’s sister the next
                  ---------                  morning that she had seen Desiree get into a
                                             pickup truck.
                  ---------                  Garcia did not see who was driving the truck.
                                             Garcia was not wearing her glasses the night
                  ---------                  she last saw Desiree.
                                             Det. Guerrero interviewed Garcia more than
                                             twenty times. He would take her out of school
                  ---------                  and question her at the police station. She was
                                             only 15 years old and unaccompanied by her
                                             parents.
                                             Det. Guerrero showed Garcia a photo lineup
                                             and also had Garcia view David Wood in a
                  ---------                  room by himself.
Garcia identified David Wood as              David Wood was never known by the nick-
“Skeeter.”                                   name “Skeeter.”




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                    Component 1: WITNESSES RE: KAREN BAKER
         EVIDENCE OF GUILT                        EVIDENCE OF REASONABLE DOUBT
Charles Lloyd saw Karen Baker get on a          Lloyd said in his first statement that he did not
red Harley Davidson motorcycle on June 5,       see the face of the man who gave Karen Baker
1987. When she returned, she told Lloyd         a ride on his motorcycle the day she disap-
she had a date with the driver. Lloyd later     peared.
saw her getting into a white or beige truck.

Lloyd identified David Wood in a photo line- Lloyd was unable to identify David Wood the
up.                                          first time he viewed a photo line-up. When he
                                             later viewed a live line-up, Lloyd selected
                                             someone other than David Wood.
                                             Lloyd did not identify a photo of David Wood’s
                    ---------                red Harley Davidson motorcycle as the same
                                             motorcycle he saw the man driving who had
                                             picked up Karen Baker.
Lloyd testified that the same man came by    Lloyd told police that he did not see the face of
a few days later on a dull black Harley Da-  the man who returned a few days later be-
vidson motorcycle.                           cause he had on a cap and goggles.
                    ---------                David Wood did not drive a black Harley Da-
                                             vidson motorcycle.
Patricia von Maluski saw Karen Baker with Von Maluski gave her statement to EPPD on
David Wood at a restaurant on May 23,        November 21, 1987. By that time, she had
1987.                                        seen David Wood’s name and picture in the
                                             news.


                Component 1: WITNESSES RE: ANGELICA FRAUSTO
         EVIDENCE OF GUILT                        EVIDENCE OF REASONABLE DOUBT
Veronica Minjarez testified that she last       Minjarez testified that she last saw Angelica
saw Angelica Frausto when she got on a red      Frausto on August 4, 1987, four days before the
Harley Davidson motorcycle with a white         date the State alleged she disappeared.
man of medium build and wavy brown hair.
                                                Minjarez did not see the man’s face. She said
                  ---------                     Angelica Frausto rode on the motorcycle briefly
                                                and came back.
Denise Frausto Kramer testified that she        Kramer made no mention of seeing Angelica
last saw her sister on August 8, 1987, at       with David Wood or a man resembling him
Rudy’s Bar. Kramer testified that the           when she left Rudy’s Bar.
clothes found on Angelica’s body were the
same clothes she was wearing when Kra-
mer last saw her.


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                 Component 1: WITNESSES RE: ROSA MARIA CASIO
         EVIDENCE OF GUILT                        EVIDENCE OF REASONABLE DOUBT
Fritz Zimmerle testified that he last saw
Rosa Maria Casio at the Cabaret Club on
August 12, 1987. He saw Casio walking                               ---------
with a tall, well-built white man with short
brown or blond hair.
Zimmerle said that the man had a mole on        Zimmerle said in his first statement that he did
his face.                                       not see the man’s face. He admitted that he did
                                                not mention the mole when he gave his first
                                                statement to the police.
                                                Zimmerle admitted that he had seen David
                   ---------                    Wood on television three times and had seen his
                                                picture in the newspapers in the years leading
                                                up to his testimony.
When Casio left the Club later that night,      Zimmerle was not sure if the driver of the
Zimmerle said that a Ford Bronco pulled         Bronco was the same man he had seen with Ca-
out and followed her car.                       sio earlier.
                  ---------                     David Wood did not drive a Ford Bronco.




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                      Component 1: WITNESSES RE: DAWN SMITH
         EVIDENCE OF GUILT                         EVIDENCE OF REASONABLE DOUBT
Mary Fernandez testified that she last saw       Fernandez could not identify anyone from a
Dawn Smith around 11 o’clock at night on         photo line-up that contained David Wood’s pic-
August 27, 1987.                                 ture, nor did she recognize seeing a motorcycle
                                                 or another vehicle in photos the police showed
                                                 her.
Dawn Smith’s boyfriend, Ernesto de los           De los Santos could not remember when he saw
Santos, saw David Wood at Ruby Montoya’s         David Wood and Dawn Smith at the apartment.
apartment one time.
Michael Jimenez saw David Wood with              Jimenez could not remember when he saw Da-
Dawn Smith at his house at some point in         vid Wood with Dawn Smith.
1987.
                                                 Jimenez may have seen David Wood with Jo
                   ---------                     Smith, who looked “remarkably similar” to
                                                 Dawn Smith.


                    Component 2: FIBER COMPARISON EVIDENCE
         EVIDENCE OF GUILT                         EVIDENCE OF REASONABLE DOUBT
The police found orange acrylic fibers at the    The police did not find the orange fibers at the
Desiree Wheatley crime scene.                    Wheatley crime scene until they returned to the
                                                 scene nine days after her body was discovered.
                   ---------                     The police recovered no fibers from the other
                                                 five crime scenes.
DPS examination concluded that orange fi-
bers from a vacuum cleaner bag and a coat
hanger associated with David Wood                                    ---------
matched the fibers found on Desiree Wheat-
ley’s body and in sand siftings from the
crime scene.
                    ---------                    The vacuum cleaner did not work. Det. Guerrero
                                                 did not seize the vacuum cleaner.
                                                 Det. Guerrero did not immediately place the
                   ---------                     vacuum cleaner bag in the property office when
                                                 he returned to the police station.




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       Component 3: EXTRANEOUS OFFENSE - JUDITH BROWN KELLING
         EVIDENCE OF GUILT                             EVIDENCE OF REASONABLE DOUBT
David Wood was driving a little brown                                        ---------
pickup truck when he offered her a ride.
H took her out to the desert and tied her to
his pickup truck while he dug a hole with a                                  ---------
shovel he removed from the bed of the
truck.
He buried something heavy rolled up in a
blanket that he removed from the bed of the                                  ---------
truck.
He spread the blanket on the ground,
ripped off Kelling’s clothes, and forced her                                 ---------
onto the blanket.
He heard voices in the desert and drove
Kelling to another location. He again spread
the blanket on the ground, ripped off her                                    ---------
clothes, and raped Kelling, after tying her
hands together, tying one of her legs to a
bush, and gagging her with a bandana.
                                                     Kelling was currently residing in jail where
                    ---------                        she was awaiting possible revocation for pos-
                                                     session of cocaine, a parole violation.
                    ---------                        Kelling was a prostitute. She had a criminal
                                                     record.
                    ---------                        Kelling was a heroin addict. She had track
                                                     marks on her arms. She had injected heroin ear-
                                                     lier that day.


           After reviewing these evidentiary components, DA Simmons found that the

    Task Force had produced only “very weak circumstantial evidence” in their three

    years of investigation focused almost exclusively on David Wood. 692 DA Simmons con-

    cluded that the presentation of evidence related to these three components of the

    Task Force’s case would not result in the indictmentlet alone the convictionof




    692 Ex. 109 at 17 (DA Simmons letter to EPPD Police Chief Scagno (Nov. 2, 1989)).




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David Wood: ‘The bottom line is, that much further investigation is needed, before

this case is ready to present to a Grand Jury, much less ready to go to trial.”693 On

the Case Information Sheet appended to the investigative files for each of the six

victims, Simmons had written: “No evidence in this investigation to connect anyone

to any grade of criminal homicide.” 694

          DA Simmons listed over fifty follow-up investigative tasks for the police to com-

plete, which he believed would make the case prosecution-worthy. 695 In conclusion,

Simmons wrote: “I believe a thorough investigation, not press releases, will bring the

person or persons to justice for murdering those six young women in the desert.”696

          Over the next three months, the Task Force completed the investigation that

DA Simmons recommended in his letter. The Task Force developed no further incul-

patory evidence against David Wood.

          2.    The Fourth and Final Component: Jailhouse Snitches

          On January 19, 1990, ADA David Nichols sent a memorandum to DA Simmons

about the Northeast Desert Murders. 697 Nichols set out a number of obstacles to the

successful prosecution of David Wood. He framed the most pressing legal issue as:

          [W]hether a suspect, linked to one victim by a witness’ observation of
          the suspect and the live victim together, corroborated by fiber evidence




693 Id.

694 Ex. 110 (District Attorney’s Case Information Sheets (Nov. 2, 1989)).

695 Ex. 109 at 110 (DA Simmons letter to EPPD Police Chief Scagno (Nov. 2, 1989)).

696 Id. at 18. The Task Force had issued a press release a few days earlier about the lack of progress in

the desert murders investigation. Ex. 111 (Desert Deaths Press Release (Oct. 27, 1989)).
697 Ex. 112 (ADA Nichols Memorandum to DA Simmons (Jan. 19, 1990)).




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         which “could have come from the same source,” should be indicted and
         prosecuted for murder, when no evidence exists of an illegal act. 698

After reviewing the relevant law, ADA Nichols concluded:

         Here, we have some bodies and a suspect but absolutely no evidence of
         an illegal act linking the two. . . . [A]bsent that link, even if an indict-
         ment and conviction could be obtained of our suspect in this case, an
         appellate reversal is assured. There would seem to be no point in pro-
         ceeding with a prosecution at the present time. This does not rule out
         the advisability of prosecution, however, if at some point in the future
         the illegal act can be proven and the suspect linked to it. 699

In the final section of the memorandum, entitled “Recommendations for Further In-

vestigation,” ADA Nichols suggested a way to prove that an illegal act occurred:

         Seldom does a serial killer keep all the details a secret. Somewhere, at
         some time, he is likely to have shared with someone, a friend, a co-
         worker, a neighbor, at least a hypothetical interest in killing someone
         by some means that would leave no evidence on the skeleton of the vic-
         tim. Cellmates and other prisoners of the Texas Department of Correc-
         tions are another possible source.
                                            ....
         The course of action most amenable to effective prosecution would be for
         the suspect to confess to the illegal act, then to corroborate the confes-
         sion by a witness or by physical evidence not presently fathomed. 700

         Two months after ADA Nichols drafted his memorandum, Randy Wells was

arrested for first-degree murder in Eastland County. Wells told his lawyer that he

had information about the bodies buried in the desert. By April 1990, the State had

procured the kind of evidence that ADA Nichols had recommended: David Wood’s




698 Id. at 1.

699 Id. at 5.

700 Id. at 56.




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    allegedly confessing to his cellmates. DA Simmons now had the critical evidence he

    needed to take the case to a Grand Jury.

                              Component 4: THE JAILHOUSE SNITCHES
         EVIDENCE OF GUILT                         EVIDENCE OF REASONABLE DOUBT
David Wood confessed to Randy Wells and
James Carl Sweeney that he was the Desert                            ---------
Killer.
David Wood would tie his victims to the
pickup truck, dig a grave, and then tie them                         ---------
to a tree and his truck and rape them.
Wells covered up some of David Wood’s tat-
toos because David Wood told him that one                            ---------
of his victims had gotten away and could
identify him based on his tattoos.
                                                 David Wood’s sister sent him approximately 200
                  ---------                      newspaper articles about the desert murders in-
                                                 vestigation.
                                                 David Wood gave Sweeney access to the news-
                  ---------                      paper articles because Sweeney was drafting a
                                                 lawsuit for him.
                  ---------                      Wells and Sweeney both had lengthy criminal
                                                 records.
                  ---------                      Sweeney knew about the $25,000 reward and
                                                 had made inquiries about it.
                                                 Wells made a deal to have his capital murder
                  ---------                      charge dismissed and plead to 15 years for for-
                                                 gery in exchange for his testimony against Da-
                                                 vid Wood.



           3.    The TCCA’s Assessment of the Evidence

           On direct appeal of David Wood’s conviction and sentence, the State argued

    that Judith Brown Kelling’s testimony about the extraneous criminal offense was

    “extremely important” to the prosecution’s case:

           The primary evidence that the State had available to establish the iden-
           tity of appellant was purely circumstantial. . . . With the weaknesses of


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          the circumstantial evidence and the attack upon the credibility of the
          witnesses who testified to appellant’s admissions, it is obvious that the
          testimony of [Kelling] was extremely important to the State’s case in es-
          tablishing appellant’s identity and in establishing that he committed
          these murders pursuant to the same scheme or course of conduct. Ap-
          pellant’s identity and the fact that he acted in the scheme or course of
          conduct in committing these murders was certainly in dispute through-
          out this trial.701

          The TCCA agreed that the trial court did not err in finding Kelling’s evidence

relevant to establish David Wood’s identity. 702 It noted that Kelling’s testimony re-

vealed that the “location, time, and circumstances of the assault” upon her were

“strikingly similar” to the unique pattern of the six murders in the capital case.703 To

admit extraneous evidence under a theory of modus operandithe defendant’s “dis-

tinctive and idiosyncratic” manner of committing criminal actsthe proponent must

show that “the extraneous offense was so nearly identical in method to the charged

offense as to earmark them as the handiwork of the accused.” 704 The TCCA found

“obvious similarities” between the sexual assault of Kelling and the murders. 705

          The TCCA then rejected the point of error that the prejudicial effect of the

extraneous evidence substantially outweighed its probative value. Because identity

was “a hotly contested issue,” it found that Kelling’s testimony was “very compelling

evidence” of the identity of David Wood as the murderer. 706 In addition, the TCCA



701 Appellee’s Brief, Wood v. State, No. 71,594, at 2122 (emphasis added).

702 Ex. 5 at 6 (Wood v. State, No. 71,594 (Tex. Crim. App. Dec. 13, 1995)).

703 Id. at 2.

704 Id. at 6.

705 Id.

706 Id. at 7. The TCCA found “unassailable” the evidence that David Wood “did in fact commit the

extraneous offense.” Id. David Wood has challenged the reliability of that “unassailable” evidence with


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explained that Rule 403 balancing is more forgiving when the proponent has no other

compelling or undisputed evidence to establish the proposition that the extraneous

evidence is intended to prove. 707 Because the State’s other evidence against David

Wood was circumstantial and weak, the TCCA agreed with the State that Kelling’s

evidence was “extremely important” to the prosecution’s case:

         The identity of the murderer was a disputed issue at trial, obviously
         critical to both sides. Other evidence linking appellant to the murders
         consisted of the testimony of his former cellmates, circumstantial evi-
         dence and witness testimony placing appellant with one of the victims
         on the night of her disappearance. But appellant impeached his former
         cellmates with their lengthy criminal history and vigorously attacked
         their testimony as the product of deal-making with the State. The re-
         maining evidence was not so compelling or undisputed as to render un-
         necessary the extraneous offense evidence. Under these circumstances
         the State’s need for the evidence was great. 708

    S.          The New Evidence

         1.       Newly Discovered Evidence

         Even with the exercise of due diligence, David Wood could not have discovered

numerous pieces of affirmative evidence of his innocence, including that:

         (1) Technological advances in DNA testing since the trial would defini-

                tively exclude David Wood as the contributor of male DNA found in

                a bloodstain on Dawn Smith’s yellow terrycloth sunsuit.

         (2) Police detectives handed their investigative files to the jailhouse

                snitches, Randy Wells and James Carl Sweeney, to help them



the new evidence set out in this Application. See Part III-J, supra (“David Wood did not sexually as-
sault Judith Brown Kelling”).
707 Id. at 8.

708 Id. (emphasis added).




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      fabricate their testimony that David Wood confessed to being the

      Desert Killer. George M. Hall, whom the State hoped to use as a

      third jailhouse snitch, witnessed the State coach Wells and

      Sweeney’s false testimony. Hall would not come forward to reveal

      this information until 2024, when he successfully completed nearly

      thirty years of parole.

(3) Randy Wells would be indicted for aggravated perjury for testifying

      falsely against his co-defendants in their first-degree murder trials.

(4)    James Carl Sweeney would receive $13,000 for his testimony

      against David Wood.

(5) Randy Wells would not only have his first-degree murder charges

      dismissed because of his role in securing David Wood’s conviction,

      he would never serve a day in prison on the reduced charge of for-

      gery, for which he was to serve 12 years; that charge was dismissed

      as well.

(6) James Carl Sweeney would receive a favorable recommendation for

      his testimony against David Wood and would be released on parole

      after serving only seven years of a 69-year sentence.

(7) The Tactical Unit of the EPPD had David Wood under surveillance

      for a week in August 1987, which included the days on which two of

      the victims disappeared.




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      (8) Judith Brown Kelling said Michael Plyler, not David Wood, sexually

           assaulted her. But Task Force detectives pressured her into accus-

           ing David Wood instead.

      (9) Plyler resembled David Wood and owned a beige Nissan pickup

           truck with pinstripes, remarkably similar to the one David Wood

           owned.

    (10) The State suppressed an audiotaped interview of Kelling that would

           have provided significant opportunities for impeaching her.

    (11) Task Force detectives attempted to pressure Ramona Dismukes into

           providing a false statement that David Wood had tried to lure her

           into his pickup truck.

    (12) The Task Force took blood, saliva, and head and pubic hair from

           alternative suspect Sal Martinez and fingerprinted him after he

           failed a polygraph exam.

    (13) Patricia von Maluski, who testified that she had seen Karen Baker

           in the company of David Wood days before her disappearance, suf-

           fered from mental illness and had been reported missing by her son

           during the time she allegedly saw David Wood with Karen Baker.

    (14) Two Task Force detectives would later play prominent roles in the

           wrongful convictions of Daniel Villegas and Agustin Fabio Carreon.

      2.     Evidence Never Presented

      The suppression of exculpatory evidence, presentation of false evidence, police

and prosecutorial misconduct, and ineffective assistance of counsel prevented the jury


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from considering evidence that raises a reasonable doubt about David Wood’s guilt,

including that:

    (1)     David Wood’s beige Nissan pickup truckan essential element of

            his alleged modus operandisat undrivable in an auto salvage yard

            the entire month of August 1987, when three of the victims disap-

            peared.

    (2)     Three witnesses saw Ivy Williams after May 30, 1987, when she was

            allegedly last seen, leaving a bar with David Wood.

    (3)     David Wood had an alibi on the day he allegedly assaulted Judith

            Brown Kelling.

    (4)     Kelling gave materially inconsistent testimony about the sexual as-

            sault.

    (5)     Judith Brown Kelling and her sister, Carmen Brown, received deals

            in exchange for their testimony against David Wood.

    (6)     The State’s fiber expert testified with unwarranted and scientifi-

            cally unfounded certainty when he overstated the probative value of

            his analysis of the fibers found at the Wheatley crime scene and the

            fibers taken from items associated with David Wood.

    (7)     Randy Wells lied when he testified that David Wood wanted his tat-

            toos covered up so a victim who “got away” could not identify him.

    (8)     Alternative suspect Sal Martinez gave materially inconsistent state-

            ments to the police about the victims.




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     (9)     The State suppressed evidence about Task Force detectives’ profes-

             sional and personal misconduct that would have undermined their

             credibility.

   T.        David Wood’s new evidence rebuts or nullifies all of the State’s pri-
             mary inculpatory evidence from the “old” trial.

        David Wood has made a strong case of his actual innocence.

        1.     The Testimony of the Jailhouse Snitches

        The linchpin of the State’s case against David Wood was, of course, the jail-

house-snitch testimony of Randy Wells and James Carl Sweeney. Wells and Sweeney

were the indispensable witnesses who jump-started an investigation that had stalled

and grown stagnant. They testified that David Wood confessed to them that he was

responsible for the murders of the girls and young women whose bodies were found

in the desert. They provided the evidence that transformed an unindictable case into

a conviction for capital murder and a sentence of death. But their testimony is ration-

ally irreconcilable with the new evidence. David Wood’s new evidence nullifies the

State’s primary inculpatory evidence.

        a.     The Unknown Male DNA on Dawn Smith’s Yellow Terrycloth
               Sunsuit

        DNA evidence can radically transform the meaning of inculpatory evidence.

The new postconviction DNA result definitively excludes David Wood as a contributor

of male DNA extracted from a bloodstain on Dawn Smith’s yellow terrycloth sunsuit.

This affirmative evidence of innocence nullifies the inculpatory testimony of Wells

and Sweeney.




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       The State’s theory was that the perpetrator acted alone in carrying out the

offense. Sweeney testified that David Wood specifically mentioned Dawn Smith as

one of his victims. 709 The State sought DNA testing of the bloodstain on Dawn Smith’s

sunsuit before trial for a single reason: They believed the DNA test result would be

highly probative in identifying the perpetratorDavid Wood. This new DNA test re-

sult cannot be reconciled with the “old” evidence from Wells and Sweeney.

       Since that exculpatory test in 2011, the Attorney General of the State of

Texasacting as the district attorney pro temhas opposed David Wood’s motions

for additional DNA testing, including testing of the biological samples that the police

collected from alternative suspect Sal Martinez. The State’s steadfast opposition to

DNA testing of additional items not only raises troubling questions about what it

fears the testing may reveal, but its opposition violates its duty to act as a minister

of justice, not as an advocate for convictions. 710 No DNA testing of Martinez’s biolog-

ical samples has ever been conducted to create a profile and compare it with the male

DNA profile recovered from Dawn Smith’s yellow sunsuit.711 Moreover, the Task

Force’s decision to fly Martinez back to El Paso from Salt Lake City, Utah, so that

they could continue to question him (after he had given them four conflicting state-

ments about knowing the victims), and their subsequent decision to take biological



709 66.RR.7039.

710 See Berger v. United States, 295 U.S. 78, 88 (1935) (recognizing that the government “is the repre-

sentative not of an ordinary party to a controversy, but of a sovereignty … whose interest … in a
criminal prosecution is not that it shall win a case, but that justice shall be done.”).
711 This Court affirmed the trial court’s denial of DNA testing of Martinez’s biological samples. Wood

v. State, 693 S.W.3d 308 (Tex. Crim. App. 2024). Approximately 135 additional items collected from
the six separate crime scenes have never been subjected to DNA testing.



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samples and fingerprints from him, reveal Martinez as a compelling alternative sus-

pect. 712 None of this evidence was ever presented to the jury.713

        b.        The Declaration of George M. Hall

        According to Randy Wells and James Carl Sweeney, David Wood confessed to

them, while they were in prison together, that he was the Desert Killer. Along with

Wells and Sweeney, the State had George M. Hall bench-warranted to the El Paso

County Jail. Like Wells and Sweeny, Hall had served time with David Wood in prison

and knew him. 714 Hall witnessed the extensive coaching the Task Force detectives

provided to Wells and Sweeney in preparation for their testimony. 715

        Hall’s declaration is reliable for a number of reasons. First, he did not seek to

be bench-warranted to El Paso. Wells provided Hall’s name to the Task Force detec-

tives and assistant district attorney who interviewed Wells in the Eastland County

Jail after his arrest for first-degree murder. 716 Second, Hall lived only a few cells away

from David Wood and Wells. 717 Hall shared a cell with Sweeney, who was drafting a

lawsuit for David Wood and had access to over one hundred newspaper articles about

the desert murders investigation. 718 Yet Hall never heard David Wood confess to the

murders, nor did Hall ever hear Wells or Sweeney tell him that David Wood had



712 See Part III-L, supra.

713 Ex. 44 at 56 (Declaration of Dolph Quijano, Jr. (Feb. 12, 2025)).

714 Ex. 8 at 2 (Declaration of George M. Hall (Oct. 13, 2024)).

715 Id. at 46.

716 65.RR.6975.

717 Ex. 8 at 2 (Declaration of George M. Hall (Oct. 13, 2024)).

718 65.RR.7038; Ex. 8 at 2 (Declaration of George M. Hall (Oct. 13, 2024)).




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confessed to them. 719 Third, photographs confirm Hall’s statement that he saw “notes

on the wall about the victims” at the EPPD Homicide Division. 720 The photographs

show chalkboards in the desert murders “war room” that have columns marked out

listing information about each of the victims.




Fourth, Hall suffered to his detriment for refusing to cooperate with the Task Force

detectives. A protest was filed against his release on parole after the Board had al-

ready approved his parole. 721 He did not receive a new parole date but was, instead,

given a “serve-all,” which meant he had to serve the remainder of his sentencethree




719 Id. at 2.

720 Id. at 4.

721 Id. at 6.




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more years. 722 Fifth, Hall brought his concern about Wells and Sweeney’s fabrication

of David Wood’s confession to the attention of ADA Debra Morgan before the trial.

Morgan did nothing. Sixth, because of the 1991 decision to rescind his previously ap-

proved parole, Hall did not contact David Wood’s counsel until Hall was completely

“off paper,” successfully completing nearly thirty years of parole in 2024 without a

violation. 723 Finally, Hall has had no contact with David Wood since he last saw him

in prison in 1990. 724

          The credibility of Wells and Sweeney, on the other hand, continued to plummet

after they testified against David Wood. Wells was indicted for aggravated perjury

for testifying falsely against his co-defendants on the first-degree murder charges he

himself avoided. 725 In fact, Wells never served a day in prison for the forgery charge

that he was to plead to in exchange for the dismissal of the first-degree murder

charge. 726 In addition, Wells testified falsely when he said David Wood asked him to

cover up his tattoos so that a victim who “got away” (Judith Brown Kelling) could not

identify him. 727

          A little over a year after testifying, Sweeney received $13,000 for his role in

the conviction of David Wood. 728 In an undisclosed deal, Sweeney also received a



722 Id.

723 Id. at 12.

724 Id. at 7.

725 See Part III-C, supra.

726 See Part III-C(3), supra.

727 See Part III-D, supra.

728 See Part III-E, supra.




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favorable recommendation for parole from the District Attorney, and was released on

paroledespite being classified as a habitual offenderafter serving only seven

years of his 69-year sentence. 729 Finally, like Wells, Sweeney lied on the witness

stand. He claimed, if he did apply for and obtain the reward, he would use it to pay

the $8,000 restitution ordered on his burglary conviction. Sweeney owed no restitu-

tion. 730

        The words of the leading expert on the use of jailhouse informants are partic-

ularly fitting:

        The risks of fabrication are especially high in high-profile and serious
        cases such as murder or rape that have been covered by the media, and
        that are known to elicit substantial benefits from the government. The
        risks of wrongful conviction are further heightened in cases where the
        rest of the evidentiary record is weak or contradictory, since these are
        the cases in which informant testimony is most valuable to the govern-
        ment and also simultaneously the cases in which defendants are espe-
        cially likely to be actually innocent. 731

        c.        The Police Surveillance

        At the capital murder trial, Sweeney testified that David Wood specifically

mentioned Rosa Maria Casio as one of his victims. 732 This “old” inculpatory evidence

cannot rationally be reconciled with the newly discovered evidence that the police had




729 See Part III-F, supra.

730 See Part III-E, supra.

731 Ex. 113 at 7 (Affidavit of Expert Alexandra Natapoff (July 15, 2024)). A judge appointed to review

a case that ultimately resulted in a wrongful conviction aptly put it: “Usually, [the] presence [of jail-
house informants] as witnesses signals the end of any hope of providing a fair trial.” The Hon. Peter
Cory, Commissioner, The Inquiry Regarding Thomas Sophonow: The Investigation, Prosecution and
Consideration of Entitlement to Compensation 63 (Winnipeg: Manitoba Attorney General, 2001).
732 66.RR.7039.




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David Wood under surveillance for an entire week in August 1987, including on the

days that Frausto and Casio disappeared. 733

           d.    The Undrivable Pickup Truck

           According to the jailhouse snitches, David Wood told them the manner in which

he carried out his abductions and murders. David Wood’s beige Nissan pickup truck

was allegedly an essential element of his scheme. As Wells testified, “It was always

the pickup.” 734

           Wells and Sweeney told the jury that David Wood used the pickup truck to

transport a victim from the city into the desert. Once there, he tied the victim to the

truck. He then removed a shovel from the bed of the truck and dug a shallow grave.

After finishing digging, he would remove a long, rolled-up orange blanket from the

bed of the truck. He would unroll the blanket and place it on the ground. He would

then untie the victim, tear off her clothes, force her to the ground on the blanket, and

then tie one leg to a bush or tree and the other to the truck before sexually assaulting

her. 735

           The testimony of Wells and Sweeney that David Wood’s modus operandi “al-

ways” included the use of the pickup truck was false. And it is irreconcilable with the




733 See Part III-G, supra.

734 65.RR.6968 (emphasis added). Notably, the State argued on direct appeal that “[e]specially im-

portant” to the Rule 403 balancing analysis (regarding Judith Brown Kelling’s testimony) “are the
admissions reported by Randy Wells that appellant always used the pickup truck to take the girls into
the desert area….” Appellee’s Brief, No. 71,594 at 16.
735 See Part II-A(4), supra (setting out testimony of jailhouse snitches).




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new evidence that the truck sat, undrivable, in an auto salvage yard through the

month of August 1987 when three of the desert murder victims disappeared.

        2.      The Testimony of Judith Brown Kelling

        The three remaining evidentiary components of the State’s case against David

Wood were reviewed by DA Simmons in 1989 to determine the prospects for moving

forward with prosecution. Clearly, Simmons concluded that the evidence associated

with these three components (Judith Brown Kelling, the fiber comparison, and the

witnesses who last saw the victims) would not result in the indictmentlet alone the

convictionof David Wood. 736 Even though a jury had already convicted David Wood

of sexually assaulting Kelling by the time DA Simmons conducted his review, he be-

lieved that Kelling still presented serious credibility problems for the jury.

        David Wood’s new evidence exposes the deception of the State and Kelling,

whose lies were shoddily constructed but effective, until now. Task Force detectives

pressured Kelling into falsely accusing David Wood of the sexual assault. Kelling ad-

mitted to Ramona Dismukes that Michael Plyler had assaulted her, not David Wood.

The Task Force investigation corroborates Dismukes. The Task Force files include a

folder containing photographs of Plyler’s Nissan pickup truck, remarkably similar to

the one David Wood owned. 737 Task Force detectives persuaded Kelling, along with




736 Ex. 109 at 17 (DA Simmons letter to EPPD Police Chief Scagno (Nov. 2, 1989)) (‘The bottom line is,

that much further investigation is needed, before this case is ready to present to a Grand Jury, much
less ready to go to trial.”). On the Case Information Sheet appended to the investigative files on each
of the six victims, DA Simmons had written: “No evidence in this investigation to connect anyone to
any grade of criminal homicide.” Ex. 110 (District Attorney’s Case Information Sheets (Nov. 2, 1989)).
737 See Part III-J(1)(4), supra.




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her sister, Carmen Brown, to point the finger at David Wood in exchange for prefer-

ential treatment on their pending criminal matters. 738

        The State’s deception continued with the intentional alteration of David

Wood’s purported parting words to Kelling in the desert. Her testimony from the sex-

ual assault trial to the capital murder trial transformed from “You’re three and walk-

ing free” to “Always remember, I’m free.”739 The radical revision of her testimony was

necessary because, by the time Kelling testified in the capital murder trial, the Task

Force had settled on Ivy Williams as David Wood’s first victim, meaning Kelling was

no longer his third victim, but his fourth. 740

        It is inconceivable that Kellinga tragically drug-addicted person forced into

sex work to feed her heroin habitrealized independently that she needed to drasti-

cally modify David Wood’s alleged parting words to her. 741 Instead, Kelling’s altered

testimony reveals the lengths the State was willing to go to convict David Wood of

capital murder. Impeaching Kelling with her sworn testimony in the sexual assault

trial would have undermined the State’s case, destroying the last shred of Kelling’s

quaking credibility. Moreover, exposing the State’s role in the deception “carried

within it the potential [for] the discrediting, in some degree, of the police methods




738 See Part III-J(7), (8), supra.

739 8.JBKRR.37; 64.RR.6815.

740 See Part III-J(6)(a), supra.

741 Even if the prosecutors were caught off-guard by Kelling’s testimony at the capital murder trial,

they had a duty to correct it immediately. Napue v. Illinois, 360 U.S. 264 (1959)..



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employed in assembling the case against [David Wood].” 742 The jury heard none of

this evidence. 743

        Finally, the new evidence of innocence includes the unpresented alibi testi-

mony of David Wood’s father, sister, and girlfriend showing that he was asleep at his

girlfriend’s apartment when Kelling alleged he sexually assaulted her in the early

evening hours of July 26, 1987. An incident that happened the next day enabled these

witnesses to recall David Wood’s whereabouts: On July 27, 1987, Randy Wood

crashed the Nissan pickup truck into another car and was arrested at the scene of

the accident. 744 David Wood’s girlfriend—who would eventually become a State’s wit-

ness—recalled that David and Randy Wood had spent the prior evening at her apart-

ment.

        The new evidence of innocence regarding Kelling’s accusation exposes the de-

ceptions the State perpetrated to “get David Wood off the streets” 745 by arresting (and

convicting) him for the sexual assault of Kelling. This new evidence rebuts or nullifies

all of Kelling’s extraneous offense inculpatory evidence from the “old” trial.

        3.      The Fiber Comparison Evidence

        In suggesting ways to make the State’s case against David Wood indictable

and prosecution-worthy, ADA Nichols not only recommended procuring the testimony

of jailhouse snitches, but he also provided advice for strengthening the fiber link



742 Lindsey v. King, 769 F.2d 1034, 1042 (5th Cir. 1985).

743 See Ex. 44 at 34 (Declaration of Dolph Quijano (Feb. 12, 2025)).

744 See Part III-J(5), supra.

745 Ex. 64 at 2 (Declaration of Richard Jewkes (Oct. 31, 2024)).




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beyond the milquetoast phrase “could have come from the same source.” 746 He sug-

gested that “the FBI lab might be able to link the fiber evidence with a higher degree

of confidence.” 747 The State did not need to adopt his recommendation when they

found an expert who was willing to testify unequivocally and with unfounded scien-

tific certainty that the orange acrylic fibers from the Wheatley crime scene and the

vacuum cleaner bag “matched.”

         The testimony of the State’s expert, Steve Robertson, left the jury with the

impression that the fiber “match” was akin to DNA evidence: that the fibers origi-

nated from a single, unique sourcenamely the orange acrylic blanket that allegedly

played an essential role in David Wood’s modus operandi. Dr. Palenik’s report ex-

poses the misleading and problematic nature of Robertson’s testimony that distorted

and overstated the probative value of the fiber evidence. As Dr. Palenik emphasized,

the terms “match” and “identical” “imply a sense of either specificity or uniqueness

that can’t be obtained by a typical class evidence comparison.” 748 David Wood’s new

evidence breaks the direct physical link the State established through Robertson’s

misleading forensic testimony that the fibers “matched.”

         4.     The Witnesses Who Last Saw the Victims

         The testimony of the witnesses who claimed to have last seen some of the vic-

tims in the company of David Wood, or someone who vaguely resembled him, or some-

one who drove a truck or motorcycle that fit the general description of David Wood’s


746 Ex. 112 at 1 (ADA Nichols memo to DA Simmons (Jan. 19, 1990)).

747 Id. at 5.

748 Ex. 90 at 14 (Christopher S. Palenik, Ph.D., Review of Fiber Evidence (Feb. 20, 2025)).




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vehicles was exceedingly weak to begin with. This “old” evidence cannot rationally be

reconciled with the new evidence of innocence that:

          x   David Wood was under police surveillance on August 8, 1987, the
              day witnesses claimed Angelica Frausto disappeared. 749

          x   David Wood was under police surveillance on August 12, 1987, the
              day witnesses claimed Rosa Maria Casio disappeared. 750

          x   Steve Dahl, Veronica Gatzka, and Carol Eason saw Ivy Williams af-
              ter May 30, 1987, the day she allegedly disappeared, in the company
              of David Wood. 751

          x   Patricia von Maluski, who testified that she saw Karen Baker in a
              restaurant with David Wood two weeks before she disappeared, suf-
              fered from mental illness and was reported missing by her son at
              the time she claimed to have seen Baker with David Wood. 752

 V.       Conclusion

          Each component of the State’s “old” inculpatory evidence cannot be reconciled

with David Wood’s new evidence of innocence. In light of all of the new evidence of

actual innocence, no reasonable juror would have a basis to conclude beyond a rea-

sonable doubt that the State had proven David Wood’s guilt. Rather, reasonable ju-

rors would have rejected the incredible testimony of the jailhouse snitches, who were

coached by the Desert Murders Task Force detectives; their lies exposed by the unas-

sailable DNA evidence, police surveillance memos, and testimony from numerous wit-

nesses establishing that David Wood’s beige Nissan pickup truckan indispensable




749 See Part III-G, supra.

750 Id.

751 See Part III-I, supra.

752 See Part III-P, supra.




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element of his alleged modus operandisat undrivable in an auto salvage yard the

entire month of August 1987, when three of the victims disappeared.

VI.         This claim was presented in state court.

            On February 21, 2025, Wood filed a subsequent state habeas application. He

amended that filing on February 27, 2025. Among other claims, that application in-

cluded the actual innocence claim at issue here. That filing is still pending in state

court as of the filing of Wood’s Motion for Authorization.

VII.        This claim meets the requirements of 28 U.S.C. § 2244.

            David Wood has not previously raised a claim of actual innocence as a claim

for federal habeas relief. Wood, No. 3:01-cv-2103, 2006 WL 1519969. Section

2244(b)(1) therefore does not bar authorization.

       A.      Wood diligently pursued evidence of his innocence.

            Wood can show that “the factual predicate for [his actual innocence claim]

claim could not have been discovered previously through the exercise of due dili-

gence;” See 28 U.S.C. § 2244(b)(2)(B)(i). For purposes of § 2244(b)(2)(B)(ii), “due dili-

gence is measured against an objective standard, as opposed to the subjective dili-

gence of the particular petitioner of record.” Johnson v. Dretke, 442 F.3d 901, 908 (5th

Cir. 2006). Wood can establish that he was objectively diligent in pursuing the evi-

dence underpinning his actual innocence claim. 28 U.S.C. § 2244(b)(2)(B)(i).

            The DNA testing which excluded Wood from male DNA discovered on the

bloodstain on Smith’s clothing was not available until 2006. Ex. 7. Hall did not, and

would not have, come forward with evidence that the State coached the jailhouse

snitches’ testimony until 2024 because he remained on parole and was concerned that


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any evidence he gave would jeopardize his parole. Ex. 8. Likewise, even after the

State turned over its 13,000-page file, the significance of the investigation of Plyler

and the pickup truck and motorcycle as it related to Kelling’s testimony was not ap-

parent until a witness (who was previously threatened by the Task Force) finally re-

vealed the connection to Kelling’s sexual assault. See Ex. 62. Likewise, the State’s

pre-trial suppression of exculpatory evidence, see Claim II, continued in post-convic-

tion with the decision not to disclose the Crime Stoppers tip about Francisco Coto.

Ex. 108.

        Wood’s investigation of evidence of actual innocence has progressed despite the

State’s staunch opposition, at every turn, to disclosing or developing evidence which

points to a miscarriage of justice. This backdrop to Wood’s diligent efforts include the

State’s staunch opposition to DNA testing based on the 2011 exculpatory result and

refusal to provide a complete copy of its investigation of Plyler. This backdrop also

includes the harassment and intimidation of witnesses, who suffered negative conse-

quences for attempting to provide exculpatory information. Exs. 8, 62, 98.

   B.      Wood can make a prima facie showing of innocence.

        Wood’s claim is that his conviction and execution violate the Eighth and Four-

teenth Amendments because he is actually innocent. Although Herrera did not decide

what burden of proof would apply to a claim of actual innocence, it described that

showing as “extraordinarily high.” Herrera, 506 U.S. at 417; see also In re Davis, 557

U.S. 952, 952 (2009) (transferring petition for writ of habeas corpus to federal district

court to “receive testimony and make findings of fact as to whether evidence that

could not have been obtained at the time of trial clearly establishes petitioner's


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innocence”). At this stage, Wood need only make a showing under § 2244(b)(2)(B)(ii),

which is lower than the burden posited in Herrera and Davila. Wood therefore incor-

porates by reference all allegations and argument under his actual innocence claim

to make a prima facie showing that § 2244(b)(2)(B)(ii) is met.

      Because Wood has shown that he meets Section 2244(b)(2)(B), this Court

should authorize this claim to proceed.

   CLAIM 2: THE STATE SUPPRESSED EVIDENCE IN VIOLATION OF
                           BRADY.

   The “suppression by the prosecution of evidence favorable to an accused [] violates

due process where the evidence is material either to guilt or punishment, irrespective

of the good faith or bad faith of the prosecution.” Brady v. Maryland, 373 U.S. 83, 87

(1963). “There are three components of a true Brady violation: The evidence at issue

must be favorable to the accused, either because it is exculpatory, or because it is

impeaching; that evidence must have been suppressed by the State, either willfully

or inadvertently; and prejudice must have ensued.” Strickler v. Greene, 527 U.S. 263,

281–82 (1985). Evidence is material when there is “a reasonable probability that, had

the evidence been disclosed to the defense, the result of the proceeding would have

been different.” United States v. Bagley, 473 U.S. 667, 682 (1985). Materiality is as-

sessed by reviewing the “suppressed evidence considered collectively, not item by

item.” Kyles v. Whitley, 514 U.S. 419, 436 (1995). Wood can make a prima facie show-

ing of potential merit under all three components of Brady.




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 I.        The State suppressed multiple items of favorable evidence.

      A.      David Wood was under police surveillance when two victims disap-
              peared.

           As set out in Claim 1, § III.G, supra, David Wood was under police surveillance

when two of the victims disappeared. David Wood incorporates that Section by refer-

ence. The State never disclosed the Tactical Unit memos to trial counsel. Ex. 44 at 1.

The memos are plainly favorable evidence under Brady. Trial counsel, now having

seen these memos, would have used them at trial to show that David Wood was under

surveillance when Frausto and Casio disappeared and that the police never saw his

pickup truck. Id. This evidence shows that David Wood was not responsible for Ca-

sio’s and Frausto’s disappearance, and that he did not have access to his truck, which

he supposedly always used to carry out his crimes.

      B.      Judith Brown Kelling’s November 16, 1987, Interview With Police

           As set out in Claim 1, § III.J.6, supra, Kelling gave various inconsistent state-

ments regarding her claim that David Wood sexually assaulted her. David Wood in-

corporates that Section by reference. Pertinent to Brady, she was interviewed by po-

lice on November 16, 1987. Ex. 66. In that interview, her account contains numerous

impeachable inconsistencies with her earlier police statements and her later testi-

mony at the sexual assault trial and the capital murder trial. Notably, Kelling’s ac-

count of what her sister Carmen Brown told her about David Wood diverged materi-

ally with what Brown told the police about him. The State never disclosed this inter-

view to trial counsel. Ex. 44 at 3. David Wood’s trial counsel would have used it to




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impeach her credibility at trial. Id. The inconsistencies in that statement compared

to her trial testimony make it favorable impeachment evidence under Brady.

   C.      Alternative suspect Sal Martinez failed a polygraph and provided
           biological samples.

        As explained in Claim 1, § III.L, supra, the Task Force became interested in

Sal Martinez and his possible involvement in the crimes. David Wood incorporates

that Section by reference. In short, Martinez failed a polygraph exam, showing de-

ception when denying questions pertaining to his knowledge of the desert murders.

Ex. 96 at 1. Detectives then had local hospital staff collect hair, saliva, and blood

samples from Martinez, and he was fingerprinted at the Task Force office at the police

station. Ex. 97. This information was suppressed. Trial counsel has no recollection of

the State disclosing it. Ex. 44 at 6. Martinez’s failed polygraph and the State’s con-

sidering him a suspect worth collecting DNA from was favorable information that

should have been provided to David Wood.

   D.      The State investigated Plyler and determined he drove a Nissan
           pickup truck and Harley motorcycle.

        Kelling identified Plyler, not David Wood, as her attacker. Ex. 62753. Wood in-

corporates here by express reference all facts alleged in Claim One, Section III.J. Ev-

idence that Plyler was the assailant in Kelling’s sexual assault case, that he was

known as “Skeeter,” and that he drove a beige Nissan pickup truck and a Harley




753 Dismukes tried to bring this information to the Task Force’s attention, but her

efforts resulted only in threats by Task Force detectives that “it could have been [her]
in a grave.” Ex. 62.


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motorcycle is favorable, exculpatory evidence. This evidence, however, was sup-

pressed and was never turned over to trial counsel. Ex. 44.

       Wood is unable to determine what other information the Task Force uncovered

about Plyler: The records in undersigned counsel’s possession are partially obscured

and in black and white. See Ex. 63. Wood’s request to obtain legible, unobscured, and

color copies was refused by the State.

 II.   The suppressed evidence is cumulatively material.

       Collectively, these suppressed items were material, because there is a reason-

able probability that David Wood would not have been convicted if they were turned

over. See Kyles, 514 U.S. at 436; Bagley, 473 U.S. at 682. David Wood has briefed in

extensive detail the weakness of the State’s trial evidence. See Claim 1, § IV.A, supra.

This suppressed evidence—that he was under surveillance when two victims went

missing; an interview with Kelling inconsistent with her earlier statements and later

testimony; and the evidence inculpating Martinez—would have created reasonable

doubt in the mind of the jury.

III.   This claim was presented in state court.

       On February 21, 2025, Wood filed a subsequent state habeas application. He

amended that filing on February 27, 2025. Among other claims, that application in-

cluded the Brady claim at issue here. That filing is still pending in state court as of

the filing of Wood’s Motion for Authorization.




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IV.        This claim meets the requirements of 28 U.S.C. § 2244.

      Wood has not previously raised a Brady claim in his initial federal habeas petition.

Wood, 2006 WL 1519969. Section 2244(b)(1) therefore does not bar authorization.

      A.      Wood diligently pursued evidence suppressed by the State.

           Wood can show that “the factual predicate for [his Brady] claim could not have

been discovered previously through the exercise of due diligence;” See 28 U.S.C. §

2244(b)(2)(B)(i). “Trial counsel need not assume the prosecution may be withholding

information in order to exercise diligence,” and “may rely, absent notice to the con-

trary, on representations by the prosecutor” that they have complied with Brady. In

re Will, 970 F.3d 536, 542–43 (5th Cir. 2020). This is because “[t]he Supreme Court

has stated that its ‘decisions lend no support to the notion that defendants must scav-

enge for hints of undisclosed Brady material when the prosecution represents that

all such material has been disclosed.’” Id. at 542 (quoting Banks v. Dretke, 540 U.S.

668, 695 (2004)).

           Objectively, the memos of police surveillance of Wood, Kelling’s inconsistent

statement, evidence that Plyler sexually assaulted Kelling, and the taking of Mar-

tinez’s biological samples and his failed polygraph examination could not have been

obtained previously through due diligence. The record establishes that trial counsel

was not aware of any of this suppressed evidence. See Ex. 44, 44A/44B. Defense coun-

sel filed multiple motions requesting Brady material and the State assured trial coun-

sel and the Court that it would comply, and had complied, with its Brady obligations.

CR.55–57, 164–65, 200, 209–10; See also Ex. 44A/44B. Trial counsel and successor




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counsel reasonably relied on these representations by the State. See In re Will, 970

F.3d at 542.

      Moreover, defense counsel did not have notice that Wood was under surveil-

lance. See Blackman v. Davis, 909 F.3d 772 (5th Cir. 2018) (no due diligence where

“reasonable attorney would have been put on notice at that time that [evidence] may

exist.”). The surveillance memos establishing that Wood was not seen with Casio or

Frausto on the dates of their disappearances were conspicuously absent from the

State’s otherwise voluminous disclosures. See Ex. 44A/44B.

      Likewise, defense counsel did not have any awareness of Plyler and his signif-

icance to the case against Wood. Kelling was steadfast in her testimony at the 1988

sexual assault trial and the 1992 capital murder trial that Wood was her attacker.

The State never turned over any information indicating that it not only had

knowledge of Plyler, but had also pulled his criminal history and photographed and

documented that the vehicles he drove matched witnesses’ descriptions of vehicles

involved in the victims’ disappearances. See Ex. 63. Remarkably, the State continues

to refuse Wood access to a complete and legible copy of its investigation into Plyler.

      Finally, the State’s efforts to hide any information pertaining to its investiga-

tion of Martinez is well established by an Internal Affairs reports revealing miscon-

duct by the Task Force detectives who conducted that investigation. Ex. 101. The

State explicitly cautioned law enforcement not to raise the issue of the detectives’

misconduct because it threatened their credibility. Id. Counsel therefore had no




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notice of the detective’s misconduct. Wood has made a prima facie showing that he

was diligent in pursuing this Brady information.

   B.      Wood can make a prima facie showing of innocence.

        Under § 2244(b)(2)(B)(ii), Wood must also show that “by clear and convincing

evidence that, but for [this Brady violation], no reasonable factfinder would have

found” him guilty. 754 This assessment of innocence requires a comparison of the new

evidence to the existing evidentiary landscape to determine “the likely impact of the

Brady material on reasonable jurors.” Will, 970 F.3d at 543. The case against Wood

looks significantly different than it did the last time this Court reviewed his case.

        By withholding critical Brady evidence, the State made its case at trial appear

significantly stronger than it actually was. 57 RR 5467. The suppressed Brady evi-

dence negates the State’s case that Wood was responsible for the murders of all six

women and establishes that he could not have murdered Frausto and Casio. Particu-

larly when weighed against the State’s evidence tying Wood to Frausto and Casio

based on vague descriptions of a man bearing some physical traits of Wood, this Brady

evidence overwhelmingly supports Wood’s innocence.

        Likewise, Kelling, who testified to prove Wood’s identity and modus operandi

as the Northeast Desert serial killer, identified another man as her attacker. In the

absence of Kelling’s testimony, the State would not have been able to make Wood out


754 To convict, Wood’s jury was required only to find that he murdered Williams and

one of the other five named victims. CR 264. The jury was not required to specify, nor
to be unanimous on, which other victim. He may therefore establish that he is actu-
ally innocent by establishing his innocence of the murder of Williams or any one of
the other five named victims.


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as the Northeast Desert serial killer, nor establish a modus operandi. 69.RR.7552.

Notably, in holding on direct appeal that the trial court did not err in admitting Kel-

ling’s testimony, the TCCA emphasized that her testimony was “extremely important

to the State’s case” and the State’s “need for the evidence was great,” because the

remainder of the State’s case was “not so compelling[.]” Ex. 5.

       Based on this evidence, the jurors would also have learned that Plyler drove

vehicles matching witnesses’ descriptions and was known by the nickname “Skeeter.”

Jurors would have been able to consider the possibility of a credible and compelling

alternative suspect. Moreover, the jurors would have had doubts about Kelling’s cred-

ibility after hearing her inconsistent statements regarding her sexual assault. These

inconsistencies—most glaringly about her attacker’s parting words—would have

caused them to further doubt the State’s casting of Wood as the Northeast Desert

serial killer.

       In addition to Plyler, the suppressed evidence also establishes that the State

considered Martinez a strong alternative suspect. The State’s further suppression of

an Internal Affairs memo revealing that detectives were expressly cautioned that

their misconduct during this investigation would negatively impact the State’s case

would have made it clear how far the State was willing to go to convict Wood.

       Wood has thus made a showing that he is innocent by clear and convincing

evidence because, but for this Brady violation, no reasonable juror would have con-

victed him. See also Claim I (explaining the new evidence of Wood’s innocence).




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           Because Wood has shown that he meets Section 2244(b)(2)(B), this Court

should authorize this claim to proceed. In the alternative, this Court can authorize

this claim because Wood has made a “gateway” showing of actual innocence: Mr.

Wood incorporates by reference all facts and argument in support of his actual inno-

cence claim. See In re Vasquez, No. 23-40079, n.2 (5th Cir. June 23, 2023).

CLAIM 3: THE STATE OBTAINED DAVID WOOD’S CONVICTION BY PRE-
                  SENTING FALSE TESTIMONY.

           The Fourteenth Amendment prohibits the State from eliciting testimony that

it knows to be false or from failing to correct misleading testimony. Napue v. Illinois,

360 U.S. 264, 268 (1959). To establish a due process violation, a petition must show

that (1) the testimony was false; (2) the State knew or should have known that the

testimony was false; and (3) the false testimony was material. Giglio v. United States,

405 U.S. 150, 153–54 (1972). False testimony is material if it could “in any reasonable

likelihood have affected the judgment of the jury.” Id. (internal quotation omitted).

 I.        The State presented false testimony.

      A.      The State fiber expert’s testimony was false and misleading.

           As the State’s forensic expert, DPS chemist Steve Robertson testified that or-

ange acrylic fibers linked David Wood to the Wheatley crime scene. 63.RR.6712–64.

Robertson testified about orange fibers that were found in Desiree Wheatley’s grave,

on a t-shirt found there, and in a vacuum cleaner bag in the garage of an apartment

David Wood previously lived in with his girlfriend. 63.RR.6728–30, 6745–46. New

evidence provided by Dr. Palenik now demonstrates that Robertson’s testimony was

inaccurate and misleading. Ex. 90 (Christopher Palenik report).



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      1.     Robertson testified       falsely   that   that   the   orange      fibers
             “matched.”

      Robertson testified that the fibers found in Desiree Wheatley’s grave siftings,

on the t-shirt found in that grave, and in the vacuum cleaner bag were “matches” and

“identical” 63.RR.6729–32, 6740, 6743, 6750. Robertson’s testimony was false be-

cause without a source, using terms such as “match” or “identical” is misleading and

can give the jury a false impression about the specificity or uniqueness of the orange

fibers that cannot be obtained with fiber evidence comparison. Ex. 90 at 14–15.

      2.     Robertson testified falsely about the implications of transfer,
             persistence, and time.

      Robertson testified that the presence of a large number of fibers found on the

t-shirt indicated a link that placed David Wood at the Wheatley crime scene or placed

him with her near the time of her death. 63.RR.6731–32, 6755–57. On cross-exami-

nation Robertson testified that “[f]inding a lot of foreign fibers on a murder victim’s

clothing tends to indicate that those fibers were placed there in a few hours proceed-

ing death or as the body was transported.” 63.RR.6757.

      According to Dr. Palenik, Robertson’s testimony was a “flawed” conclusion that

is scientifically unsupported and contradicted in forensic literature. Ex. 90 at 12–13.

Robertson did not have the scientific data to accurately link David Wood to Desiree

Wheatley a few hours prior to her death. Id.

      3.     Robertson testified falsely about the likelihood that the fibers
             came from a common item or source.

      The forensic use of words such as “item” and “source” in regard to evidence is

important because they have technical meanings that are different. Ex. 90 at 13. The



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fibers in David Wood’s case were not associated with any source or potential source.

Id. at 1, 13. As Dr. Palenik explained, a source can produce multiple and varying

items. Id. at 13. In this case, an item could be interpreted to mean one specific object

or type of object based on the false testimony of Robertson. Id. Robertson testified

that the likelihood that the fibers from the grave and the t-shirt “came from two dif-

ferent items is remote.” 63.RR.6741. Dr. Palenik found that Robertson’s testimony

was misleading because it gave the jury a false impression about the probability of

similarity that has not been statistically established. Ex. 90 at 14.

      Robertson also testified falsely about the higher likelihood of the grave, t-shirt,

and vacuum bag fibers coming from more than one item. Robertson testified that it

is more likely that the fibers could have come from the “same item” rather than the

possibility of them coming from different items. 63.RR.6761–63. Dr. Palenik stated

that Robertson’s testimony about the higher likelihood of fibers coming from the

“same item” was false because, without a known source for the fibers, Robertson could

not opine on the likelihood that the fibers came from a particular item or not. Ex. 90

at 13–14.

      4.     Robertson testified falsely about the fibers found in the vacuum
             cleaner bag.

      It was misleading for Robertson to testify that the vacuum cleaner bag fibers

were “identical” or a “match” to the fibers from the grave or t-shirt, because the

Wheatley DPS report concluded only that the fibers from the grave and t-shirt and

the fibers on the “items associated with David Wood” have the same “color, size,

shape, and microscopic characteristics.” 63.RR.6729–30; Ex. 114 at 2. The vacuum



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cleaner bag was not listed under the “items associated with David Wood.” Id. As Dr.

Palenik emphasized, using terms such as “match” or “identical” are problematic. But,

in addition, Robertson gave the jury the false impression that the Wheatley DPS re-

port included the vacuum cleaner bag in its conclusion. The DPS report is ambiguous

and does not support the conclusion Robertson gave it in his testimony about the

vacuum cleaner bag. Ex. 90 at 9. Even in his letter to ADA Shook, Robertson made a

conclusion about the vacuum cleaner bag that is ambiguous and does not support the

conclusion Robertson attributed to it in his testimony. Ex. 115; Ex. 90 at 10–11. In

short, Robertson’s testimony and opinions went well beyond the conclusions of the

DPS report, or what could be proven scientifically.

   B.      The State coached the jailhouse snitches’ false testimony that Da-
           vid Wood confessed.

        As set out in Claim 1, § III.B and § III.N.1, supra, the Task Force detectives

handed their investigative files to Wells and Sweeney, and extensively prepared them

to deliver fabricated testimony that David Wood had confessed to being the Northeast

Desert serial killer. David Wood incorporates those Sections by reference.

   C.      Sweeney testified falsely that his testimony was not financially mo-
           tivated and, that if he did receive the reward, he would use it to
           pay restitution.

        The State presented Sweeney as a selfless snitch who was testifying at great

risk, 65.RR.7030–31, with no financial forethought, 65.RR.7033, and absent any deal

with the State. Sweeney emphasized to the jury that he had not wanted to snitch

because he “was concerned about that for [his] wife and [his] kids and [him]self.”

65.RR.7031. He added: “A lot of snitches don’t survive.” 75.RR.7031. He testified



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falsely. As set out in Claim 1, § III.E, supra, Sweeney received $13,000 for his efforts,

and he had no restitution to pay off. David Wood incorporates that Section by refer-

ence.

    D.      Kelling testified falsely that David Wood sexually assaulted her.

         The State alleged that David Wood assaulted Kelling in the early evening

hours of July 26, 1987. She testified that on that evening, David Wood picked her up,

took her to the desert Northeast of El Paso, tied her up to his truck, and dug a grave

before letting her go when he heard nearby voices. 64.RR.680616. She had survived

the Northeast Desert serial killer and provided direct testimony of his modus op-

erandi. That testimony, however, was false.

         As set out in Claim 1, § III.J.5, supra, David Wood could not have committed

the sexual assault of Kelling because, based on the State’s own records, he was with

his then-girlfriend (turned State’s witness), Joey Blaich, and his brother Randy until

at least 10 p.m. on July 26, 1987. Ex. 50. The accuracy of Blaich’s recollection of that

evening is confirmed by the fact that Randy Wood wrecked David Wood’s truck the

very next day, July 27, while she was a passenger, thus cementing her recollection of

the events immediately surrounding that event. 755

         Notably, as set out in Claim 1, § III.J.2, supra, Kelling identified a different

man, Michael Plyler, whom she knew by the nickname “Skeeter,” as her attacker. She


755 Nor could the assault have taken place any other date if Kelling’s account is to be believed. Kelling

testified that, after hitchhiking back to her apartment, she told her sister, Carmen Brown, about the
assault. 64.RR.681617. At that time, Carmen Brown was residing at an in-patient program that
closely monitored her absences. Her only absence in that timeframe of late July—when she would have
been home when Kelling returned from the assault—corresponds to July 26, 1987. 7.JBKRR.194, 197.
David Wood did not have access to his truck starting on July 27, 1987, when his brother wrecked it.



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said that she had never even seen David Wood before being shown his photograph.

Plyler drove a tan Nissan truck that resembled David Wood’s, and also bore tattoos

on both forearms. See Claim 1, § III.J.3, supra.

      Finally, Kelling was an informant for Det. Guerrero. Ex. 64. As set out in Claim

1, § III.J.7, supra, Kelling’s assault was not at the hands of David Wood. Her sexual

assault was leveraged to arrest and convict David Wood as part of the State’s tunnel-

vision investigation of the Northeast Desert murders. In exchange, Kelling received

favorable treatment from the El Paso DA, including by escaping a six-year sentence

following the violation of her probation in connection with a delivery-of-heroin charge.

Kelling, however, also falsely testified that she had received no deal in exchange for

her testimony. 64.RR.6865. This assertion is betrayed by the State’s lenient treat-

ment following her arrest soon after her testimony against David Wood.

II.   The State knew or should have known this testimony was false.

      The State coached the jailhouse snitches’ false testimony, Ex. 8, and therefore

knew that testimony was false. It also told them about the monetary reward, id., and

therefore knew that Sweeney’s testimony that he had not known about the $ 26,000

until after he communicated with the Task Force was false. Likewise, Kelling was an

informant for Det. Guerrero and the State’s investigation of Plyler indicate its

knowledge that she had identified him as her attacker. Exs. 63, 64. And the State

knew or should have known that Robertson’s testimony was false because the State

was in possession of the DPS report prior to trial and had the opportunity to question

Robertson about his inconsistencies and scientifically unsupported testimony. See

Napue, 360 U.S. at 269; Ex. 114. Moreover, the State violated Wood’s due process


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rights because it let Robertson’s testimony go uncorrected at trial. See Napue, 360

U.S. at 269.

III.   This testimony was material.

       There is a reasonable likelihood that this testimony affected the judgment of

the jury. The State described its case to the jury as “purely a circumstantial-evidence

case.” 57 RR 5467. Its case turned on the jailhouse snitch confession testimony, Kel-

ling’s identification testimony, and the fiber testimony as the only forensic evidence.

69 RR 7465–60. False testimony tainted each of these issues.

       First, the materiality of the jailhouse testimony is underscored by the State’s

1990 memo concluding that there was “absolutely no evidence” linking Wood to the

murders and suggesting that snitch testimony of a confession would provide that ev-

idence. Ex. 112. Indeed, it was only after Wells and Sweeney agreed to testify falsely

that the State was able to indict Wood. Their testimony at trial that Wood had ex-

pressly discussed particular victims also strengthened otherwise tenuous links be-

tween Wood and the victims. See e.g. 57 RR 5450 (arguing that Wood could be tied to

Casio because she worked at “a place where the defendant had been seen talking to

a tall Mexican girl”).

       Relatedly, Sweeney’s testimony that he was not testifying out of financial in-

terest was material because it bolstered his credibility. Wells’s testimony in exchange

for a pass on capital murder presented obvious credibility challenges. Sweeney’s ap-

parently selfless testimony, at great risk to himself and his family, was therefore

critical to cementing the jailhouse snitches’ credibility to the jury. Indeed, the State




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emphasized Sweeney’s testimony that he had not known about the reward in closing

argument to the jury. 68 RR 7465.

      Kelling’s testimony was likewise critical to the State’s case. She testified to

prove identity and modus operandi. 64 RR 6795, 6798. In closing, the State empha-

sized the elements of that supposed modus operandi, including that Wood had worn

“a Harley Davidson T-shirt” to tie him to the bike described by witnesses, the “beige

pickup truck with the stripe down the side,” that he had taken Kelling “to the same

area where the other six girls were found,” and had “tied [Kelling] to the front of that

pickup truck” and dug a grave. 68 RR 7462–63. Kelling’s false testimony thus enabled

the State to meet its burden of proving beyond a reasonable doubt that Wood mur-

dered Williams and at least one other victim “pursuant to the same scheme and

course of conduct[.]” 57 RR 5467; see also Ex. 5.

      In a case primarily based on circumstantial evidence, there is a reasonable

likelihood that Robertson’s testimony affected the jury because the fiber evidence was

the State’s only forensic evidence that allegedly linked Wood to one of the crime

scenes. Robertson’s false testimony about the fibers enabled the State to make leaps

in its closing arguments and assert that Wood used a blanket that was common

source of all the fibers as part of his alleged modus operandi, that resulted in Wood’s

capital murder conviction. 69 RR 7538, 7445.

      Moreover, Robertson’s false testimony about the number of fibers found on the

t-shirt in Desiree Wheatley’s grave being indicative of Wood being with her or near

her gravesite shortly before her death was highly prejudicial. Moreover, many of




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Robertson’s opinions and conclusions about the fibers were not stated in the DPS

report or his letter to ADA Shook, and defense counsel had no opportunity to prepare

a cross examination. See Ex. 114 and Ex. 115. Without the ability to fully challenge

Robertson’s assertions, the jury was left with the impression that Robertson’s state-

ments bared some truth. However, Robertson’s testimony was riddled with false tes-

timony, that led to the jury’s guilty verdict.

IV.        This claim was presented in state court.

           On February 21, 2025, Wood filed a subsequent state habeas application. He

amended that filing on February 27, 2025. Among other claims, that application in-

cluded the false testimony claim at issue here. That filing is still pending in state

court as of the filing of Wood’s Motion for Authorization.

 V.        This claim meets the requirements of 28 U.S.C. § 2244.

           Wood has not previously raised a false testimony claim in his initial federal

habeas petition alleging that (1) the State coached Wells and Sweeney and they fab-

ricated their false testimony that Wood confessed; (2) Kelling testified falsely that

Wood sexually assaulted her; and (3) the State’s fiber expert testified falsely. Wood,

2006 WL 1519969. Section 2244(b)(1) therefore does not bar authorization.

      A.      Wood diligently pursued evidence of false testimony.

           Wood can establish that he was objectively diligent in pursuing the information

underpinning his false testimony claim. 28 U.S.C. § 2244(b)(2)(B)(i). First, Hall ex-

plained that he did not come forward about the State coaching and Wells and

Sweeney’s fabricating their testimony until after he successfully completed his parole

in February 2024, because he was “afraid [he] might get revoked if [he] spoke out


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about [Wood’s] case, and then [he’d] have to go back to prison.” Ex. 8. The information

that Sweeney received $13,000 for his testimony was never disclosed to Wood: He

learned of it after reading a September 2009 news report that Sweeney had received

the reward after settling a lawsuit against various El Paso officials. Moreover, none

of the correspondence between Sweeney and various officials from the El Paso DA’s

Office was included in the State’s capital murder file.

      Second, the State suppressed its investigation of Plyler, including that he drove

a truck and motorcycle matching witnesses’ descriptions. See Claim II. Notably, as

recently as January 2025, the State refused to turn over a complete copy of that in-

vestigation. See Ex. 63. And to this day, Wood is unable to access a complete copy of

his own parole records, which contain evidence of an alibi on the date of the alleged

sexual assault. See Ex. AG letter. Counsel had no notice of the falsity of Kelling’s

testimony. See Ex. 5 (TCCA describing Kelling’s evidence as “unassailable”). Counsel

likewise had no notice of Bradley and her belief that her father may have murdered

Williams: She explained that she did not come forward with information until Janu-

ary 2025 because she “was terrified of [her] father,” who was convicted in 1995 of

murdering and dismembering her step-mother. Ex. 100. Similarly, the State did not

turn over the tip about Coto at all: Wood learned of it and the State’s decision to not

turn it over only when internal emails were (inadvertently) disclosed to counsel. See

Ex. 108. And the DNA test that excluded Wood from DNA on a bloodstain on Smith’s

clothing was not available until 2006. Ex. 7.




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        Third, witnesses described being threatened by Task Force detectives when

they attempted to come forward with information that undercut the State’s case

against Wood as the Northeast Desert murderer. When Dismukes contacted the Task

Force, Dets. Guerrero and Marquez “drove [Dismukes] out to the desert where the

girls were found . . . pointed to the ground, and told [her] it could have been [her] in

a grave.” Ex. 62; see also Ex. 98 (“They [detectives] made me look at pictures of Dawn’s

decomposed body, as well as the bodies of the other girls.”); id. (“I also ended up losing

my jobs because of the police harassment.”). Likewise, despite being approved for pa-

role in 1991—months after refusing to testify against Wood—Hall received a serve-

all and was made to serve the remainder of his sentenceanother three years. Ex. 8.

   B.        Wood can make a prima facie showing of innocence.

        Wood can show by clear and convincing evidence that, but for the false testi-

mony, no reasonable factfinder would have found him guilty. 28 U.S.C. §

2244(b)(2)(B)(ii). At this stage, however, this Court does not need to determine

whether Wood is actually innocent. See Will, 970 F.3d at 540. The Court considers

only whether, objectively reviewing the evidence as a whole, “it’s reasonably likely”

that the false testimony “changed the outcome.” Id.

        Wood can show that the facts underlying this claim would be sufficient to es-

tablish by clear and convincing evidence that, but for the false testimony elicited by

the State, no reasonable juror would have voted to convict:

        x    DNA testing excludes Wood from male DNA on a bloodstain on the clothing

             Smith was wearing at the time of her murder. Ex. 7.




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      x    The State coached the testimony of Wells and Sweeney. Ex. 8. Wood did not

           confess to them. Id.

      x    No forensic evidence reliably ties Wood to the murders. Ex. 90. The only

           reliable forensic evidence, the DNA testing, excludes Wood. Ex. 7.

      x    Wood has an alibi on the date and time of Kelling’s sexual assault. Ex. 50.

      x    Kelling did not identify Wood as her attacker. Exs. 62, 63. Instead, she iden-

           tified Plyler. Ex. 62.

      x    The Task Force investigated Plyler and documented that he drove a beige

           Nissan pickup truck and a Harley Davidson motorcycle, matching the de-

           scription of vehicles connected to victims’ disappearances. Ex. 63.

      x    Wood’s truck sat damaged and undrivable in an auto salvage yard when

           Frausto, Casio, and Smith disappeared in August 1987. Exs. 46, 47, 48.

      x    Bradley believes her father may have murdered Williams, the predicate

           murder upon which the State built its capital murder case. Ex. 100.

      x    Crime Stoppers received a tip that Francisco Coto murdered the six victims.

           Ex. 108.

      But for the jailhouse snitches’ testimony, the State’s case against Wood was in

the posture it was in 1989, when the DA reviewed the evidence and found the case

unindictable. Ex. 112.

      The facts, hidden until now behind false testimony, support a showing of inno-

cence. Because Wood has made a showing that he meets Section 2244(b)(2)(B), this

Court should authorize this claim to proceed. In the alternative, this Court can




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authorize this claim because Wood has made a “gateway” showing of actual inno-

cence: Mr. Wood incorporates by reference all facts and argument in support of Claim

I. See In re Vasquez, No. 23-40079, n.2 (5th Cir. June 23, 2023).

 CLAIM 4: TRIAL COUNSEL RENDERED INEFFECTIVE ASSISTANCE IN
              VIOLATION OF THE SIXTH AMENDMENT.

           To establish ineffective assistance of counsel, David Wood must show that trial

counsel’s performance was deficient and that counsel’s deficiency prejudiced the de-

fense. See Strickland v. Washington, 466 U.S. 668, 687 (1984). “The first prong—con-

stitutional deficiency—is necessarily linked to the practice and expectations of the

legal community: ‘The proper measure of attorney performance remains simply rea-

sonableness under prevailing professional norms.’” Padilla v. Kentucky, 559 U.S. 356,

366 (2010) (quoting Strickland, 466 U.S. at 688). To establish prejudice, David Wood

must show that “there is a reasonable probability that, but for counsel’s unprofes-

sional errors, the result of the proceeding would have been different.” Strickland, 466

U.S. at 694. A reasonable probability is “a probability sufficient to undermine confi-

dence in [the] outcome.” Id. at 693–94.

 I.        Trial counsel’s representation was deficient.

      A.      Trial counsel failed to introduce evidence that David Wood’s
              pickup truck was in an auto salvage yard when three of the victims
              went missing.

           Trial counsel were appointed to represent David Wood in 1990, shortly after

he was indicted for capital murder. Ex. 44 ¶¶2, 4. In the two years leading up to trial,

the State disclosed thousands of pages of discovery resulting from its years-long in-

vestigation of David Wood, including its investigation into the accident that resulted



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in David Wood’s truck being undriveable throughout August 1987. Because the State

put on evidence that the pickup truck was an essential element of David Wood’s mo-

dus operandi, the fact that the truck sat in an auto salvage yard when three of the

victims disappeared would have undermined the State’s case for guilt. See Claim 1, §

IV, supra.

         Despite the State making this significant evidence of David Wood’s innocence

available to the defense, trial counsel failed to present any testimony that David

Wood did not have his pickup truck when Frausto, Casio, and Smith disappeared. Ex.

44 ¶12. Moreover, trial counsel later stated that this failure was not attributable to

any strategic reason. Id.

    B.      Trial counsel failed to introduce evidence that witnesses had seen
            Ivy Williams after the State alleged she had disappeared.

         The discovery of Ivy Williams’s body in March 1988, nearly five months after

David Wood’s arrest and incarceration, created a case-jeopardizing issue for the

State: if Williams had disappeared within the prior five months, David Wood could

not be responsible for the desert murders. See Claim 1, § III.I, supra. To head off any

reasonable doubt, the State represented to the jury that Williams had been David

Wood’s first victim and that she had disappeared in May 1987. At least three wit-

nesses, however, gave statements that they had seen Williams as late as October

1987. See id. The State disclosed this information to trial counsel. 756 See Ex. 44 ¶¶18,

20–21. Veronica Gatzka and Carol Eason stated that they had seen Williams as late




756 The third witness, Steve Dahl, died in a traffic accident before the trial. See Claim 1, § III.I.1, supra.




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as October 1987, although Gatzka amended her statement later. See Claim 1, III.I.2,

supra; Claim 4, supra.

        The month of October 1987 was especially significant because David Wood was

arrested in October. In their opening, defense counsel told the jury that they would

be presenting evidence contradicting the State’s allegation that Williams disappeared

in May 1987. 57.RR.5493. However, counsel never presented such evidence. Ex. 44

¶25. Despite having the statement of Gatzka and the police report about Eason, trial

counsel did not present testimony from either of them. Counsel later conceded that

this failure was “a mistake.” Id. at ¶25.

   C.      Trial counsel failed to impeach the jailhouse snitches.

        The testimony of the jailhouse snitches, Randy Wells and James Sweeney, fea-

tured prominently in the State’s case. Wells’s deal with the State was no secret: he

said that he had agreed to testify in exchange for pleading downward from capital

murder to forgery and a 15-year sentence. 65.RR.6962. Trial counsel largely repeated

these facts in its cross-examination of Wells but elicited little further information

tending to undermine Wells’s credibility. But prior to his 1992 testimony at David

Wood’s capital murder trial, Wells had already testified in accordance with the same

deal against his codefendants in the murder case in which he had initially been

charged. Notably, at Shirley Hennington’s trial in 1991, Texas Ranger Gene Kea tes-

tified extensively about Wells’s propensity for lying. See Claim 1, § III.C, supra.

Ranger Kea agreed that lying did not bother Wells at all, that Wells had lied to him,

and that Wells would lie to the jury. 7B.SHRR.58182. The jury hung in Shirley Hen-

nington’s trial.


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      Despite Ranger Kea’s testimony being readily available, trial counsel failed to

review it or introduce any evidence of Wells’s well-established penchant for lying. Ex.

44 ¶48–49. Trial counsel stated that this failure was not attributable to any strategic

reason. Id. at ¶50.

      Likewise, trial counsel failed to impeach Wells’s testimony that David Wood

wanted Wells to cover up his tattoos out of his fear that he would be identified based

on Kelling’s description of his tattoos. See Claim 1, § III.D, supra. As trial counsel

later realized, “Wells’s claim that David Wood wanted to cover up his tattoos after he

had already been convicted of the sexual assault of Kelling (the victim who got away)

made no sense.” Ex. 44 ¶61. EPPD already had detailed photographs of David Wood’s

tattoos and, most critically, David Wood had already been identified by Kelling and

convicted of her sexual assault by the time he came across Wells in prison. Id. at

¶¶60, 61. Trial counsel later admitted that he could not attribute his failure to im-

peach Wells to any strategy. Id. at ¶62.

      Finally, trial counsel failed to review Sweeney’s criminal record and impeach

his testimony that his coming forward, at great risk to himself and his family, was

entirely selfless and unrelated to the reward. Sweeney testified that even if he did

receive any of the reward money, he would ask the DA from the county of his convic-

tion to apply those funds to his restitution. See Claim 1, § III.E, supra. But had trial

counsel reviewed Sweeney’s criminal record, he would have realized that Sweeney

did not owe any restitution. Ex. 44 ¶64. As with Wells, trial counsel stated that the




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failure to impeach Sweeney’s credibility was not attributable to a strategic reason.

Id.

      D.      Trial counsel failed to impeach Judith Brown Kelling with her
              prior inconsistent statements.

           By the time of her testimony at David Wood’s capital murder trial, Judith

Brown Kelling had given at least four prior statements and extensive testimony at

the 1988 sexual assault trial.757 She was also known to Garney, who had previously

represented her in proceedings in which she received favorable treatment from the

State based on her cooperation. See Claim 6, infra. A review of Kelling’s prior state-

ments and testimony would have revealed material inconsistencies. As explained in

Claim 1, § III.J.6, supra, at the 1988 sexual assault trial, Kelling testified that her

attacker’s parting words were: “You’re three and walking free.” But by the time she

testified four years later at the capital murder trial, Kelling testified that his parting

words were: “Always remember, I’m free.” Because the State had decided that Ivy

Williams would be David Wood’s first victim, Kelling could no longer be number

“three.”

           Trial counsel never confronted Kelling with the material inconsistencies across

her prior statements and her 1988 testimony. Ex. 44 ¶¶28–35. Trial counsel thus

failed to impeach her credibility, confront the inconsistencies across her statements

designed to make David Wood appear more violent, and expose the State’s reliance

upon false testimony to secure David Wood’s conviction. Id. at ¶¶33, 35. Likewise,


757 Kelling had actually given five statements. On November 16, 1987, Det. Guerrero audio-taped his

interview of Kelling. The State never disclosed this interview to trial counsel. See Ex. 44; Claim 3,
supra.



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trial counsel failed to impeach Kelling’s testimony that she had not received a deal in

exchange for accusing Wood of sexually assaulting her: her criminal records estab-

lished that she received favorable treatment within days of her 1988 testimony. Trial

counsel conceded that these failures were not attributable to any strategic decision.

Id. at ¶35.

   E.      Trial counsel failed to introduce evidence that an alternative sus-
           pect knew three of the victims.

        As explained in Claim 1, § III.L, supra, Task Force detectives repeatedly inter-

rogated alternative suspect Sal Martinez. Over the course of the interviews, Martinez

denied, then admitted, knowing Karen Baker, Dawn Smith, and Rosa Maria Casio.

EPPD eventually flew Martinez from Salt Lake City to El Paso, where he gave a fifth

statement. The State turned over to trial counsel five statements by Martinez. Ex. 44

¶43.

        Trial counsel, however, did not introduce any testimony or other evidence re-

lating to Martinez, the EPPD’s investigation of him, or his admissions that he knew

three of the victims. Id. at ¶47. Trial counsel admitted that the introduction of this

evidence would have caused the jury to have reasonable doubt and that he did not

have a strategic reason for failing to introduce this evidence. Id.

   F.      Trial counsel failed to identify an actual conflict of interest.

        Dolph Quijano and Norbert Garney represented David Wood. Ex. 44 ¶¶2, 4.

Garney, however, had previously represented Kelling within days of David Wood’s

conviction for the sexual assault of Kelling. See Claim 6, infra. At the capital murder

trial, Kelling testified to the assault to prove David Wood’s identity as the Desert



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Killer and his modus operandi. Garney’s representation of Kelling and David Wood

created an actual conflict of interest. Ex. 44 ¶37.

      Trial counsel, however, did not identify this actual conflict of interest arising

from Garney’s representation of both Kelling and David Wood. Trial counsel failed to

review Kelling’s criminal record and court files, which would have revealed Garney’s

representation of Kelling and his conflict of interest. Ex. 44 ¶36. Trial counsel admit-

ted that the failure to review Kelling’s records and thus identify the conflict was not

attributable to any strategic reason. Id.

II.   David Wood was prejudiced by trial counsel’s deficient representa-
      tion.

      Individually and cumulatively, trial counsel’s failures prejudiced David Wood.

First, David Wood was prejudiced by trial counsel’s failure to put on evidence that

David Wood did not have his pickup truck when three of the victims disappeared.

This failure was especially prejudicial because the State charged David Wood with

capital murder “during different criminal transactions but pursuant to the same

scheme or course of conduct.” Tex. Penal Code §19.03(a)(7)(B). Trial counsel could The

jury would thus have not only doubted Wells’s credibility generally, but known that

his testimony that David Wood confessed to always using his truck was patently false.

      Second, David Wood was prejudiced by trial counsel’s failure to introduce evi-

dence that witnesses saw Ivy Williams months after the State alleged she had disap-

peared. Such evidence would have damaged the foundation of the State’s capital mur-

der case. Because Ivy Williams was the predicate murder victim, trial counsel’s fail-

ure to expose the State’s machinations regarding the circumstances of her



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disappearance was prejudicial. By instilling reasonable doubt regarding David

Wood’s involvement in Williams’s murder, trial counsel would have undone the en-

tirety of the State’s case. The unexplained amendment to Gaztka’s statement that

aligned with the State’s case and the presentation of testimony the State knew to be

false that Williams disappeared in May 1987 would have shown how far the State

was willing to go to convict David Wood.

      Third, David Wood was prejudiced by trial counsel’s failure to impeach the jail-

house snitches because they testified to especially powerful evidence: a supposed con-

fession by David Wood. Testimony by Texas Ranger Kea that Wells was a known liar

would have provided highly credible evidence of Wells’s lack of truthfulness. And con-

fronting Sweeney with the fact that he did not owe any restitution would have pre-

vented the State from arguing in closing that the jury could trust his testimony be-

cause it was a selfless act. 68.RR.7465.

      Fourth, the prejudice arising from trial counsel’s failure to impeach Judith

Brown Kelling is well established: Kelling’s testimony was extremely important to

the State’s case in establishing identity. On direct appeal, this Court concluded that

“[t]he remaining evidence was not so compelling or undisputed as to render unneces-

sary the extraneous offense evidence [of Kelling]. Under these circumstances the

State’s need for the evidence was great.” See Claim 1, § IV.A.3, supra (quoting Wood

v. State, No. 71,594).

      Fifth, David Wood was prejudiced by trial counsel’s failure to introduce evi-

dence that Sal Martinez knew, and had lied about knowing, the victims. Notably, the




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resources the Task Force dedicated to the investigation of Martinez—including flying

to Salt Lake City and bringing Martinez back to El Paso—would have lent great

weight to his casting as an alternative suspect and introduced reasonable doubt into

the State’s case against Wood. The State’s failure to pursue any investigation into

Martinez after November 1987 would also have exposed the State’s myopic focus on

David Wood, to the detriment of other and stronger leads. Martinez’s denial, then

admission, to recognizing at least three of the victims would have further underscored

the weakness of the State’s case.

       Finally, David Wood was prejudiced by trial counsel Dolph Quijano’s failure to

discover that co-counsel Norbert Garney was laboring under an actual conflict of in-

terest for having previously represented Judith Brown Kelling. That conflict pre-

vented counsel from effectively impeaching Kelling. See Claim 6, infra. But for trial

counsel’s failures, there is a reasonable probability of a different outcome.

III.   This claim was presented in state court.

       On February 21, 2025, Wood filed a subsequent state habeas application. He

amended that filing on February 27, 2025. Among other claims, that application in-

cluded the ineffective assistance of counsel claim at issue here. That filing is still

pending in state court as of the filing of Wood’s Motion for Authorization.

IV.    This claim meets the requirements of 28 U.S.C. § 2244.

       Wood has not previously raised an IAC claim for federal habeas relief based

on trial counsel’s failure to (1) introduce evidence that Wood did not have his pickup

truck when three of the victims disappeared; (2) introduce evidence that Williams

was seen alive after the State alleged she had disappeared; (3) introduce evidence


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that an alternative suspect, Martinez, knew three of the victims and failed a poly-

graph; (4); impeach Kelling with her prior inconsistent statements; (5) confront Wells

with prior testimony and Sweeney with records establishing he owed no restitution;

and (6) identify an actual conflict of interest. Wood, No. 3:01-cv-2103, 2006 WL

1519969; In re Wood, 648 F. App’x 388, 389 (5th Cir. 2016). Section 2244(b)(1) there-

fore does not bar authorization.

   A.      This Court can authorize the IAC claim pursuant to Section
           2244(b)(2)(B).

        This Court can authorize Wood’s IAC claim pursuant to § 2244(b)(2)(B). See In

re Vasquez, No. 23-40079 (5th Cir. June 23, 2023); see also, In re Swearingen, 556

F.3d 344, 348–49, (5th Cir. 2009). As with Wood’s other claims, the IAC claim relies

in part on previously unavailable evidence of innocence—including Hall’s declaration

that the State coached the snitches’ confession testimony and other information sup-

pressed by the State—which supports a prima facie finding under § 2244(b)(2)(B). See

Swearingen, 556 F.3d at 348–49. This Court can also authorize this claim because

Wood has made a “gateway” showing of actual innocence. See Vasquez at n.2.

                           STATUTE OF LIMITATIONS

        Notwithstanding arguments that Wood can meet 28 U.S.C. § 2244(d)(1), the

statute of limitations may be excused because Wood can show that he is actually in-

nocent. McQuiggin v. Perkins, 569 U.S. 383, 392–93 (2013); see also, id. at 399 (hold-

ing that statute of limitations may be excused where petitioner can show that “’it is

more likely than not that no reasonable juror would have convicted him in the light

of the new evidence.’” (quoting Schlup, 513 U.S. at 327)). Wood incorporates here by



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reference all facts and legal arguments made above in support of Claim One and that

he can meet 28 U.S.C. § 2244(b)(2)(B)—reasonable diligence and actual innocence by

clear and convincing evidence—as to his claims. Because Wood has alleged a “viable

basis” for excusing the statute of limitations, this Court should permit Wood to pro-

ceed on his argument that the statute of limitations can be excused based on his ac-

tual innocence. In re Campbell, 750 F.3d at 523, 533 (5th Cir. 2014).

                             PRAYER FOR RELIEF

WHEREFORE, David Wood, requests that this Court consider his Petition for Writ

of Habeas Corpus and grant the following remedies and other relief as the Court

deems appropriate:

   1. Issue a writ of habeas corpus to have him brought before it, to the end that he

      may be discharged from his unconstitutional confinement and restraint and

      be relieved of his unconstitutional sentence of death;

   2. Allow Petitioner leave to conduct discovery pursuant to Rule 6 of the Rules

      Governing 28 U.S.C. § 2254 Cases to more fully develop the factual bases

      demonstrating the constitutional infirmities in his conviction and sentence;

   3. Conduct an evidentiary hearing pursuant to Rule 8 of the Rules Governing 28

      U.S.C. § 2254 Cases; and

   4. That this Court grant such relief as law and justice require.




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DATED: March 5, 2025


Respectfully Submitted,

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